 Case 3:20-cv-00643-E Document 31 Filed 03/04/21               Page 1 of 141 PageID 177



                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

 Rodney Brisco, as Administrator
 for the Estate of Michael Brisco,

                              Plaintiff;
                                                   Case No. 3:20-cv-00643-E
        v.

 City of Lancaster, Texas, et al.,

                              Defendants.


             APPENDIX TO OFFICER BEAUCHAMP’S BRIEF IN SUPPORT OF
                     HIS MOTION FOR SUMMARY JUDGMENT


 NO. DESCRIPTION                                             APPENDIX PAGE NO.

  1.   AFFIDAVIT OF ZACHARY BEAUCHAMP                        APPX 00001 – APPX 00003

  2.   AFFIDAVIT OF SHANE LEMOINE                            APPX 00004 – APPX 00005

  3.   ELECTRONIC AUDIO-VISUAL FILE FROM UNIT 1481 OF        APPX 00006
       THE SUBJECT INCIDENT ON MARCH 18, 2018

  4.   DEPOSITION OF ZACHARY BEAUCHAMP                       APPX 00007 – APPX 00082

  5.   LANCASTER POLICE DEPARTMENT INVESTIGATIVE             APPX 00083 – APPX 00084
       FINDINGS FOR OIS INQUIRY 18-002

  6.   GRAND JURY NO-BILL                                    APPX 00085

  7.   TEXAS RANGERS REPORT OF INVESTIGATION                 APPX 00086 – APPX 00129

  8.   ELECTRONIC AUDIO FILE FROM THE LANCASTER              APPX 00130
       POLICE DEPARTMENT OF RADIO COMMUNICATIONS ON
       MARCH 18, 2018




APPENDIX TO OFFICER BEAUCHAMP’S BRIEF IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT    PAGE 1
  Case 3:20-cv-00643-E Document 31 Filed 03/04/21                 Page 2 of 141 PageID 178



                                                     Respectfully submitted,

                                                     By: /s/ Christopher A. Klement
                                                         DARRELL G-M NOGA
                                                         Texas Bar No. 00785326
                                                         darrell@brownfoxlaw.com
                                                         CHRISTOPHER A. KLEMENT
                                                         Texas Bar No. 24090212
                                                         chris@brownfoxlaw.com
                                                         BROWN FOX PLLC
                                                         8111 Preston Road, Suite 300
                                                         Dallas, Texas 75225
                                                         Telephone: (214) 327-5000
                                                         Facsimile: (214) 327-5001

                                                     ATTORNEYS FOR DEFENDANT
                                                     ZACHARY BEAUCHAMP




                                  CERTIFICATE OF SERVICE
       On March 4, 2021, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                                     By: /s/ Christopher Klement
                                                         CHRISTOPHER KLEMENT




APPENDIX TO OFFICER BEAUCHAMP’S BRIEF IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT          PAGE 2
     Case 3:20-cv-00643-E Document 31 Filed 03/04/21                   Page 3 of 141 PageID 179




                       UNITED STATES DISTRICT COURT
                    FOR THE NOR THE RN DISTRICT OF TEXAS
                              DALLAS DIVISION

 Rodney Brisco, as Administrator
 for the Estate of Michael Brisco,

                                     Plaintiff;
                                                        Case No. 3:20-cv-00643~E
           v.

 City of Lancaster, Texas, et al.,

                                     Defendants.


                                              AFFIDAVIT OF



STATE OF TEXAS                   §
                                 §

COUNTY OF DALLAS                 §




         BEFORE ME, the undersigned Notary Public, on this date personally appeared Janet

Beesley, and after first being duly s,vorn upon his oath by me stated the following:

1.       tvly name is Janet Beesley. I am over 18 years of age, of sound mind, have never been

charged with or convicted of a felony or crime of dishonesty or moral turpitude, and am fully

competent and qualified to make this Affidavit and testify here in all respects. I have read this

Affidavit and have personal knowledge of all facts set forth herein, and they arc all true and

correct.

2.         I am a Lieutenant in Internal Affairs for the City of Lancaster Police Department. As part

of my responsibilities as a Lieutenant in Internal Affairs, I oversee and am responsible for the




AFFIDAVITO!'                                                                                     PAGEi
     Case 3:20-cv-00643-E Document 31 Filed 03/04/21                   Page 4 of 141 PageID 180



custody of records for the Lancaster Police Department. Attached to the Officer Beauchamp's

Motion for Summary Judgment arc true and correct copies of:

         a.     Exhibit 3: Electronic audio-visual file from Unit 1481 of the subject incident on
                March 18, 2018;

         b.     Exhibit 5: Lancaster Police Department Investigative Findings for 01S Inquiry 18·
                002;and

         c.     Exhibit 8: 8cctronic audio file from the Lancaster Police Department of radio
                communications on March 18, 2018.

These records arc incorporated into this affidavit as is fully set forth herein.

3.       These records arc true and correct copies of records that arc kept by the City in the

regular course of business. It was and is in the regular course of business for an employee or

representative of the City, with knowledge of the acts, events, conditions, opinions, or diagnosis

recorded, to make such records or to transmit information thereof to be included in these

records. These records were made or received at or near the time of the acts, events, conditions,

opinions, or diagnoses recorded, or reasonably soon thereafter. These records arc exact

duplicates of the originals.




AFFID.\VITOF                                                                                     PAGE2
    Case 3:20-cv-00643-E Document 31 Filed 03/04/21                    Page 5 of 141 PageID 181




                                                    Janet Beesley, Affiant


                SvVORN AND SUBSCRIBED TO before me on t-. larch 4, 2021, to certify which witness
                                                              1




my hand and official seal.




   ,,11111,,,
                                                     ~&~
                                                     Notary Public, in and for the State of Texas
f~-~f.~~ DENETRICA MARIEA GREEN-HATTEN
§;(•)~i Notary Public, State of Texas
~~>.!•••:-'.A'!'~ Comm. Expires 03-09-2022
 ,;,.t~OF~~,'-                                       tvly Commission Expires:
   11,u111I        Notary ID l 3148l717




AFFIDAVIT OF                                                                                    PAGF.3
Case 3:20-cv-00643-E Document 31 Filed 03/04/21   Page 6 of 141 PageID 182




                            Exhibit 1
                 Affidavit of Zachary Beauchamp
       Case 3:20-cv-00643-E Document 31 Filed 03/04/21         Page 7 of 141 PageID 183


THE STATE OF TEXAS
COUNTY OF DALLAS

DATE AND TIME: March 23, 2018 at&_PM
LOCATION: 350 W. Interstate 30, Garland, Texas 75043

BEFORE ME, the undersigned authority, on this day personally appeared, Zachary Beauchamp,
who being duly sworn on oath states:

My date of birth is            I currently work as a police officer for the city of Lancaster, Texas. My
telephone number is

I am voluntarily submitting this statement to Ranger David Armstrong . I am giving this statement
without any threats or promises and on my own free will. He mgy use this statement for whatever
purpose he or the State of Texas deem necessary. (INITIALS: -Z IS )

My name is Zachary Beauchamp. I am a police officer with the city of Lancaster, Texas. I have
been with the Lancaster Police Department for approximately 3 years. I am currently assigned to the
patrol division .

On Sunday, March 18, 2018, I was assigned as a patrol officer. My duty hours were 6P-6A. I was
wearing my full issued Lancaster Police Department uniform that clearly identified me as a Lancaster
police officer. I was patrolling the city with Recruit Officer Shane Lemoine. Recruit Officer Lemoine
was in his third phase of training. He had one more phase remaining . I was responsible for training
Recruit Officer Lemoine during his th ird phase. We were driving a fu lly marked Lancaster Police
Department Chevrolet Tahoe which was equipped with emergency lights and an in-dash camera
system.

I began the shift by taking our normal vehicle (1487) to our fleet maintenance facil ity for repair.
Recruit Officer Lemoine followed in vehicle 1481 to pick me up. We got into vehicle 1481. I was
planning on going back to the station to grab my duty bag and other equipment.

As we were headed back to the station, a criminal mischief call came out in the 600 block of W.
Pleasant Run Road. We told the dispatcher that we would go to the call. We were able to quickly
clear the call.

After we cleared the call , I observed a male who looked to be Zane Pugh, a suspected aggravated
robbery suspect, walk into the OK Food Mart (701 W. Pleasant Run) across the street. I also saw
Javier Martinez and the Cooks brothers in the parking lot. Pugh, Martinez, and the Cooks are known
to associate with each other and are known to engage in criminal activity. I told Recruit Officer
Lemoine to pull into a nearby church with a view of the OK Food Mart's back door. Other officers
quickly arrived in the area. After a few momen ts at the church, Recruit Officer Lemoine and I
relocated to the 7-11 across the street so we could watch the front door of the OK Food Mart. When
we got to the 7-11 moments later, Martinez and the Cooks brothers were gone. A short time later,
Sergeant Logan, RO Lemoine, and I went into the store to see if we could locate Pugh. The suspect
was not there and we could not locate him.


JNITIALS:   --1..,   i                                                          PAGE _ __
                                                                                DEF 00004
                                                                                             APPX 00001
        Case 3:20-cv-00643-E Document 31 Filed 03/04/21          Page 8 of 141 PageID 184


We left the OK Food Mart and drove northbound on Dewberry towards the station. We were following
Officer Pate. As we were following Officer Pate northbound on Dewberry, I noticed a white SUV
illegally parked in a fire lane at the Dewberry Apartments. The Dewberry Apartments is a well known
location for storing and selling dangerous narcotics. The driver was on the phone and appeared to be
very concerned to see Officer Pate drive by. The suspect was fixated on Officer Pate, and turned his
head almost all the way around to track where Officer Pate was headed. Officer Pate came over the
radio to ask me if I observed the white SUV. I told him that I did and that we would circle back and
make contact with the driver.

I instructed Recruit Officer Lemoine to turn right on Arbor Lane, right on Elm Street, and right again
on Pleasant Run Road. We pulled into a parking lot to the south of the suspect's location to see if we
could observe him. Our view was blocked by a privacy fence.

Recruit Officer Lemoine continued a short distance north on Dewberry and pulled into the south
entrance of the complex. The suspect was still parked in the fire lane. We circled around to pull up
behind the suspect vehicle. As we were pulling behind him he pulled front first into a parking spot.
We got out of the car to make contact with the suspect.

Recruit Officer Lemoine approached the vehicle on the driver side and made contact with the
suspect. I observed the suspect was fixated on RO Lemoine as he approached. I approached the
vehicle on the passenger side and observed that the front passenger side window was partially rolled
down. I don't think the suspect knew I was there. I immediately smelled the odor of marijuana and
observed what appeared to be a marijuana cigar right above the gear shifter.

While staring at Recruit Officer Lemoine, the suspect handed him his ID with one hand while carefully
and gradually reaching for the center console with the other. The suspect was able to open the
center console. A moment later, the suspect reached into the center console. I was concerned that
the suspect may be retrieving a pistol. I instructed Lemoine to get the suspect out of the SUV. The
suspect looked up and stared right at me. I could tell he was surprised to see me. He immediately
and quickly backed out of the spot.

My instinct was to run back to our squad car to pursue the suspect. As I was running towards our
squad car, I heard the suspect rev the engine of his SUV. The next thing I know the suspect put the
car in drive and hit me with the SUV knocking me off of my feet. I landed on the hood. The suspect
continued to drive while I was stuck on the hood. I looked the suspect straight in the eye. The
suspect distinctly and intentionally gunned the engine and accelerated the vehicle. I was convinced if
I fell off the hood the suspect was going to run me over and kill me.

As the suspect continued to increase his speed , I thought that I was about to die. I thought I was
never going to see my wife or two children again . I was somehow able to retrieve my department
issued pistol and fire at the suspect to try and stop him from continuing to accelerate and killing me. I
don't know if he swerved or hit the curb, but all of a sudden my momentum shifted and I fell off the
side of the hood. As I fell off the hood, the suspect missed running me over by just a few inches.

I immediately experienced excruciating pain throughout my entire body. I experienced sev~re sharp
shooting pains in my shoulder, ribs, elbows, and knees.



IN ITIALS: -z   IS                                                                PAG E
                                                                                   DEF 00005
                                                                                                APPX 00002
        Case 3:20-cv-00643-E Document 31 Filed 03/04/21           Page 9 of 141 PageID 185


Other officers quickly came to my aid. I was quickly transported by ambulance to the emergency
room at Baylor Scott and Wh ite Hospital in Waxahachie.




END OF STATEMENT                          TIME: t''lt    PM      DATE: 3/23/2018

I wou ld like to state that everything I have stated to Ranger David A rmstrong is true and correct to the
best of my knowledge. (INITIALS: -z.g )



                                                        NATURE OF PERSON GIVING STATEMENT

Subscribed and sworn to before me, Ranger David Armstrong , a peace officer of the State of Texas
and pursuant to 602.002 Texas Government Code, on th is the 23 rd day of March, 2018.



                                                  SIG~              : ~ CE OFFICER




         -/S- -
INITIALS: Z'
                                                                                    DEF 00006
                                                                                                 APPX 00003
Case 3:20-cv-00643-E Document 31 Filed 03/04/21   Page 10 of 141 PageID 186




                             Exhibit 2
                    Affidavit of Shane Lemoine
       Case 3:20-cv-00643-E Document 31 Filed 03/04/21         Page 11 of 141 PageID 187


THE STATE OF TEXAS
COUNTY OF DALLAS

DATE AND TIME: March 23, 2018 att .1~ PM
LOCATION: 350 W. Interstate 3q, Garland , Texas 75043

BEFORE ME, the undersigned authority, on this day personally appeared, Shane Lemoine, who
being duly sworn on oath states:

I was born on                  I currently work as a police officer for the city of Lancaster, Texas.
started working for the Lancaster Police Department in December 2017. I am currently in my third (of
four) phase of training . My telephone number is

I am voluntarily submitting this statement to Ranger David Armstrong. I am giving this statement
without any threats or promises and on my own free will. He may use this statement for whatever
purpose he or the State of Texas deem necessary. (INITIALS: ,6l- )

On March 18, 2018, I was patrolling the City of Lancaster with my training officer, Officer Zac
Beauchamp. I was wearing my fu lly issued Lancaster Police Department uniform that clearly
identified me as a police officer. I was driving a fully marked Lancaster Police Department Chevrolet
Tahoe (1481) while Officer Beauchamp rode in the passenger seat. Our vehicle was equipped with
emergency lights and a dash camera.

After detail my trainer and I took a marked vehicle to fleet services to be repaired. We then answered
a crim inal mischief call at Pleasant Run and Dewberry. Shortly after we cleared the call, my trainer
observed someone he believed to have an arrest warrant go in the OK Food Mart on the northeast
corner of Pleasant Ru n and Dewberry. We briefly parked at a nearby ch urch behind the OK Food
Mart with a view of the OK Food Mart's back door. Other Lancaster officers arrived in the area as
well. We then moved to the 7-11 so we could see the front door of the OK Food Mart. Shortly
thereafter, I went into the store with Officer Beauchamp and Sergeant Logan to see if the wanted
suspect was stil l inside or hiding. It appeared that the wanted suspect was no longer in the area.

At approximately 7PM we began to leave the area. I was driving northbound on Dewberry with Officer
Beauchamp. We passed the OK Food Mart. As we were passing the ch urch, I observed a white
SUV illegally parked in a fire lane at the apartments located at 1600 Dewberry. There were still police
vehicles in the area. The driver was on the phone and appeared to be relaying our location and
activity to someone on the other end of the phone. Officer Beauchamp instructed me to circle around
and head back towa rds the apartment complex.

I made right turns on Arbor, Elm, and Pleasant Run and then a right turn back on Dewberry. I
entered the apartment complex through the south entrance and noticed the suspect was still parked
in the fire lane at the north entrance . I drove around the building. As we were coming up behind the
suspect veh icle, the suspect pulled into a parking spot.

We exited the patrol vehicle and approached the suspect. I approached on the driver side while
Officer Beauchamp approached on the passenger side. I made contact with the suspect and asked
for his driver's license. The suspect appeared very nervous and was shaking as he attempted to
remove his license from his wallet. The suspect then handed me a Texas identification card. I heard
INITIALS:   ~                                                                   PAGE    I
                                                                                 DEF 00007
                                                                                              APPX 00004
       Case 3:20-cv-00643-E Document 31 Filed 03/04/21          Page 12 of 141 PageID 188


Officer Beauchamp instruct me to have the suspect exit the vehicle. I ordered the suspect out of the
vehicle. As I was opening the driver's door, the driver quickly backed out of the spot. I had to move
out of the way of the open door to avoid getting knocked over.

The suspect backed up straight into a vacant spot on the other side of the parking lot. I ran back
towards our patrol vehicle because I thought we were about to pursue the suspect. The suspect put
his SUV in drive and drove directly at Officer Beauchamp. I could no longer see Officer Beauchamp.
Almost immediately, I heard a thud which I believe was the suspect hitting Officer Beauchamp with
the SUV. I observed Officer Beauchamp on the hood of the suspect's SUV as the suspect turned
right on Dewberry. The suspect appeared to be accelerating. I was afraid the suspect was going to
continue accelerating north on Dewberry. I was terrified that I was about to watch Officer Beauchamp
die. I heard multiple gun shots and wasn't sure if the suspect was shooting at Officer Beauchamp or
if Officer Beauchamp was shooting to try and save his own life. As I turned right on Dewberry, I saw
Officer Beauchamp kneeling in pain on the pavement.          The suspect continued driving north on
Dewberry at a very high rate of speed. I observed the suspect swerve and flip over.

Several Lancaster officers arrived on scene almost immediately. I stayed with Officer Beauchamp
until he was taken away in an ambulance. I then went back to the police station to wait for further
instructions.




END OF STATEMENT                         TIME: 2. :/(p PM       DATE: 3/23/2018

I would like to state that everything I have stated to Ranger David Armstrong is true and correct to the
best of my knowledge. (INITIALS:    7L, )

                                                      ~
                                                      TIJRE0F d~   PERSON GIVING STATEMENT

Subscribed and sworn to before me, Ranger David Armstrong , a peace officer of the State of Texas
and pursuant to 602.002 Texas Government Code, on this the 23 rd day of March , 2018.



                                                 S~                PEACE OFFICER




INITIALS:                                                                        PAGE    e...
                                                                                   DEF 00008
                                                                                                APPX 00005
Case 3:20-cv-00643-E Document 31 Filed 03/04/21   Page 13 of 141 PageID 189




                             Exhibit 3
                          Dash Cam Video




                                                                              APPX 00006
Case 3:20-cv-00643-E Document 31 Filed 03/04/21   Page 14 of 141 PageID 190




                             Exhibit 4
                         Excerpts from the
                           Deposition of
                        Zachary Beauchamp
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 15 of v.141   PageID
                                                                                              City of         191
                                                                                                      Lancaster, Texas, et. al.


              1                    THIS UNEDITED ROUGH DRAFT OF THE PROCEEDING WAS

              2      PRODUCED IN REALTIME AND IS NOT CERTIFIED.

              3

              4                    THIS ROUGH DRAFT TRANSCRIPTION MAY NOT BE CITED

              5      OR USED IN ANY WAY OR AT ANY TIME TO REBUT OR

              6      CONTRADICT THE CERTIFIED TRANSCRIPTION OF PROCEEDINGS.

              7      THERE WILL BE DISCREPANCIES IN THIS FORM AND THE FINAL

              8      FORM, BECAUSE THIS REALTIME TRANSCRIPTION HAS NOT BEEN

              9      EDITED, PROOFREAD, CORRECTED, FINALIZED, INDEXED, OR

            10       CERTIFIED.

            11

            12                     THERE WILL ALSO BE A DISCREPANCY IN PAGE

            13       NUMBERS APPEARING ON THE UNEDITED ROUGH DRAFT AND THE

            14       EDITED, PROOFREAD, CORRECTED, AND CERTIFIED FINAL.

            15

            16                     THIS ROUGH DRAFT TRANSCRIPTION MAY CONTAIN

            17       UNTRANSLATED STENO, MISSPELLINGS, AND/OR NONSENSICAL

            18       WORD COMBINATIONS.                   ALL SUCH ENTRIES WILL BE CORRECTED

            19       ON THE FINAL CERTIFIED TRANSCRIPT.

            20

            21                     THIS ROUGH DRAFT TRANSCRIPTION IS NOT TO BE

            22       USED TO CITE IN ANY COURT PROCEEDING.

            23                                             *************

            24

            25

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 1
                                                                                                                       APPX 00007
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 16 of v.141   PageID
                                                                                              City of         192
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                              UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF TEXAS
              3

              4      RODNEY BRISCO, as Administrator for )
                     the ESTATE OF MICHAEL BRISCO,       )
              5                                          )
                             Plaintiffs,                 ) Case No.
              6                                          ) 3:20-cv-00643-E
                     v.                                  )
              7                                          )
                     CITY OF LANCASTER, TEXAS, et al.,   )
              8                                          )
                             Defendants.                 )
              9

            10

            11
                                        **********************************
            12                              ROUGH DRAFT DEPOSITION OF
                                            OFFICER ZACHARY BEAUCHAMP
            13                                  February 24, 2021
                                        **********************************
            14

            15

            16                     ROUGH DRAFT DEPOSITION OF

            17          OFFICER ZACHARY BEAUCHAMP, produced as a witness

            18          at the instance of the Plaintiff, and duly sworn,

            19          was taken in the above-styled and numbered cause

            20          on February 24, 2021, from 2:02 p.m. to 3:25 p.m.,

            21          remotely before Rebecca A. Graziano, CSR, RPR,

            22          CRR, in and for the State of Texas, reported by

            23          machine shorthand, pursuant to the Federal Rules

            24          of Civil Procedure and the provisions stated on

            25          the record.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 2
                                                                                                                       APPX 00008
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 17 of v.141   PageID
                                                                                              City of         193
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                                             PROCEEDINGS

              3                             (On the record at 2:02 p.m.)

              4                              THE VIDEOGRAPHER:                   We are now on

 02:02        5                  the record.              Today's date is

              6                  February 24th, 2021, and the time is

              7                  2:02 p.m. central.

              8                              This is the recorded video

              9                  deposition of Officer Zachary Beauchamp in

 02:02      10                   the matter of Estate of Michael Brisco

            11                   versus city of Lancaster, Texas, et al.,

            12                   in the United States District Court,

            13                   Northern District of Texas,

            14                   Case Number 3:20-cv-00643-E

 02:02      15                               My name is Mark Santos from Everest

            16                   Court Reporting, and I am the video

            17                   specialist.              The court reporter today is

            18                   Becky Graziano, also from Everest Court

            19                   Reporting.           All counsel appearing today

 02:02      20                   will be noted on the stenographic record.

            21                               Will the court reporter please

            22                   swear in the witness.

            23                                     (Witness duly sworn.)

            24                                 OFFICER ZACHARY BEAUCHAMP,

 02:03      25            being first duly sworn, testified as follows:

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 3
                                                                                                                       APPX 00009
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 18 of v.141   PageID
                                                                                              City of         194
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2

              3                                               EXAMINATION

              4         BY MR. COYLE:

 02:03        5           Q           Good afternoon, Officer Beauchamp.                                  My

              6         name is John Coyle.                   I represent the estate of

              7         Michael Brisco in litigation arising out of the

              8         officer involved shooting from March 23rd of --

              9         I'm sorry -- from March 18th of 2018.

 02:03      10                               Have you ever had a deposition taken

            11          before?

            12            A           No, sir.

            13            Q           This is your first one?

            14            A           Yes, sir.

 02:03      15            Q           Okay.        So I'm going to go through a series

            16          of instructions that will just make this go as

            17          quickly and smoothly as possible.

            18                               So first and for most, just like a

            19          court of law, our sworn in and obligated to tell

 02:03      20          the truth; do you understand?

            21            A           Yes, sir.

            22            Q           Second, the court reporter here is taking

            23          a written record of everything we say, so I want

            24          you to keep two things in mind:                              First, normal

 02:04      25          forms of communication like nods of the head,

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 4
                                                                                                                       APPX 00010
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 19 of v.141   PageID
                                                                                              City of         195
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         shrugs of the shoulders, saying "huh-uh" and

              3         "uh-huh," the way we usually communicate.                                       They

              4         don't translate very well to a written record so

 02:04        5         try to say things like "yes" and "no."                                    Okay?

              6           A           Yes, sir.

              7           Q           All right.            Second, you know, because it's

              8         a written record, it's very much human nature to

              9         anticipate my question and want to jump in and

 02:04      10          answer it.           Just try to wait until I finish my

            11          question before you give your answer.                                   That way

            12          when we go back and read the transcript, it's nice

            13          and neat for us.                  All right?

            14            A           Yes, sir.

 02:04      15            Q           Okay.        I don't think we'll be here too,

            16          too long today.               Probably under two hours.                           But if

            17          at any point in time you need to take a break, use

            18          the restroom, talk to counsel, stretch your legs,

            19          whatever it may be, that's perfectly fine.                                        Just

 02:04      20          let me know.             I only ask that if I've posed a

            21          question, you answer it before we take a break;

            22          fair enough?

            23            A           Yes, sir.

            24            Q           Okay.        If you don't remember anything, you

 02:05      25          can't recall anything, that's a perfectly

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 5
                                                                                                                       APPX 00011
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 20 of v.141   PageID
                                                                                              City of         196
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         acceptable answer.                  Just -- just say that.                        All

              3         right?

              4           A           Yes, sir.

 02:05        5           Q           All right.            And is there any reason --

              6         physical condition, medications, drug, alcohol or

              7         any other reason -- why you can't testify

              8         truthfully and accurately here today?

              9           A           No, sir.

 02:05      10            Q           Okay.        Do you have any questions for me

            11          before we get started?

            12            A           No, sir.

            13            Q           Okay.        Have you had time to speak with

            14          counsel and prepare for this deposition?

 02:05      15            A           Yes, sir.

            16            Q           All right.            Great.

            17                               What's your full name, for the record?

            18            A           Zachary, Z-a-c-h-a-r-y; Beauchamp,

            19          B-e-a-u-c-h-a-m-p.

 02:05      20            Q           Okay.

            21            Q           And who's your current employer?

            22            A           City of Lancaster.

            23            Q           And you are a police officer?

            24            A           Yes, sir.

 02:05      25            Q           And how long have you been a police

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 6
                                                                                                                       APPX 00012
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 21 of v.141   PageID
                                                                                              City of         197
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         officer with the city of Lancaster?

              3           A           Roughly six years.

              4           Q           And how old are you, sir?

 02:06        5           A           32.      Or about to be 32.

              6           Q           What's your highest level of education you

              7         completed?

              8           A           High school.

              9           Q           Okay.        What high school did you go to?

 02:06      10            A           Ferris high school.

            11            Q           And when did you graduate?

            12            A           2007.

            13            Q           Do you remember what year it was when you

            14          started with the Lancaster Police Department?

 02:06      15            A           I think it was 2013.

            16            Q           Okay.        Prior to that, had you been a

            17          police officer with a different police department?

            18            A           Yes, sir.

            19            Q           Where were you before that?

 02:06      20            A           City of Cockrell Hill.

            21            Q           And how far is that from Lancaster?

            22            A           20 -- I -- 20 miles, maybe.

            23            Q           Okay.        How long were you with them?

            24            A           Roughly 11 months.

 02:07      25            Q           What was the reason for your switch?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 7
                                                                                                                       APPX 00013
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 22 of v.141   PageID
                                                                                              City of         198
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           To accept the job at Lancaster.

              3           Q           Okay.        Closer to motion in limine?                            Did it

              4         pay better?            What was the reason?

 02:07        5           A           More money.

              6           Q           More money.             Always a good reason.

              7                              Prior to copper hill, were you a

              8         police department anywhere -- were you a police

              9         officer anywhere else?

 02:07      10            A           Yes, sir.

            11            Q           Where were you before that?

            12            A           City of Red Oak.

            13            Q           And where is that in reference to

            14          Lancaster?

 02:07      15            A           One city south.

            16            Q           And how long were you with Red Oak?

            17            A           Two and a half years.

            18            Q           Why did you leave Red Oak?

            19            A           I was terminated.

 02:08      20            Q           Okay.        Why were you terminated?

            21            A           For policy violations.

            22            Q           What type of policy violations?

            23            A           I pepper sprayed a guy that was in

            24          handcuffs.

 02:08      25            Q           Were there any criminal charges as a

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 8
                                                                                                                       APPX 00014
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 23 of v.141   PageID
                                                                                              City of         199
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         result of that incident?

              3           A           No, sir.

              4           Q           Was there any civil litigation as a result

 02:08        5         of that incident?

              6           A           No, sir.

              7           Q           Prior to the city of Red Oak, were you a

              8         police officer anywhere else?

              9           A           No, sir.

 02:08      10            Q           Okay.        So before you started at Red Oak, I

            11          assume you went to the police academy; is that

            12          correct?

            13            A           I'm sorry.            You broke up.

            14            Q           Prior to starting with Red Oak, did you go

 02:08      15          to the police academy?

            16            A           Yes, sir.

            17            Q           Okay.        What police academy?

            18            A           Navarro college.

            19            Q           I'm sorry?

 02:09      20            A           Navarro college.

            21            Q           And when did you enroll there?

            22            A           20- -- it was sometime right after high

            23          school.         I want to say roughly around 2010.                                  2009

            24          to 2010.

 02:09      25            Q           Did you hold any jobs between high school

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 9
                                                                                                                       APPX 00015
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 24 of v.141   PageID
                                                                                              City of         200
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         and going to the police academy?

              3           A           Yes, sir.

              4           Q           What did you do?

 02:09        5           A           Farming.            I worked at a Walgreens

              6         distribution center for a little bit.                                   I worked as

              7         a -- security at a bar, and odd and end jobs.

              8           Q           Okay.        You've never been a prison guard or

              9         anything like that?

 02:09      10            A           No, sir.

            11            Q           Okay.        Have you ever been the defendant in

            12          a civil lawsuit other than this one?

            13            A           Yes, sir.

            14            Q           Okay.        When was that?

 02:10      15            A           Roughly a month ago, I would say.                                 I got

            16          served with another one.

            17            Q           Okay.        And did that have to do with

            18          something that happened while you were working as

            19          a police officer?

 02:10      20            A           Yes, sir.

            21            Q           Can you just give me a brief overview of

            22          what that lawsuit is -- involves?

            23            A           Another city's SWAT team, they hit the

            24          wrong house on executing a search warrant.

 02:10      25            Q           How were you involved?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 10
                                                                                                                       APPX 00016
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 25 of v.141   PageID
                                                                                              City of         201
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           I was called there to block off the road

              3         for the SWAT team.

              4           Q           The house that was hit, was it in

 02:11        5         Lancaster?

              6           A           Yes, sir.

              7           Q           Why was another city's SWAT team serving a

              8         warrant in Lancaster?

              9           A           From what I know of the deal, it was a

 02:11      10          multi-agency task force, and they -- I don't know

            11          why they used that SWAT team.                            That wasn't...

            12            Q           Okay.        Other than that lawsuit and this

            13          one, have you been a defendant in any other civil

            14          lawsuits?

 02:11      15            A           No, sir.

            16            Q           Prior to this incident on May 18th, 2018,

            17          have you ever discharged your firearm at another

            18          person?

            19            A           No, sir.

 02:12      20            Q           Since that, have you?

            21            A           No, sir.

            22            Q           My understanding is that on the date of

            23          this incident, you were the training officer for

            24          Officer Lemoine; is that correct?

 02:12      25            A           Yes, sir.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 11
                                                                                                                       APPX 00017
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 26 of v.141   PageID
                                                                                              City of         202
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           Q           Is Officer Lemoine still with the police

              3         department?

              4           A           Yes, sir, I believe so.

 02:12        5           Q           Okay.        My understanding is that he's --

              6         overseas right now?

              7           A           I know he's in the military, but I

              8         couldn't tell you where he's at.

              9           Q           Okay.        Is he -- is he a reservist?                            Is he

 02:12      10          active duty?             Do you know?

            11            A           No, sir, I don't know.

            12            Q           Understood.

            13                               How long have you been serving as a

            14          training officer for Lancaster prior to this

 02:13      15          incident?

            16            A           I would probably say about a year.

            17            Q           And how did you get tacked to be a

            18          training officer?

            19            A           The training coordinator at the time

 02:13      20          approached me and asked me to train fellow

            21          officers and new officers coming up.

            22            Q           How long had Officer Lemoine been on

            23          the -- am I pronouncing that name correctly?

            24            A           Yes, sir, as far as I know.

 02:13      25            Q           Okay.        How long had he been on the force

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 12
                                                                                                                       APPX 00018
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 27 of v.141   PageID
                                                                                              City of         203
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         before this incident on March 18th of 2018?

              3           A           Not long.           I don't -- I couldn't give you

              4         exact, but it wasn't long.

 02:13        5           Q           Less than six months?

              6           A           Yes, sir.           That would be fair to say.

              7           Q           Okay.        I was reviewing some of the -- hold

              8         on one second.              Let me see if I can pull it up.

              9                              I was reviewing some of the Lancaster

 02:14      10          Police Department general orders.                                Is the -- are

            11          the general orders sort of your policies governing

            12          your behavior at the police department?

            13                               MR. KLEMENT:               Objection; form.

            14          BY MR. COYLE:

 02:14      15            Q           You can answer.

            16            A           Yes, sir.

            17            Q           Okay.        There's a general order governing

            18          body-worn cameras.                  Were you equipped with a body

            19          warn camera in 2018?

 02:14      20            A           Yes, sir.

            21            Q           Okay.        On March 18th of 2018, were you

            22          wearing your body camera?

            23            A           No, sir.

            24            Q           Why not?

 02:15      25            A           I gave it to my Recruit Officer Lemoine,

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 13
                                                                                                                       APPX 00019
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 28 of v.141   PageID
                                                                                              City of         204
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         because mine was not -- or his was not working.

              3           Q           So on the date of the incident, Officer

              4         Lemoine was wearing your body-worn camera?

 02:15        5           A           To the best of my knowledge, yes, sir.

              6                              MR. COYLE: Chris, as I went through

              7                  everything, I didn't see any body camera

              8                  footage that was produced to us.                               So to

              9                  the extent that Officer Lemoine was

 02:15      10                   wearing a body-worn camera, we'd just

            11                   request that.

            12                               MR. KLEMENT:               Right.         And we can

            13                   speak about that outside the deposition.

            14                               MR. COYLE:             Sure.

 02:15      15                               MR. KLEMENT:               We can talk through

            16                   it.

            17                               MR. COYLE:             Okay.

            18          BY MR. COYLE:

            19            Q            So, officer, have you given your body

 02:15      20          camera to Officer Lemoine that day or days prior?

            21            A            No.     That day.

            22            Q            Was it at the beginning of the shift?

            23            A            Yes, sir.

            24            Q            Okay.       Where were you when you gave it to

 02:16      25          him?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 14
                                                                                                                       APPX 00020
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 29 of v.141   PageID
                                                                                              City of         205
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           We were going to a criminal mischief

              3         complaint in the 600 block of West Pleasant Run.

              4           Q           So were you in the car when you gave it to

 02:16        5         him?

              6           A           Yes, sir.

              7           Q           And why did you decide to give him your

              8         body camera?

              9           A           Because he was in third phase of training,

 02:16      10          so he interacts with the public more, and I would

            11          stand back, and that way he's making contact with

            12          the public that he would have the audio and video

            13          of the body camera.

            14            Q           Okay.        How did you become aware that his

 02:16      15          body camera wasn't working?

            16            A           I think he told me it wasn't.                             I -- I'm

            17          sure that's what the conversation was.

            18            Q           So you're en route to a criminal mischief

            19          complaint.           Are you driving or are you the

 02:17      20          passenger?

            21            A           He's third phase training, so I would have

            22          been passenger.

            23            Q           And how long before the shooting did you

            24          go to this criminal mischief complaint?

 02:17      25            A           I guess I don't understand what you're

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 15
                                                                                                                       APPX 00021
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 30 of v.141   PageID
                                                                                              City of         206
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         asking.

              3           Q           Sure.

              4                              So let me -- let me backtrack and we

 02:17        5         can go [audio interference].

              6                              THE REPORTER:

              7         BY MR. COYLE:

              8           Q           What time did your shift begin that day?

              9         Do you remember?

 02:18      10            A           6:00 p.m.

            11            Q           6:00 p.m.

            12                               And what time, if you can recall, did

            13          the shooting occur?

            14            A           I don't know the exact time.

 02:18      15            Q           Was it towards the beginning of your shift

            16          or the end of your shift?

            17            A           Beginning.

            18            Q           Okay.        This criminal mischief complaint

            19          that you talked about, was that the first call you

 02:18      20          went to on your shift?

            21            A           Yes, sir.

            22            Q           How long after you went to that criminal

            23          mischief call did the shooting occur?

            24            A           Not long.

 02:19      25            Q           Not long -- an hour?                     A half hour?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 16
                                                                                                                       APPX 00022
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 31 of v.141   PageID
                                                                                              City of         207
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           I would say an hour tops.

              3           Q           So my understanding is immediately before

              4         your interaction with Mr. Brisco, you sort of -- I

 02:19        5         don't want to say it was surveillance, but you saw

              6         an individual who you believe to be Zane Pugh at a

              7         Food Mart; is that correct?

              8           A           Yes, sir.

              9           Q           Yes, sir?

 02:19      10            Q           Were you simply -- were you on the lookout

            11          for Mr. Pugh?              Why did he stick out to you?

            12            A           He -- I knew that he was currently wand

            13          for an aggravate robbery out of our city.

            14            Q           And you had prior interactions with him?

 02:20      15            A           Yes, sir.

            16            Q           Okay.        So you were able to recognize him?

            17            A           Yes, sir.

            18            Q           How far was this Food Mart from the

            19          location where the shooting occurred?

 02:20      20            A           Maybe 80 yards.

            21            Q           So I listened to police audio surrounding

            22          the shooting, and you -- it appears that you're

            23          talking back and forth.                       Do you know who you were

            24          speaking to while you were investigating Mr. Pugh?

 02:20      25            A           It would be several different officers,

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 17
                                                                                                                       APPX 00023
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 32 of v.141   PageID
                                                                                              City of         208
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         but I don't remember which one directly.

              3           Q           Okay.        Were they in other vehicles?

              4           A           Yes, sir.

 02:20        5           Q           So was there a planned operation to try to

              6         take Mr. Pugh into custody?

              7           A           If we could locate him, yes, sir.                                 I

              8         wouldn't say planned.

              9           Q           Were there simply a number of vehicles in

 02:21      10          this same area that you were communicating with?

            11            A           Yes, sir.

            12            Q           Is that area heavily policed?

            13            A           Yes, sir.

            14            Q           Okay.        So the why are where you first

 02:21      15          interacted with Mr. Brisco, it looks like it's

            16          sort of like an apartment complex facility; is

            17          that accurate?

            18            A           Yes, sir.

            19            Q           Okay.        Are they off the main road?                              Can

 02:21      20          you sort of explain to me how it's all set up?

            21            A           On the south side, you have pleasant run,

            22          which is a main thoroughfare in Lancaster.                                          And

            23          then that's where the Food Mart is.                                  And then

            24          Dewberry, it runs north and south, and the

 02:22      25          apartment complex sits on the east side of

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 18
                                                                                                                       APPX 00024
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 33 of v.141   PageID
                                                                                              City of         209
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         Dewberry.

              3           Q           And so the apartment complex, it's a

              4         number of small buildings with parking in front

 02:22        5         and sort of small driveways in between; is that

              6         fair to say?

              7           A           Yes, sir.

              8           Q           Okay.        So how did you come across

              9         Mr. Brisco after you leave the Food Mart?

 02:22      10            A           We saw a car parked in the fire lane, and

            11          that's a violation.

            12            Q           Okay.        Where were you when you observed

            13          the car in the fire lane?

            14            A           I was behind Officer Pate, who was going

 02:23      15          up Dewberry.

            16            Q           So you're driving on Dewberry?

            17            A           Yes, sir.

            18            Q           And this fire lane, is it in the apartment

            19          complex?

 02:23      20            A           Yes, sir.

            21            Q           How far off of Dewberry is the fire lane?

            22            A           It connects to Dewberry.

            23            Q           Okay.        How far off of Dewberry was the car

            24          that you observed in the fire lane?

 02:23      25            A           Feet, maybe.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 19
                                                                                                                       APPX 00025
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 34 of v.141   PageID
                                                                                              City of         210
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           Q           So, I mean, like, right off of Dewberry,

              3         or 50 feet?            100 feet?            What do you mean by

              4         "feet"?

 02:23        5           A           I don't know how to describe it.                                If it

              6         turns out of the apartment, he was -- I would say

              7         roughly 20 feet at the most from Dewberry, the

              8         actual roadway.

              9           Q           Okay.        When you're driving up Dewberry,

 02:24      10          how fast are you going?

            11            A           It just depends.

            12            Q           Well, at this point in time, when you

            13          observed the white SUV, how fast were you going?

            14            A           Oh, probably under 10 miles an hour.

 02:24      15            Q           Okay.        So you're sort of rolling along on

            16          Dewberry?

            17            A           Yes, sir.

            18            Q           Okay.        Why were you driving so slow?

            19            A           Looking for Zane Pugh.

 02:24      20            A           Did Mr. Pugh frequent that apartment

            21          complex.

            22            A           Yes, sir.

            23            Q           Is that apartment complex like a crime hot

            24          spot, so to speak?

 02:24      25            A           Yes, sir.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 20
                                                                                                                       APPX 00026
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 35 of v.141   PageID
                                                                                              City of         211
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           Q           So you're -- did you have any reason to

              3         believe that Mr. Pugh was driving this white

              4         vehicle that was in the fire lane?

 02:24        5           A           No, sir.

              6           Q           Was there any reason that you wanted to

              7         stop the white vehicle other than it being in the

              8         fire lane?

              9           A           Yes, sir.

 02:25      10            Q           What's that?

            11            A           When officers were driving around the

            12          area, like going up, Officer Pate passed by, on

            13          the occupant of the vehicle was watching the

            14          marked officers as they were driving around

 02:25      15          looking for Mr. Pugh.

            16            Q           Okay.        When you say when they were driving

            17          around, are they driving around through the

            18          apartment complex?

            19            A           I can't speak on where every officer went.

 02:25      20            Q           Okay.        Well, you said that the occupant of

            21          the white vehicle watched the marked vehicles go

            22          past.

            23            A           Yes, sir.

            24            Q           Did they -- the marked vehicles go past on

 02:25      25          Dewberry, or did they go past through the

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 21
                                                                                                                       APPX 00027
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 36 of v.141   PageID
                                                                                              City of         212
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         apartment complex?

              3           A           No.      Past on Dewberry.

              4           Q           Okay.        The white vehicle that -- is it

 02:26        5         fair to say that the fire lane is perpendicular to

              6         Dewberry?

              7           A           Yes, sir.

              8           Q           Okay.        So in the fire lane, is the white

              9         vehicle facing towards Dewberry or facing away

 02:26      10          from Dewberry?

            11            A           Facing towards Dewberry.

            12            Q           Okay.        The occupant who watched the

            13          officers go by would be looking out his front

            14          windshield to watch the cars go by; is that

 02:26      15          accurate?

            16            A           Yes, sir.

            17            Q           Were the police vehicles -- did they have

            18          their lights on?

            19            A           No, sir.

 02:26      20            Q           Was there anything else strange about the

            21          white vehicle or its occupant?

            22            A           You could tell he was on his phone, and

            23          just the way he turned to watch the vehicles was

            24          abnormal.

 02:27      25            Q           Can you describe what you mean by that?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 22
                                                                                                                       APPX 00028
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 37 of v.141   PageID
                                                                                              City of         213
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           He would -- as soon as he saw the marked

              3         vehicles, he would follow the first one -- it

              4         would strain my neck, but he would turn, like, his

 02:27        5         whole body watching to see where that car went,

              6         that police vehicle went.

              7           Q           Okay.        So what about that stood out to

              8         you?

              9           A           That he was very cautiously watching where

 02:27      10          the police went.

            11            Q           Okay.        Well, watching where the police

            12          went wouldn't create an independent basis to pull

            13          over that vehicle, would it?

            14            A           No, sir.

 02:27      15                               MR. KLEMENT:               Objection; form.

            16          BY MR. COYLE:

            17            Q           What was the basis for stopping the

            18          vehicle?

            19            A           Parked in the fire lane.

 02:28      20            Q           Okay.        You see the occupant of the vehicle

            21          watch the cars go by.                     What do you do next?

            22            A           We travel up Dewberry and make the block

            23          and come back around.

            24            Q           Okay.        When you come back around, is the

 02:28      25          white vehicle still in the same spot?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 23
                                                                                                                       APPX 00029
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 38 of v.141   PageID
                                                                                              City of         214
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           Yes, sir.

              3           Q           Okay.        Does the white vehicle ever move?

              4           A           Yes, sir.

 02:28        5           Q           Where does it move to?

              6           A           A parking spot after we pulled behind it.

              7           Q           Okay.        So how far away is the parking spot

              8         that it pulls into?

              9           A           Pretty close.               I mean, guessing feet, I'd

 02:29      10          say 25 to 50 feet, maybe.

            11            Q           Okay.        When you pulled up behind it, what

            12          was your intention?

            13            A           To make contact with the occupant.

            14            Q           For what reason?

 02:29      15            A           To see what was going on.                          The violation,

            16          just like a traffic stop.

            17            Q           Okay.        You were going to write him a

            18          parking ticket for blocking the fire lane?

            19            A           Yes, sir, possibly.

 02:29      20            Q           Were there any other cars parked in the

            21          fire lane?

            22            A           Not that I remember.

            23            Q           Walk me through what happens from when you

            24          pull up behind the car until you discharge.                                         Just

 02:30      25          one through it for me.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 24
                                                                                                                       APPX 00030
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 39 of v.141   PageID
                                                                                              City of         215
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           So I -- we pull around, pull behind and he

              3         pulls nose-in to a parking spot.                               There's another

              4         vehicle parked on his passenger's side.                                     The

 02:30        5         occupant of the vehicle opens the door.                                     I believe

              6         that Lemoine instructed him to have a seat back in

              7         the vehicle.             He was exact of acting very nervous.

              8         I walked to the passenger's side.                                I don't

              9         think -- I don't know I don't believe he saw me.

 02:30      10          I road dispatch and gave the plate of the vehicle.

            11          I don't think he saw me on the passenger's side,

            12          and I walked up and you could see -- it looked

            13          like marijuana -- marijuana next to the gear shift

            14          in the center console.                      I couldn't hear all the

 02:30      15          conversation between him and Lemoine, but I -- I

            16          was -- saw him reach to the door pocket and then

            17          go towards the center console area of the car, and

            18          that's when I instructed Officer Lemoine to pull

            19          him out of the vehicle, and he saw me, and then

 02:31      20          the car went in reverse.                        Well, then when the car

            21          went in reverse, I knew at that point that he was

            22          taking off to evade, so I go to run back to my

            23          squad car, and at that point when he turns, he

            24          turns the car and goes forward and he's -- he's --

 02:31      25          struck me with the vehicle and I was on top of it,

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 25
                                                                                                                       APPX 00031
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 40 of v.141   PageID
                                                                                              City of         216
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         and then we go northbound.

              3           Q           Okay.        You're on top of the vehicle

              4         heading northbound.                   How long until you discharge?

 02:31        5           A           Seconds.

              6           Q           Okay.        At some point in time, you fall off

              7         the vehicle?

              8           A           Yes, sir.

              9           Q           How far down the road does that happen?

 02:31      10            A           I don't have a tape measure, but it's --

            11          there's another set of apartment complex across

            12          the street that's down -- I would have to guess

            13          maybe 50 yards.

            14            Q           Okay.        Do you remember how many times you

 02:32      15          discharged your firearm?

            16            A           No, sir.

            17            Q           Okay.        Were you on the hood of the vehicle

            18          when you discharged the firearm?

            19            A           Yes, sir.

 02:32      20            Q           Okay.        It was after you were struck by the

            21          vehicle?

            22            A           Yes, sir.

            23            Q           Were you -- can you describe sort of your

            24          body positioning as you were discharging?

 02:32      25            A           I remember my fingers were holding on to

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 26
                                                                                                                       APPX 00032
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 41 of v.141   PageID
                                                                                              City of         217
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         the hood, and he wasn't slowing down, and I

              3         unholstered and shot.

              4           Q           Okay.        I want to go back to something you

 02:33        5         said.       You said you road dispatch with the license

              6         plate.

              7                              Are there two separate bands that you

              8         can communicate on?

              9           A           Are you calling bands channels?

 02:33      10            Q           Yeah.        Sorry.         We call them bands up here.

            11          Channels.           Two separate channels?

            12            A           We only operate on one channel, but we

            13          have multiple channels.

            14            Q           Okay.        So if you're talking to another

 02:33      15          officer in a different car about Mr. Pugh's

            16          location, or you're radioing dispatch with the

            17          plates, it would all be on the same channel?

            18            A           Yes, sir.

            19            Q           At any point in time while you were

 02:34      20          observing Mr. Brisco in his vehicle or on the hood

            21          of the vehicle, did you observe any weapons on

            22          him?

            23            A           No, sir.

            24            Q           When he put his car into reverse, was it

 02:34      25          your intention to get in front of his vehicle to

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 27
                                                                                                                       APPX 00033
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 42 of v.141   PageID
                                                                                              City of         218
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         stop its path?

              3           A           No, sir.

              4           Q           What was your -- what was your intention?

 02:34        5           A           To get back to my squad car.

              6           Q           Does Lancaster train you about how to deal

              7         with fleeing vehicles?

              8                              MR. KLEMENT:               Objection; form.

              9                              THE WITNESS:               Yes, would be the way

 02:34      10                   answer that.

            11          BY MR. COYLE:

            12            Q           Well, so you said you were running to get

            13          into your squad car.                    I'm just curious, you know,

            14          why that was the decision that you made.                                      Is that

 02:35      15          what you were trained to do?

            16            A           We're trained that our -- like our squad

            17          car is -- we can use it for hard cover, if

            18          necessary.           We can use it -- our other equipment's

            19          in there.           And that -- we use it to pursue

 02:35      20          vehicles.

            21            Q           Officer, I want to show you a video now.

            22          It's from your dashcam of your vehicle.

            23                               Have you seen that video before?

            24            A           Yes, sir.

 02:35      25            Q           Okay?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 28
                                                                                                                       APPX 00034
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 43 of v.141   PageID
                                                                                              City of         219
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                              MR. COYLE:             I'm not going to mark

              3                  it as an exhibit, Chris, but I'm -- it's

              4                  the -- it was produced as Defense 0009.

 02:36        5         BY MR. COYLE:

              6           Q           And, Officer, I'm just going to show this

              7         to you, and I want to ask you a couple questions

              8         about the timing based on the conversation we just

              9         had.       Okay?

 02:36      10            A           Yes, sir.

            11            Q           All right.            I'm going to share my screen

            12          here.

            13                               Okay.        Officer.           Can you see that?

            14            A           Yes, sir.

 02:36      15            Q           All right.            I'm just going to play a few

            16          seconds, and then I have a couple questions that I

            17          want to ask you.                  All right?

            18            A           Yes, sir.

            19                               MR. COYLE:             Okay.        So for the

 02:36      20                   record, we're starting Defense 0009.mp4 at

            21                   0 minutes and 00 seconds.

            22                          (Whereupon, video playback began.)

            23          BY MR. COYLE:

            24            Q           Okay, officer.                So I just played you the

 02:37      25          first 37 seconds in this video, and we've gotten

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 29
                                                                                                                       APPX 00035
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 44 of v.141   PageID
                                                                                              City of         220
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         to the point where a white vehicle is in front of

              3         your car with the door open.

              4                              Is that Mr. Brisco in his vehicle?

 02:37        5           A           Yes, sir.

              6           Q           Okay.        So I want to backtrack from here --

              7         I just played you this much for some reference --

              8         to the very beginning here at 0 minutes and

              9         00 seconds.

 02:38      10                          (Whereupon, video playback began.)

            11          BY MR. COYLE:

            12            Q           Do you know what street this is you're on?

            13            A           Yes, sir.

            14            Q           Which street's that?

 02:38      15            A           Dewberry.

            16            Q           That's Dewberry.

            17                               So at this point in time, had you

            18          already observed Mr. Brisco parked in the fire

            19          lane?

 02:38      20            A           Yes, sir.

            21            Q           Okay.        Your dash camera, does that run

            22          constantly while you're in the vehicle, or do you

            23          have to turn it on?

            24            A           You have to turn it on.

 02:38      25            Q           Okay.        Is this when you turned it on?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 30
                                                                                                                       APPX 00036
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 45 of v.141   PageID
                                                                                              City of         221
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           Yes, sir.

              3           Q           Okay.        So there was no dash camera footage

              4         of you observing Mr. Brisco in the fire lane the

 02:38        5         first time?

              6           A           No, sir.

              7           Q           Okay.        And so you said you were on

              8         Dewberry here.              Is this -- how long after you

              9         first observed Mr. Brisco in the fire lane do you

 02:39      10          turn this camera on?

            11            A           I don't know.

            12            Q           Okay.        Well, when you first observe

            13          Mr. Brisco in the fire lane, is it further down

            14          this road in the direction you're heading now, or

 02:39      15          is it behind you on this road?

            16            A           No.      It's right -- right -- right over

            17          there.        We -- if you could look to the left of

            18          this video, that okay Food Mart that we're at

            19          looking for Mr. Pugh right there is to the left.

 02:39      20            Q           Okay.

            21            A           Just out of view -- just out of camera

            22          angle.

            23            Q           Okay.        And where is -- where is the fire

            24          lane you observed Mr. Brisco in?

 02:39      25            A           He's in it right there in that white --

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 31
                                                                                                                       APPX 00037
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 46 of v.141   PageID
                                                                                              City of         222
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           Q           That's this white vehicle here?

              3           A           Yes, sir.

              4           Q           Okay.

 02:39        5                         (Whereupon, video playback began.)

              6         BY MR. COYLE:

              7           Q           Okay.        I stopped the video here at

              8         24 seconds.            That's Mr. Brisco's car, the white

              9         car right in front of the -- your vehicle at this

 02:40      10          point?

            11            A           Yes, sir.

            12            Q           Okay.        Is that the fire lane that he's

            13          driving out of?

            14            A           It looks like he's coming out of a parking

 02:40      15          spot right there.

            16            Q           Okay.        So it's your belief that he moved

            17          from the fire lane to a parking spot?

            18            A           Yes, sir.

            19            Q           Okay.        In the, I guess, 24 seconds it took

 02:40      20          for you to get around the block?

            21            A           Yes, sir.

            22            Q           Okay.        I'm going to just stop it here for

            23          a second.

            24                               From this angle, can we see the fire

 02:41      25          lane that you thought Mr. Brisco was parked in?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 32
                                                                                                                       APPX 00038
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 47 of v.141   PageID
                                                                                              City of         223
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           I don't know if you could zoom in, but

              3         directly where that curb is.

              4           Q           About here, where my mouse is

 02:41        5         (indicating)?

              6           A           Yes, sir, a little further down.

              7                              No, that's the --

              8           Q           Oh, right here (indicating)?

              9           A           I'm sorry.            We're on Zoom and I'm

 02:41      10          pointing.

            11            Q           You know, it -- the worst part about Zoom

            12          is it makes things like this really difficult.                                           I

            13          do usually ask, you know, to draw a picture on it?

            14            A           You can see the sign like that -- if you

 02:41      15          follow the rear bumper of his car right there

            16          (indicating).

            17            Q           Okay.        It's this -- down here?                        Let me

            18          play the video for a minute.                           Maybe we'll get a

            19          better...

 02:41      20                          (Whereupon, video playback began.)

            21          BY MR. COYLE:

            22            Q           Okay.        Can you see it better from here?

            23            A           Yes, sir.           Right there where the grass is

            24          in that sign.

 02:42      25            Q           Over here (indicating)?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 33
                                                                                                                       APPX 00039
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 48 of v.141   PageID
                                                                                              City of         224
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           Right in there, yes, sir.

              3           Q           Okay.        So when you first observed him, he

              4         was parked over here (indicating) where this metal

 02:42        5         box is on the edge, sort of the exit out so the

              6         street there?

              7           A           Yes, sir.

              8           Q           And so from the time you first observed

              9         him, he then backed up into a parking spot?

 02:42      10            A           Yes, sir.

            11            Q           How long did it take you to go around the

            12          block?

            13            A           I'm not sure, but it shouldn't take more

            14          than five minutes, just because there's a couple

 02:42      15          stop signs.

            16            Q           Okay.

            17                               Okay.        I'm going to pull up some

            18          audio.

            19                               MR. COYLE:             And this is, for the

 02:43      20                   record, Defense 00011 -- that's the PD

            21                   radio -- And I want to play a section here

            22                   for you, Officer.

            23                               And for the record, I'm starting at

            24                   1:04.       I'm not sure if this is exactly

 02:43      25                   where I want to start it, but 1:04.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 34
                                                                                                                       APPX 00040
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 49 of v.141   PageID
                                                                                              City of         225
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                              Can you hear that, officer?

              3                              THE WITNESS:               No, sir.

              4                              MR. KLEMENT:               I also can't hear it,

 02:43        5                  John.

              6                              MR. COYLE:             Oh, I was afraid that

              7                  was going to happen.

              8                              THE VIDEOGRAPHER:                   I don't mean to

              9                  interrupt, but if you'd like to share

 02:43      10                   audio, I believe when you go to the share

            11                   screen option, there should be an advanced

            12                   setting, and in there you should be able

            13                   to just strictly share audio, unless it's

            14                   the file itself.

 02:44      15                               MR. KLEMENT:               Hey, John?            How about

            16                   this:       We're about 45 minutes in.                           Why

            17                   don't we take a quick break and you can

            18                   kind of play around with that.

            19                               MR. COYLE:             That sounds like a

 02:44      20                   great idea.              Let's go off the record now

            21                   and we'll try to get this squared away,.

            22                               Officer, if you want to take five

            23                   minutes I'll try to get this figured out

            24                   for you.

 02:44      25                               THE VIDEOGRAPHER:                   The time is

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 35
                                                                                                                       APPX 00041
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 50 of v.141   PageID
                                                                                              City of         226
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                  2:44 p.m.          We are now off the record.

              3                         (Recess from 2:44 p.m. to 2:49 p.m.)

              4                              THE VIDEOGRAPHER:                   We are now on

 02:49        5                  the record.              The time is 2:49 p.m.

              6         BY MR. COYLE:

              7           Q           Officer, I think we've -- we've at

              8         least -- you'll be able to hear the sound now.

              9         You might not be able to hear it well.                                    But I just

 02:49      10          want to play a segment for you like I did with the

            11          video and then go back and ask you some questions

            12          about it.           All right?

            13            A           Yes, sir.

            14                               MR. COYLE:             So for the record,

 02:49      15                   playing Defense 00011 starting at 2:24.

            16                          (Whereupon, audio playback began.)

            17          BY MR. COYLE:

            18            Q           So, Officer, I just want to ask you a

            19          couple quick questions.

 02:50      20                               Were you able to hear that at all?

            21            A           Yes, sir.

            22            Q           Okay.        It sounded like -- was that your

            23          voice talking about the cook brothers?

            24            A           Yes, sir.

 02:50      25            Q           Okay.        When was that conversation?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 36
                                                                                                                       APPX 00042
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 51 of v.141   PageID
                                                                                              City of         227
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           That was before we even noticed anything

              3         about Mr. Brisco.

              4           Q           Okay.        That was when you were sort of

 02:50        5         checking out the market and surrounding areas

              6         looking for Mr. Pugh?

              7           A           Yes, sir.

              8           Q           Okay.        All right.             I'm going to keep

              9         playing now, and hopefully you'll hear there's a

 02:50      10          reference to a white SUV, and then a little bit

            11          later on the incident itself.                            Okay?        So I'm going

            12          to start playing again at 2:51.

            13                               Okay.        Officer, I just want to stop it

            14          there for a second.                   Were you able to hear that?

 02:51      15            A           Yes, sir.

            16            Q           Okay.        It ends with watch that white SUV

            17          there.        Do you hear that?

            18            A           Yes, sir.

            19            Q           Is that the first time that you saw

 02:52      20          Mr. Brisco's SUV?

            21            A           That was the first time attention was

            22          given over to his direction, yes, sir.

            23            Q           Okay.        So the moment, sort of, that

            24          started this whole process where you went around

 02:52      25          the block and then pulled up behind him?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 37
                                                                                                                       APPX 00043
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 52 of v.141   PageID
                                                                                              City of         228
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           Yes, sir.

              3           Q           Okay.

              4                              MR. COYLE:             So for the record, that

 02:52        5                  is at 342 on the recording, and I'm just

              6                  going to play it from here.

              7                         (Whereupon, audio playback began.)

              8         BY MR. COYLE:

              9           Q           I just want to pause it there for a

 02:53      10          second, Officer.

            11                               It sounds like that's your voice

            12          saying:         "Yeah.        He's watching us.                    We're going to

            13          swing back around on his six."                             Is that -- did I

            14          hear that correctly?

 02:53      15            A           Yes, sir.

            16            Q           Okay.        Were you referring to Mr. Brisco

            17          when you made that statement?

            18            A           Yes, sir.

            19            Q           Okay.        And by "his six," you mean "we're

 02:53      20          going to swing back around behind him"?

            21            A           Yes, sir.

            22            Q           All right.            I'm going to play it again

            23          from here.

            24                               MR. COYLE:             And that -- I'm sorry.

 02:53      25                   For the record, I just stopped that at

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 38
                                                                                                                       APPX 00044
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 53 of v.141   PageID
                                                                                              City of         229
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                  4:14 after officer's statement.

              3                         (Whereupon, audio playback began.)

              4                              MR. KLEMENT:               John, I don't know if

 02:54        5                  you're hearing anything, but I'm not.

              6                              THE WITNESS:               (Moving head side to

              7                  side.)

              8                              MR. COYLE:             There's a -- there's a

              9                  little break in the sound there.

 02:54      10                               MR. KLEMENT:               Okay.

            11                               MR. COYLE:             We were literally about

            12                   to get to the meat of it when -- right

            13                   now.

            14                               So I'm going to start again at

 02:54      15                   4:51.       And, Officer, you should hear

            16                   something in the next 15 seconds or so.

            17                   Okay?

            18                          (Whereupon, audio playback began.)

            19          BY MR. COYLE:

 02:55      20            Q           Okay.        I just stopped it again at 5:23,

            21          and we just heard a voice come over saying,

            22          officer down.              I need a medic.                 Is that you?

            23            A           Yes, sir.

            24            Q           And a little bit prior to that, is sounded

 02:55      25          like we heard a shots fired call out.                                   Did you

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 39
                                                                                                                       APPX 00045
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 54 of v.141   PageID
                                                                                              City of         230
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         hear that as well?

              3           A           Yes, sir.

              4           Q           And a little bit prior to that, "he's

 02:55        5         running," or something to that effect?

              6           A           Yes, sir.

              7           Q           Okay.        Was that Officer Lemoine?

              8           A           Yes, sir.

              9           Q           Okay.        So at 4:14 was the first time you

 02:56      10          observed the white SUV, and now at 5:23 it's after

            11          the discharge and you're calling for a medic;

            12          correct?

            13            A           I -- if you say so.                    Yes, sir.

            14            Q           Let me -- I'll show you -- I'll show you

 02:56      15          my screen.           Hold on.           And that way you can see the

            16          timing as well.

            17                               So there you go.                  I just stopped the

            18          recording here at 5:23.

            19                               So it's about a little over a minute

 02:56      20          from when you first go over radio discussing the

            21          white SUV to the shots being fired; is that fair

            22          to say?

            23                               MR. KLEMENT:               Objection; form.

            24                               THE WITNESS:               Yes, sir.

            25

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 40
                                                                                                                       APPX 00046
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 55 of v.141   PageID
                                                                                              City of         231
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         BY MR. COYLE:

              3           Q           And it's probably less than half of a

              4         minute from the first time you hear over the radio

 02:57        5         about the white SUV to when you pull your car up

              6         and initiate the traffic stop; is that fair to

              7         say?

              8                              MR. KLEMENT:               Objection; form.

              9                              THE WITNESS:               Yes, sir.

 02:57      10          BY MR. COYLE:

            11            Q           Okay.        This recording, is this the police

            12          radio that you go over to get to dispatch?

            13            A           I have -- to be honest with you, I don't

            14          know where that recording comes from.

 02:57      15            Q           Okay.        So when -- when you are being heard

            16          talking here, are you pressing a button to go over

            17          radio, or is it just constantly being recorded?

            18          Do you know how that works?

            19            A           I know you press a button to what we call

 02:57      20          "mic up" the radio.

            21            Q           Okay.        It sounded like there was

            22          communication between you and some other officers

            23          nearby during what we listened to; is that fair to

            24          say?

 02:58      25            A           Yes, sir.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 41
                                                                                                                       APPX 00047
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 56 of v.141   PageID
                                                                                              City of         232
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           Q           To do that -- I'm not talking about this

              3         incident, but generally do you have to press a

              4         button on your radio to do that?

 02:58        5           A           Yes, sir.

              6           Q           Okay.        So every time we hear your voice

              7         here, you're pressing a button and talking into

              8         your radio?

              9           A           Yes, sir.

 02:58      10            Q           Is there -- if you wanted to communicate

            11          to dispatch, there a different button you press?

            12            A           No, sir.

            13            Q           Okay.        I didn't hear anything -- and

            14          granted, the recording is very soft, but, you

 02:58      15          know, that's what we have.                         I didn't hear anything

            16          in there about a license plate being read to

            17          dispatch.           Did you?

            18            A           No, sir.

            19            Q           Okay.        Is it possible that you didn't

 02:58      20          radio dispatch with the license plate?

            21            A           No.      I read it to them.

            22            Q           Okay.        Did you hear anything in that

            23          recording about a fire lane?

            24            A           No, sir, that I can remember.

 02:59      25            Q           All right.            Understood.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 42
                                                                                                                       APPX 00048
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 57 of v.141   PageID
                                                                                              City of         233
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                              All right.             Let me -- I'm going to

              3         bring back up the surveillance video here, or

              4         the -- I'm sorry -- dashcam video.

 02:59        5                              All right.             And I think we can just

              6         play it from here.                  This is at 28 seconds.

              7                         (Whereupon, video playback began.)

              8         BY MR. COYLE:

              9           Q           Okay.        There at about 35, 36 seconds, the

 02:59      10          camera angle seems to switch.                            Did you notice

            11          that?

            12            A           Yes, sir.

            13            Q           Okay.        Do you do that manually?                         Does that

            14          happen automatically?

 03:00      15            A           Manually.

            16            Q           Okay.        So did you reach up and move the

            17          camera?

            18            A           Yes, sir.

            19                          (Whereupon, video playback began.)

 03:00      20          BY MR. COYLE:

            21            Q           Okay.        I'm going to stop it there.

            22                               Can you hear the audio when I'm

            23          playing that?

            24            A           No.

 03:01      25            Q           No.      Okay.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 43
                                                                                                                       APPX 00049
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 58 of v.141   PageID
                                                                                              City of         234
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                              Do you know -- I guess Officer Lemoine

              3         has just asked Mr. Brisco to get out of his car.

              4         Is that fair to say it happened somewhere around

 03:01        5         this point?

              6           A           Yes, sir.

              7           Q           Did you instruct Officer Lemoine to order

              8         Mr. Brisco out of his car?

              9           A           Yes, sir.

 03:01      10            Q           What was the basis for that?

            11            A           Because there was narcotics right there in

            12          plain view.

            13            Q           Okay.

            14                          (Whereupon, video playback began.)

 03:01      15          BY MR. COYLE:

            16            Q           You see the vehicle just backed up out of

            17          sight.        How far past the front edge of your squad

            18          car here does the vehicle back up?

            19            A           I don't know.

 03:01      20            Q           When you take off running, are you trying

            21          to go around the passenger's side of Mr. Brisco's

            22          car to get to your squad car?

            23            A           I'm trying to get to my passenger's side

            24          of my squad car.

 03:02      25            Q           Okay.        But as his vehicle's moving, you

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 44
                                                                                                                       APPX 00050
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 59 of v.141   PageID
                                                                                              City of         235
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         know, are you intending to go directly to your car

              3         around his car to your car, or are you having any

              4         thoughts about that at the time?

 03:02        5           A           I -- I remember my only thought was to

              6         get -- get back to my squad car, and I don't know

              7         any of the fine details on that.

              8           Q           Okay.        So I guess -- let me edit my

              9         sharing here.              We'll go back.

 03:03      10                               Let me know if you can hear the sound

            11          now.

            12                          (Whereupon, video playback began.)

            13          BY MR. COYLE:

            14            Q           Can you hear that?

 03:03      15            A           Yes, sir.

            16                               MR. KLEMENT:               I can hear it, but I

            17                   can tell you, John, on my end it's a

            18                   little bit echoey.                   I don't know if Zach's

            19                   hearing it too.

 03:03      20                               MR. COYLE:             All right.             Let me turn

            21                   it up some, see if that helps.

            22                          (Whereupon, video playback began.)

            23          BY MR. COYLE:

            24            Q           Okay.        I'm stopping it at 1:21.

 03:03      25                               At this point in time, it sounds like

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 45
                                                                                                                       APPX 00051
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 60 of v.141   PageID
                                                                                              City of         236
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         someone goes off the radio and goes over the radio

              3         and says shots fired.                     Did you hear that?

              4           A           Yes, sir.

 03:03        5           Q           Okay.        Was that you?

              6           A           I don't know.

              7           Q           Okay.        Do you know if, at this point in

              8         time, you had discharged your weapon yet?

              9           A           Yes, sir.           After that call came out, I

 03:04      10          already had.

            11            Q           Okay.

            12                          (Whereupon, video playback began.)

            13          BY MR. COYLE:

            14            Q           Okay.        I stopped it again at 132.

 03:04      15                               This is you kneeling in a driveway?

            16            A           Yes, sir.

            17            Q           Okay.        Is this about where you fell off

            18          the vehicle?

            19            A           I couldn't per se -- I couldn't tell you

 03:04      20          how far -- exactly where I fell off.

            21            Q           Okay.        What injuries did you suffer as a

            22          result of this incident?

            23            A           Road rash on my arms, knees, and a

            24          shoulder tear.

 03:05      25            Q           What do you mean by "shoulder tear"?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 46
                                                                                                                       APPX 00052
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 61 of v.141   PageID
                                                                                              City of         237
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           It -- I don't know the exact -- I got,

              3         like, a 10 percent tear in my shoulder.

              4           Q           Okay.        And rotator cuff or something like

 03:05        5         that?

              6           A           Yes, sir.           I don't know the actual --

              7           Q           Okay.

              8           A           -- names.

              9           Q           All right.            I'm going to take down this

 03:05      10          video.

            11                               Officer, did you give a statement to

            12          the Texas Rangers in relation to this incident?

            13            A           Yes, sir.

            14            Q           I want to show you this document now.

 03:05      15          We'll mark this, actually, as -- how do you

            16          pronounce your last name?                         I'm so sorry.

            17            A           "Beauchamp."

            18            Q           "Beauchamp."              Every time I look at it, I

            19          don't remember.               It just doesn't click for me.

 03:06      20          I'm sorry.

            21            A           I've lived with it my whole life.

            22            Q           Okay.        So this is the typed version of

            23          your statement included in the Texas Rangers

            24          report.         I'd like to show it to you and have you

 03:06      25          briefly read it.                  Okay?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 47
                                                                                                                       APPX 00053
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 62 of v.141   PageID
                                                                                              City of         238
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                              MR. COYLE:             And we're going to mark

              3                  this as Beauchamp 1.                     Becky, I will email

              4                  that to you.

 03:06        5                         (Beauchamp Exhibit 1 marked.)

              6         BY MR. COYLE:

              7           Q           Can you read that, Officer?

              8           A           I got to figure out how to move all these

              9         faces off of it.

 03:06      10                               All right.             Yes, sir, I can see it.

            11            Q           Okay.        This is an 3/23/2018 at

            12          approximately 2:44 p.m., I secured a signed, sworn

            13          affidavit from LPD officer Zachary Beauchamp -- I

            14          got it that time -- the following is a verbatim

 03:06      15          copy, and it relays your affidavit.

            16                               Do you see that?

            17            A           Yes, sir.

            18            Q           Okay.        Let me scroll down.                     I just want

            19          you to take a look at it.

 03:07      20                               Does that look like what was included

            21          in your affidavit to the Texas ranger?

            22            A           Yes, sir.

            23            Q           Did you have the assistance of counsel in

            24          preparing this affidavit?

 03:07      25                               MR. KLEMENT:               I'm going to object

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 48
                                                                                                                       APPX 00054
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 63 of v.141   PageID
                                                                                              City of         239
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                  just to say, Zach, you can generally

              3                  answer the question, but I would instruct

              4                  you against offering any specific

 03:07        5                  communications you had with counsel.

              6         BY MR. COYLE:

              7           Q           Yeah.        To be more specific, officer, I

              8         just want to know if you consulted with counsel in

              9         preparing this.               I don't want to know what you

 03:07      10          said or what was discussed or anything like that.

            11          Just whether you consulted with counsel in

            12          preparing this?

            13            A           Yes, I did.

            14            Q           Okay.        And was it Mr. Klement or a

 03:07      15          different counsel?

            16            A           I guess I have two.

            17            Q           Okay.        It was -- okay.

            18                               Okay.        Let me take that down.

            19                               Officer, in reflecting on the incident

 03:08      20          with Mr. Brisco, do you think there's anything

            21          that you would have done differently, given

            22          another opportunity?

            23                               MR. KLEMENT:               Objection; form.

            24          BY MR. COYLE:

 03:08      25            Q           You can answer.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 49
                                                                                                                       APPX 00055
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 64 of v.141   PageID
                                                                                              City of         240
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           No, sir.

              3           Q           Do you know how long -- strike that.

              4                              My understanding is Officer Lemoine's

 03:08        5         not in Lancaster working for the Lancaster Police

              6         Department at this point in time.                                Is that your

              7         understanding as well?

              8           A           Yeah.        That's fair to say.

              9           Q           Okay.        Do you know when he left -- when he

 03:09      10          left town?

            11            A           No, sir.

            12            Q           Okay.        All right.             Okay.        I'm going to

            13          take a minute and go through my notes, see if I

            14          have any more questions for you.                               In the meantime,

 03:09      15          Chris might have some questions for you.                                      All

            16          right?

            17            A           Yes, sir.

            18                               MR. KLEMENT:               John, real quick, are

            19                   you passing or are we going on break for a

 03:09      20                   couple minutes for you to review your

            21                   notes.

            22                               MR. COYLE:             Well, I -- I just want

            23                   to make sure I don't have anything else.

            24                   You can ask him stuff in the meantime if

 03:09      25                   you want, or if you want me to conclude

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 50
                                                                                                                       APPX 00056
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 65 of v.141   PageID
                                                                                              City of         241
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                  then we can just take a break and you can

              3                  do that.

              4                              MR. KLEMENT:               Well, it's -- I may

 03:09        5                  have questions for him, but let's -- I'd

              6                  obviously like to be able to ask whatever

              7                  questions in response to whatever you're

              8                  asking.

              9                              MR. COYLE:             Sure.

 03:09      10                               MR. KLEMENT:               So why don't we take

            11                   a five-minute break for you to review your

            12                   notes.        If at that time you want to

            13                   continue to question, fine.                           If not, then

            14                   we'll pass and I'll start questioning.

 03:09      15                   Sounds good to me.                   All right, officer.

            16                   We'll take a little five-minute break here

            17                   and I'll see if I have anything else for

            18                   you.       All right.

            19                               THE VIDEOGRAPHER:                   The time is

 03:10      20                   3:09 p.m.          We are now off the record.

            21                          (Recess from 3:10 p.m. to 3:13 p.m.).

            22                               THE VIDEOGRAPHER:                   We are back on

            23                   the record.              The time is 3:13 p.m.

            24          BY MR. COYLE:

 03:13      25            Q           Okay.        Officer Beauchamp, I just -- I just

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 51
                                                                                                                       APPX 00057
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 66 of v.141   PageID
                                                                                              City of         242
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         have one sort of additional area that I want to

              3         get into that -- I don't know if I really

              4         understood it?

 03:13        5           Q           It sounds like there's you and at least

              6         one other marked unit out there looking for

              7         Mr. Pugh; is that fair to say?

              8           A           Yes, sir.

              9           Q           Do you remember how many other units were

 03:14      10          out there?

            11            A           I don't know -- I know for sure there was

            12          Lieutenant Fine, Sergeant Logan, Brian Pate, and

            13          us -- me and Lemoine.                     So that's the only ones I

            14          remember out there.

 03:14      15            Q           So is that two other cars or three other

            16          cars?

            17            A           There was us and Brian Pate were stayed --

            18          that's two cars.                  We were the closest together.

            19          And then the lieutenant and the sergeant were

 03:14      20          somewhere else, but they were in the area.

            21            Q           Okay.        When you were checking out this

            22          quick stop where you thought Mr. Pugh was, had you

            23          planned to -- was that a planned surveillance

            24          operation?           Had you discussed that before your

 03:15      25          shift?

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 52
                                                                                                                       APPX 00058
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 67 of v.141   PageID
                                                                                              City of         243
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           A           No, sir.            No, sir, it wasn't planned.

              3           Q           Okay.        Was it -- how did it come about?

              4           A           We had briefing every day before shift,

 03:15        5         and so if there's certain intelligence that's

              6         passed along, be on the lookout for, stuff like

              7         that.

              8           Q           Okay.        So -- so you think that they had

              9         told you to be on the lookout for Mr. Pugh?

 03:15      10            A           Yes, sir.

            11            Q           Okay.        And when you say it was you and one

            12          other vehicle that were directly there and then

            13          two more in the vicinity, what do you mean by, you

            14          know, "the vicinity"?                     What do you mean by nearby?

 03:15      15            A           I know that Sergeant Logan was at the Food

            16          Mart at one time with us when we checked that.                                           I

            17          know Lieutenant Fine was in the area.                                   He might

            18          have been in the 7-Eleven, which was across the

            19          pleasant run just south of the location.

 03:16      20            Q           Okay.        Did he have any plain clothes or

            21          under cover officers near the location?

            22            A           Not that I -- to my knowledge.

            23            Q           Okay.

            24                               MR. COYLE:             Okay.        I don't have any

 03:16      25                   more questions.                Chris may have some

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 53
                                                                                                                       APPX 00059
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 68 of v.141   PageID
                                                                                              City of         244
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2                  follow-up from you.

              3                              MR. KLEMENT:               Before I get into the

              4                  follow-up questions, on the record, I'm

 03:16        5                  requesting a read and review of the

              6                  transcript of the deposition.

              7                                             EXAMINATION

              8         BY MR. KLEMENT:

              9           Q             Officer Beauchamp, I have a few questions

 03:16      10          to clarify with you.

            11                               Earlier you spoke about observing the

            12          white SUV in the fire lane.                          Did you personally

            13          observe that?

            14            A           Yes.

 03:17      15            Q           Was there any other way that you were made

            16          aware of the white SUV?

            17            A           Yes, sir.           Officer Brian Pate acknowledged

            18          it.

            19            Q           And when you say acknowledged, what do you

 03:17      20          mean?

            21            A           He came over the radio and said hey, do

            22          you see the white car over there?                                And he's the

            23          one that called out no front license plate on the

            24          car.

 03:17      25            Q           When you observed the white SUV -- and for

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 54
                                                                                                                       APPX 00060
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 69 of v.141   PageID
                                                                                              City of         245
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         the sake of clarity, when he say white SUV, are

              3         you referring to Mr. Brisco's white SUV?

              4           A           Yes, sir.

 03:17        5           Q           When you observed Mr. Brisco's white SUV

              6         when you were still driving on Dewberry, were you

              7         able to see Mr. Brisco watching police cars?

              8           A           Yes, sir.

              9           Q           Was there any significance to that to you?

 03:17      10            A           Yeah, just very strange.                         Most people

            11          don't normally watch cop cars in that manner.

            12            Q           Earlier you had mentioned that Mr. Brisco

            13          also had a cell phone with him watching the

            14          vehicles with the cell phone.                            Was that of any

 03:18      15          significance to you?

            16            A           Yeah.        I didn't know -- I didn't know if

            17          there was a relation to the car and the --

            18          Mr. Pugh's subject at the time, if he was maybe

            19          calling him and telling him the cops were in the

 03:18      20          area or whatever.                 That was my initial thoughts.

            21            Q           Separate and aside from Mr. Brisco

            22          specifically, have you -- do you have any

            23          experience working, you know, drug and addiction

            24          or anything along those lines?

 03:18      25            A           Yes, sir.

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 55
                                                                                                                       APPX 00061
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 70 of v.141   PageID
                                                                                              City of         246
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2           Q           When it comes to, you know, lookouts in

              3         those sort of situations, what sort of behavior do

              4         you commonly observe?

 03:18        5           A           One of the most common -- the easiest

              6         communication is to pick up a cell phone,

              7         communicate and let people know what's in the

              8         area.

              9           Q           And in those sort of issues, who's usually

 03:19      10          the person that's picking up the phone and making

            11          people aware of police in the area?

            12            A           People that are engaged in criminal

            13          activity.

            14            Q           Now, earlier you talked about the

 03:19      15          apartments where Mr. Brisco's white SUV was

            16          located, and you -- I believe you mentioned to

            17          Mr. Coyle that that's sort of known as a place

            18          where criminal activity occurs.                              Are you aware of

            19          any sort of drug -- drug dealing or drug activity

 03:19      20          that occurs there?

            21            A           Yes, sir.           We constant -- or I don't want

            22          to say constantly.                  Multiple times drug arrests

            23          have been made there.                     We've had a lot of

            24          robberies or narcotics transactions, shootings

 03:19      25          over narcotic transactions.                          It's a known area for

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 56
                                                                                                                       APPX 00062
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 71 of v.141   PageID
                                                                                              City of         247
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         that.

              3           Q           I'd like to move forward and talk with you

              4         a little bit about the initial stop of Mr. Brisco.

 03:19        5                              When you were reviewing the audio

              6         files for dispatch and Mr. Coyle asked you if you

              7         heard anything about the fire lane in that audio,

              8         do you remember discussing that with Mr. Coyle?

              9           A           Yes.

 03:20      10            Q           Is it your common practice to announce

            11          your reasonable suspicion for a traffic stop over

            12          dispatch?

            13            A           No.

            14            Q           Moving forward into the stop, when you

 03:20      15          made your decision to instruct Officer Lemoine to

            16          ask Mr. Brisco to step out of his vehicle, what

            17          motivated that decision for you?

            18            A           The -- reaching, the nervousness, reaching

            19          from the door pocket to the center console and the

 03:20      20          narcotics in plain view.

            21            Q           Would you say that the presence of

            22          narcotics in plain view gave you reasonable

            23          suspicion to prolong the stop?

            24            A           Yes, sir.

 03:21      25            Q           When you described Mr. Brisco as acting

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 57
                                                                                                                       APPX 00063
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 72 of v.141   PageID
                                                                                              City of         248
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         nervous, would you mind describing that a little

              3         bit?

              4           A           As you see, he opens the door, gets out,

 03:21        5         and he's very fast talking, and then there's a lot

              6         of moving around in the car.                           Those are some of

              7         the signs that we had learned over the years.

              8           Q           In your experience as a law enforcement

              9         officer, is it -- is it common for somebody to

 03:21      10          open the door immediately before the officers

            11          arrive at the vehicle?

            12            A           No, sir, it's not common.

            13            Q           How would you expect somebody to react to

            14          an ordinary traffic stop?

 03:21      15            A           Keep the door closed, roll the window

            16          down.

            17            Q           Now, moving forward, you discussed your

            18          motivation for running back to the -- to your

            19          patrol car.            One of the things that you mentioned

 03:22      20          was hard to cover.                  Would you mind describing what

            21          hard cover is?

            22            A           Hard cover is described as something --

            23          you never know at the incident what's going to

            24          take place.            So hard cover is what we consider

 03:22      25          if -- worst case scenario, a shooting takes place

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 58
                                                                                                                       APPX 00064
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 73 of v.141   PageID
                                                                                              City of         249
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         or something, we have hard cover to protect

              3         ourselves.           It's a solid protection of you.

              4           Q           Can hard cover be used to protect you from

 03:22        5         an assault by a vehicle?

              6           A           Yes.

              7           Q           Now, at the time you were running back to

              8         your -- to your patrol car, did you have any

              9         concern that you might need hard cover from this

 03:22      10          incident?

            11            A           If he continued driving in reverse, yes,

            12          sir.

            13            Q           As the -- earlier you testified to the

            14          fact that the vehicle struck you.                                After you were

 03:23      15          struck by Mr. Brisco's vehicle, did he accelerate,

            16          decelerate?            How would you describe his driving?

            17            A           Rapidly accelerating.

            18            Q           Did he accelerate in a straight line?

            19            A           No.      He turned with -- out of the parking

 03:23      20          lot northbound on to Dewberry.

            21            Q           Were you on the vehicle the entirety of

            22          the time that he was pulling out of the parking

            23          lot and turning right on to Dewberry?

            24            A           Yes, sir.

 03:23      25            Q           When you were on the hood of his vehicle

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 59
                                                                                                                       APPX 00065
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 74 of v.141   PageID
                                                                                              City of         250
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         and before you made the decision to discharge your

              3         weapon, what was going through your mind?

              4           A           That it's about to suck.                         About to die.

 03:23        5           Q           When you say you're "about to die," were

              6         you -- were you in fear for your life?

              7           A           Yes, sir.

              8           Q           Were you -- were you in fear of serious

              9         bodily injury?

 03:24      10            A           Yes.

            11            Q           When you turned on to Dewberry with still

            12          being on the hood of the vehicle, did Mr. Brisco

            13          make any attempt to stop the car or slow down or

            14          anything along those lines with you on the hood of

 03:24      15          the car?

            16            A           No, sir.

            17            Q           How would you describe his driving once he

            18          turned on to Dewberry?

            19            A           Pegged out, is what I call it.                              The engine

 03:24      20          was revved.            I remember that.                  You could hear --

            21          you couldn't hear anything over the motor.

            22            Q           So you could hear the revving of the

            23          motor?

            24            A           Yes, sir.

 03:24      25            Q           And in your experience, did that indicate

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 60
                                                                                                                       APPX 00066
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 75 of v.141   PageID
                                                                                              City of         251
                                                                                                      Lancaster, Texas, et. al.


              1                                  ** UNCERTIFIED DRAFT **

              2         that the vehicle was accelerating?

              3           A           Yes, sir.

              4           Q           Would you mind describing, you know, the

 03:25        5         moment that you were -- that you were hit by

              6         Mr. Brisco's vehicle?

              7           A           It was -- the only other option go on the

              8         hood or go underneath it, and that was -- those

              9         were my only two options.

 03:25      10            Q           Now, when you say on the hood, are you

            11          referring to rolling up on the hood after you were

            12          struck?

            13            A           Yes, sir.

            14                               MR. KLEMENT:               Pass the witness.

 03:25      15                               MR. COYLE:             I have no follow-up

            16                   questions.           Thanks for your time today,

            17                   officer.          We appreciate you coming in.

            18                               THE VIDEOGRAPHER:                   The time is

            19                   3:25 p.m. we are now off the record.

 03:25      20                          (Off the record at 3:25 p.m.)

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            25

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 61
                                                                                                                       APPX 00067
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 76 of v.141   PageID
                                                                                              City of         252
                                                                                                      Lancaster, Texas, et. al.

      WORD INDEX                32 7:5                         affidavit 48:13, 15, 21,          56:11, 18
                                342 38:5                       24
 <0>                            35 43:9                        afraid 35:6                      <B>
 0 29:21 30:8                   36 43:9                        afternoon 4:5                    back 5:12 15:11
 00 29:21 30:9                  37 29:25                       aggravate 17:13                   17:23 23:23, 24 25:6,
 00011 34:20 36:15                                             ago 10:15                        22 27:4 28:5 36:11
 0009 29:4                      <4>                            al 2:7 3:11                       38:13, 20 43:3 44:18
 0009.mp4 29:20                 4:14 39:2 40:9                 alcohol 6:6                       45:6, 9 51:22 58:18
                                4:51 39:15                     AND/OR 1:17                       59:7
 <1>                            45 35:16                       angle 31:22 32:24                backed 34:9 44:16
 1 48:3, 5                                                      43:10                           backtrack 16:4 30:6
 1:04 34:24, 25                 <5>                            announce 57:10                   bands 27:7, 9, 10
 1:21 45:24                     5:23 39:20 40:10, 18           answer 5:10, 11, 21              bar 10:7
 10 20:14 47:3                  50 20:3 24:10 26:13             6:2 13:15 28:10                 based 29:8
 100 20:3                                                       49:3, 25                        basis 23:12, 17 44:10
 11 7:24                        <6>                            anticipate 5:9                   BEAUCHAMP 2:12,
 132 46:14                      6:00 16:10, 11                 apartment 18:16, 25              17 3:9, 24 4:5 6:18
 15 39:16                       600 15:3                        19:3, 18 20:6, 20, 23            47:17, 18 48:3, 5, 13
 18th 4:9 11:16 13:2,                                           21:18 22:2 26:11                 51:25 54:9
 21                             <7>                            apartments 56:15                 B-e-a-u-c-h-a-m-p
                                7-Eleven 53:18                 APPEARING 1:13                    6:19
 <2>                                                            3:19                            Becky 3:18 48:3
 2:02 2:20 3:3, 7               <8>                            appears 17:22                    began 29:22 30:10
 2:24 36:15                     80 17:20                       appreciate 61:17                  32:5 33:20 36:16
 2:44 36:2, 3 48:12                                            approached 12:20                  38:7 39:3, 18 43:7,
 2:49 36:3, 5                   <A>                            approximately 48:12              19 44:14 45:12, 22
 2:51 37:12                     able 17:16 35:12               area 18:10, 12 21:12              46:12
 20 7:22 9:22 20:7               36:8, 9, 20 37:14              25:17 52:2, 20 53:17            beginning 14:22
 2007 7:12                       51:6 55:7                      55:20 56:8, 11, 25               16:15, 17 30:8
 2009 9:23                      abnormal 22:24                 areas 37:5                       behavior 13:12 56:3
 2010 9:23, 24                  above-styled 2:19              arising 4:7                      belief 32:16
 2013 7:15                      academy 9:11, 15, 17           arms 46:23                       believe 12:4 17:6
 2018 4:9 11:16 13:2,            10:2                          arrests 56:22                     21:3 25:5, 9 35:10
 19, 21                         accelerate 59:15, 18           arrive 58:11                      56:16
 2021 2:13, 20 3:6              accelerating 59:17             aside 55:21                      best 14:5
 23rd 4:8                        61:2                          asked 12:20 44:3                 better 8:4 33:19, 22
 24 2:13, 20 32:8, 19           accept 8:2                      57:6                            bit 10:6 37:10
 24th 3:6                       acceptable 6:2                 asking 16:2 51:8                  39:24 40:4 45:18
 25 24:10                       accurate 18:17 22:15           assault 59:5                      57:4 58:3
 28 43:6                        accurately 6:8                 assistance 48:23                 block 11:2 15:3
                                acknowledged 54:17,            assume 9:11                       23:22 32:20 34:12
 <3>                            19                             attempt 60:13                     37:25
 3/23/2018 48:11                acting 25:7 57:25              attention 37:21                  blocking 24:18
 3:09 51:20                     active 12:10                   audio 15:12 16:5                 bodily 60:9
 3:10 51:21                     activity 56:13, 18, 19          17:21 34:18 35:10,              body 13:18, 22 14:7,
 3:13 51:21, 23                 actual 20:8 47:6               13 36:16 38:7 39:3,              19 15:8, 13, 15 23:5
 3:20-cv-00643-E 2:6            addiction 55:23                18 43:22 57:5, 7                  26:24
  3:14                          additional 52:2                automatically 43:14              body-worn 13:18
 3:25 2:20 61:19, 20            Administrator 2:4              aware 15:14 54:16                 14:4, 10
                                advanced 35:11                                                  box 34:5

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 62
                                                                                                                       APPX 00068
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 77 of v.141   PageID
                                                                                              City of         253
                                                                                                      Lancaster, Texas, et. al.

 break 5:17, 21 35:17            55:7, 11                      communication 4:25               COYLE 4:4, 6 13:14
  39:9 50:19 51:2, 11,          Case 2:5 3:14 58:25             41:22 56:6                       14:6, 14, 17, 18 16:7
 16                             cause 2:19                     communications 49:5               23:16 28:11 29:2, 5,
 Brian 52:12, 17                cautiously 23:9                complaint 15:3, 19,              19, 23 30:11 32:6
  54:17                         cell 55:13, 14 56:6            24 16:18                          33:21 34:19 35:6, 19
 brief 10:21                    center 10:6 25:14,             completed 7:7                     36:6, 14, 17 38:4, 8,
 briefing 53:4                  17 57:19                       complex 18:16, 25                24 39:8, 11, 19 41:2,
 briefly 47:25                  central 3:7                     19:3, 19 20:21, 23              10 43:8, 20 44:15
 bring 43:3                     certain 53:5                    21:18 22:2 26:11                 45:13, 20, 23 46:13
 BRISCO 2:4 3:10                CERTIFIED 1:2, 6,              concern 59:9                      48:2, 6 49:6, 24
  4:7 17:4 18:15 19:9           10, 14, 19                     conclude 50:25                    50:22 51:9, 24 53:24
  27:20 30:4, 18 31:4,          channel 27:12, 17              condition 6:6                     56:17 57:6, 8 61:15
 9, 13, 24 32:25 37:3           channels 27:9, 11, 13          connects 19:22                   create 23:12
  38:16 44:3, 8 49:20           charges 8:25                   consider 58:24                   crime 20:23
  55:7, 12, 21 57:4, 16,        checked 53:16                  console 25:14, 17                criminal 8:25 15:2,
 25 60:12                       checking 37:5 52:21             57:19                           18, 24 16:18, 22
 Brisco's 32:8 37:20            Chris 14:6 29:3                constant 56:21                    56:12, 18
  44:21 55:3, 5 56:15            50:15 53:25                   constantly 30:22                 CRR 2:22
  59:15 61:6                    CITE 1:22                       41:17 56:22                     CSR 2:21
 broke 9:13                     CITED 1:4                      consulted 49:8, 11               cuff 47:4
 brothers 36:23                 CITY 2:7 3:11 6:22             contact 15:11 24:13              curb 33:3
 buildings 19:4                  7:2, 20 8:12, 15 9:7          CONTAIN 1:16                     curious 28:13
 bumper 33:15                    17:13                         continue 51:13                   current 6:21
 button 41:16, 19               city's 10:23 11:7              continued 59:11                  currently 17:12
  42:4, 7, 11                   Civil 2:24 9:4 10:12           CONTRADICT 1:6                   custody 18:6
                                 11:13                         conversation 15:17
 <C>                            clarify 54:10                   25:15 29:8 36:25                <D>
 call 16:19, 23 27:10           clarity 55:2                   cook 36:23                       dash 30:21 31:3
  39:25 41:19 46:9              click 47:19                    coordinator 12:19                dashcam 28:22 43:4
  60:19                         close 24:9                     cop 55:11                        date 3:5 11:22 14:3
 called 11:2 54:23              closed 58:15                   copper 8:7                       day 14:20, 21 16:8
 calling 27:9 40:11             Closer 8:3                     cops 55:19                        53:4
  55:19                         closest 52:18                  copy 48:15                       days 14:20
 camera 13:19, 22               clothes 53:20                  correct 9:12 11:24               deal 11:9 28:6
  14:4, 7, 10, 20 15:8,         Cockrell 7:20                   17:7 40:12                      dealing 56:19
 13, 15 30:21 31:3, 10,         college 9:18, 20               CORRECTED 1:9,                   decelerate 59:16
 21 43:10, 17                   COMBINATIONS                   14, 18                           decide 15:7
 cameras 13:18                   1:18                          correctly 12:23 38:14            decision 28:14 57:15,
 car 15:4 19:10, 13,            come 19:8 23:23, 24            counsel 3:19 5:18                17 60:2
 23 23:5 24:24 25:17,            39:21 53:3                     6:14 48:23 49:5, 8,             defendant 10:11
 20, 23, 24 27:15, 24           comes 41:14 56:2               11, 15                            11:13
  28:5, 13, 17 30:3             coming 12:21 32:14             couple 29:7, 16                  Defendants 2:8
  32:8, 9 33:15 41:5             61:17                          34:14 36:19 50:20               Defense 29:4, 20
  44:3, 8, 18, 22, 24           common 56:5 57:10              COURT 1:22 2:2                    34:20 36:15
  45:2, 3, 6 54:22, 24           58:9, 12                       3:12, 16, 17, 18, 21            Department 7:14, 17
  55:17 58:6, 19 59:8           commonly 56:4                   4:19, 22                         8:8 12:3 13:10, 12
  60:13, 15                     communicate 5:3                cover 28:17 53:21                 50:6
 cars 22:14 23:21                27:8 42:10 56:7                58:20, 21, 22, 24 59:2,         depends 20:11
  24:20 52:15, 16, 18           communicating 18:10            4, 9


                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 63
                                                                                                                       APPX 00069
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 78 of v.141   PageID
                                                                                              City of         254
                                                                                                      Lancaster, Texas, et. al.

 DEPOSITION 2:12,                17:1 18:1 19:1 20:1           et 2:7 3:11                      fire 19:10, 13, 18, 21,
 16 3:9 4:10 6:14                21:1 22:1 23:1 24:1           evade 25:22                      24 21:4, 8 22:5, 8
  14:13 54:6                     25:1 26:1 27:1 28:1           Everest 3:15, 18                  23:19 24:18, 21
 describe 20:5 22:25             29:1 30:1 31:1 32:1           exact 13:4 16:14                  30:18 31:4, 9, 13, 23
  26:23 59:16 60:17              33:1 34:1 35:1 36:1            25:7 47:2                        32:12, 17, 24 42:23
 described 57:25                 37:1 38:1 39:1 40:1           exactly 34:24 46:20               54:12 57:7
  58:22                          41:1 42:1 43:1 44:1           EXAMINATION 4:3                  firearm 11:17 26:15,
 describing 58:2, 20             45:1 46:1 47:1 48:1            54:7                            18
  61:4                           49:1 50:1 51:1 52:1           executing 10:24                  fired 39:25 40:21
 details 45:7                    53:1 54:1 55:1 56:1           exhibit 29:3 48:5                 46:3
 Dewberry 18:24                  57:1 58:1 59:1 60:1           exit 34:5                        first 3:25 4:13, 18,
  19:2, 15, 16, 21, 22, 23       61:1                          expect 58:13                     24 16:19 18:14 23:3
  20:2, 7, 9, 16 21:25          draw 33:13                     experience 55:23                  29:25 31:5, 9, 12
  22:3, 6, 9, 10, 11            driveway 46:15                  58:8 60:25                       34:3, 8 37:19, 21
  23:22 30:15, 16 31:8          driveways 19:5                 explain 18:20                     40:9, 20 41:4
  55:6 59:20, 23 60:11,         driving 15:19 19:16            extent 14:9                      five 34:14 35:22
 18                              20:9, 18 21:3, 11, 14,                                         five-minute 51:11, 16
 die 60:4, 5                    16, 17 32:13 55:6              <F>                              fleeing 28:7
 different 7:17 17:25            59:11, 16 60:17               faces 48:9                       follow 23:3 33:15
  27:15 42:11 49:15             drug 6:6 55:23                 facility 18:16                   following 48:14
 differently 49:21               56:19, 22                     facing 22:9, 11                  follows 3:25
 difficult 33:12                duly 2:18 3:23, 25             fact 59:14                       follow-up 54:2, 4
 direction 31:14 37:22          duty 12:10                     fair 5:22 13:6 19:6               61:15
 directly 18:2 33:3                                             22:5 40:21 41:6, 23             Food 17:7, 18 18:23
  45:2 53:12                    <E>                             44:4 50:8 52:7                   19:9 31:18 53:15
 discharge 24:24                Earlier 54:11 55:12            fall 26:6                        footage 14:8 31:3
  26:4 40:11 60:2                56:14 59:13                   far 7:21 12:24                   force 11:10 12:25
 discharged 11:17               easiest 56:5                    17:18 19:21, 23 24:7            FORM 1:7, 8 13:13
  26:15, 18 46:8                east 18:25                      26:9 44:17 46:20                 23:15 28:8 40:23
 discharging 26:24              echoey 45:18                   Farming 10:5                      41:8 49:23
 DISCREPANCIES                  edge 34:5 44:17                fast 20:10, 13 58:5              forms 4:25
  1:7                           edit 45:8                      fear 60:6, 8                     forth 17:23
 DISCREPANCY 1:12               EDITED 1:9, 14                 February 2:13, 20                forward 25:24 57:3,
 discussed 49:10                education 7:6                   3:6                             14 58:17
  52:24 58:17                   effect 40:5                    Federal 2:23                     frequent 20:20
 discussing 40:20 57:8          email 48:3                     Feet 19:25 20:3, 4, 7            front 19:4 22:13
 dispatch 25:10 27:5,           employer 6:21                   24:9, 10                         27:25 30:2 32:9
 16 41:12 42:11, 17,            en 15:18                       fell 46:17, 20                    44:17 54:23
 20 57:6, 12                    ends 37:16                     fellow 12:20                     full 6:17
 distribution 10:6              enforcement 58:8               Ferris 7:10                      further 31:13 33:6
 DISTRICT 2:2 3:12,             engaged 56:12                  figure 48:8
 13                             engine 60:19                   figured 35:23                    <G>
 document 47:14                 enroll 9:21                    file 35:14                       gear 25:13
 door 25:5, 16 30:3             entirety 59:21                 files 57:6                       general 13:10, 11, 17
  57:19 58:4, 10, 15            ENTRIES 1:18                   FINAL 1:7, 14, 19                generally 42:3 49:2
 DRAFT 1:1, 4, 13, 16,          equipment's 28:18              FINALIZED 1:9                    give 5:11 10:21
 21 2:1, 12, 16 3:1             equipped 13:18                 fine 5:19 45:7                    13:3 15:7 47:11
  4:1 5:1 6:1 7:1 8:1           ESTATE 2:4 3:10                 51:13 52:12 53:17               given 14:19 37:22
  9:1 10:1 11:1 12:1             4:6                           fingers 26:25                     49:21
  13:1 14:1 15:1 16:1                                          finish 5:10

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 64
                                                                                                                       APPX 00070
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 79 of v.141   PageID
                                                                                              City of         255
                                                                                                      Lancaster, Texas, et. al.

 go 4:15, 16 5:12 7:9           heard 39:21, 25                 57:15                           55:16, 23 56:2, 7
  9:14 15:24 16:5                41:15 57:7                    instructed 25:6, 18              58:23 61:4
  21:21, 24, 25 22:13,          hearing 39:5 45:19             instructions 4:16                knowledge 14:5
 14 23:21 25:17, 22             heavily 18:12                  intelligence 53:5                53:22
  26:2 27:4 34:11               helps 45:21                    intending 45:2                   known 56:17, 25
  35:10, 20 36:11               Hey 35:15 54:21                intention 24:12
  40:17, 20 41:12, 16           High 7:8, 9, 10 9:22,           27:25 28:4                      <L>
  44:21 45:2, 9 50:13           25                             interacted 18:15                 LANCASTER 2:7
  61:7, 8                       highest 7:6                    interaction 17:4                  3:11 6:22 7:2, 14, 21
 goes 25:24 46:2                Hill 7:20 8:7                  interactions 17:14                8:2, 14 11:5, 8 12:14
 going 4:15 10:2                hit 10:23 11:4 61:5            interacts 15:10                   13:9 18:22 28:6
  15:2 19:14 20:10, 13          hold 9:25 13:7                 interference 16:5                 50:5
  21:12 24:15, 17 29:2,          40:15                         interrupt 35:9                   lane 19:10, 13, 18, 21,
 6, 11, 15 32:22 34:17          holding 26:25                  investigating 17:24              24 21:4, 8 22:5, 8
  35:7 37:8, 11 38:6,           honest 41:13                   involved 4:8 10:25                23:19 24:18, 21
 12, 20, 22 39:14 43:2,         hood 26:17 27:2, 20            involves 10:22                    30:19 31:4, 9, 13, 24
 21 47:9 48:2, 25                59:25 60:12, 14 61:8,         issues 56:9                       32:12, 17, 25 42:23
  50:12, 19 58:23 60:3          10, 11                         its 22:21 28:2                    54:12 57:7
 Good 4:5 8:6 51:15             hopefully 37:9                                                  law 4:19 58:8
 gotten 29:25                   hot 20:23                      <J>                              lawsuit 10:12, 22
 governing 13:11, 17            hour 16:25 17:2                job 8:2                           11:12
 graduate 7:11                   20:14                         jobs 9:25 10:7                   lawsuits 11:14
 granted 42:14                  hours 5:16                     John 4:6 35:5, 15                learned 58:7
 grass 33:23                    house 10:24 11:4                39:4 45:17 50:18                leave 8:18 19:9
 Graziano 2:21 3:18             huh-uh 5:2                     jump 5:9                         left 31:17, 19 50:9,
 Great 6:16 35:20               human 5:8                                                       10
 guard 10:8                                                    <K>                              legs 5:18
 guess 15:25 26:12              <I>                            keep 4:24 37:8                   Lemoine 11:24 12:2,
  32:19 44:2 45:8               idea 35:20                      58:15                           22 13:25 14:4, 9, 20
  49:16                         immediately 17:3               kind 35:18                        25:6, 15, 18 40:7
 guessing 24:9                   58:10                         KLEMENT 13:13                     44:2, 7 52:13 57:15
 guy 8:23                       incident 9:2, 5 11:16,          14:12, 15 23:15 28:8            Lemoine's 50:4
                                23 12:15 13:2 14:3              35:4, 15 39:4, 10               level 7:6
 <H>                             37:11 42:3 46:22               40:23 41:8 45:16                license 27:5 42:16,
 half 8:17 16:25 41:3            47:12 49:19 58:23              48:25 49:14, 23                 20 54:23
 handcuffs 8:24                  59:10                          50:18 51:4, 10 54:3,            Lieutenant 52:12, 19
 happen 26:9 35:7               included 47:23 48:20           8 61:14                           53:17
  43:14                         independent 23:12              kneeling 46:15                   life 47:21 60:6
 happened 10:18 44:4            INDEXED 1:9                    knees 46:23                      lights 22:18
 happens 24:23                  indicate 60:25                 knew 17:12 25:21                 limine 8:3
 hard 28:17 58:20, 21,          indicating 33:5, 8, 16,        know 5:7, 20 11:9,               line 59:18
 22, 24 59:2, 4, 9              25 34:4                        10 12:7, 10, 11, 24              lines 55:24 60:14
 head 4:25 39:6                 individual 17:6                 16:14 17:23 20:5                listened 17:21 41:23
 heading 26:4 31:14             initial 55:20 57:4              25:9 28:13 30:12                literally 39:11
 hear 25:14 35:2, 4             initiate 41:6                   31:11 33:2, 11, 13              litigation 4:7 9:4
  36:8, 9, 20 37:9, 14,         injuries 46:21                  39:4 41:14, 18, 19              little 10:6 33:6
 17 38:14 39:15 40:2            injury 60:9                     42:15 44:2, 19 45:2,             37:10 39:9, 24 40:4,
  41:4 42:6, 13, 15, 22         instance 2:18                  6, 10, 18 46:6, 7 47:2,          19 45:18 51:16 57:4
  43:22 45:10, 14, 16           instruct 44:7 49:3             6 49:8, 9 50:3, 9                 58:2
  46:3 60:20, 21, 22                                            52:3, 11 53:14, 15, 17

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 65
                                                                                                                       APPX 00071
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 80 of v.141   PageID
                                                                                              City of         256
                                                                                                      Lancaster, Texas, et. al.

 lived 47:21                    mentioned 55:12                necessary 28:18                  occurred 17:19
 locate 18:7                    56:16 58:19                    neck 23:4                        occurs 56:18, 20
 located 56:16                  metal 34:4                     need 5:17 39:22                  odd 10:7
 location 17:19 27:16           mic 41:20                      59:9                             offering 49:4
  53:19, 21                     MICHAEL 2:4 3:10               nervous 25:7 58:2                OFFICER 2:12, 17
 Logan 52:12 53:15              4:7                            nervousness 57:18                 3:9, 24 4:5, 8 6:23
 long 5:16 6:25 7:23            miles 7:22 20:14               never 10:8 58:23                  7:2, 17 8:9 9:8
  8:16 12:13, 22, 25            military 12:7                  new 12:21                         10:19 11:23, 24 12:2,
  13:3, 4 15:23 16:22,          mind 4:24 58:2, 20             nice 5:12                        14, 18, 22 13:25 14:3,
 24, 25 26:4 31:8               60:3 61:4                      nods 4:25                        9, 19, 20 19:14 21:12,
  34:11 50:3                    mine 14:2                      NONSENSICAL 1:17                 19 25:18 27:15
 look 31:17 47:18               minute 33:18 40:19             normal 4:24                       28:21 29:6, 13, 24
  48:19, 20                     41:4 50:13                     normally 55:11                    34:22 35:2, 22 36:7,
 looked 25:12                   minutes 29:21 30:8             north 18:24                      18 37:13 38:10
 Looking 20:19 21:15            34:14 35:16, 23                northbound 26:2, 4                39:15, 22 40:7 44:2,
  22:13 31:19 37:6              50:20                          59:20                            7 47:11 48:7, 13
  52:6                          mischief 15:2, 18, 24          NORTHERN 2:2                      49:7, 19 50:4 51:15,
 lookout 17:10 53:6, 9          16:18, 23                      3:13                             25 54:9, 17 57:15
 lookouts 56:2                  MISSPELLINGS                   nose-in 25:3                      58:9 61:17
 looks 18:15 32:14              1:17                           noted 3:20                       officers 12:21 17:25
 lot 56:23 58:5                 moment 37:23 61:5              notes 50:13, 21 51:12             21:11, 14 22:13
  59:20, 23                     money 8:5, 6                   notice 43:10                      41:22 53:21 58:10
 LPD 48:13                      month 10:15                    noticed 37:2                     officer's 39:2
                                months 7:24 13:5               Number 3:14 18:9                 Oh 20:14 33:8 35:6
 <M>                            motion 8:3                     19:4                             Okay 4:15 5:5, 15,
 machine 2:23                   motivated 57:17                numbered 2:19                    24 6:10, 13, 20 7:9,
 main 18:19, 22                 motivation 58:18               NUMBERS 1:13                     16, 23 8:3, 20 9:10,
 making 15:11 56:10             motor 60:21, 23                                                 17 10:8, 11, 14, 17
 manner 55:11                   mouse 33:4                     <O>                               11:12 12:5, 9, 25
 manually 43:13, 15             move 24:3, 5 43:16             Oak 8:12, 16, 18 9:7,             13:7, 17, 21 14:17, 24
 March 4:8, 9 13:2,             48:8 57:3                      10, 14                            15:14 16:18 17:16
 21                             moved 32:16                    object 48:25                      18:3, 14, 19 19:8, 12,
 marijuana 25:13                Moving 39:6 44:25              Objection 13:13                  23 20:9, 15, 18 21:16,
 Mark 3:15 29:2                 57:14 58:6, 17                  23:15 28:8 40:23                20 22:4, 8, 12 23:7,
  47:15 48:2                    multi-agency 11:10              41:8 49:23                      11, 20, 24 24:3, 7, 11,
 marked 21:14, 21, 24           multiple 27:13 56:22           obligated 4:19                   17 26:3, 6, 14, 17, 20
  23:2 48:5 52:6                                               observe 27:21 31:12               27:4, 14 28:25 29:9,
 market 37:5                    <N>                             54:13 56:4                      13, 19, 24 30:6, 21, 25
 Mart 17:7, 18 18:23            name 3:15 4:6 6:17             observed 19:12, 24                31:3, 7, 12, 18, 20, 23
  19:9 31:18 53:16              12:23 47:16                     20:13 30:18 31:9, 24             32:4, 7, 12, 16, 19, 22
 matter 3:10                    names 47:8                      34:3, 8 40:10 54:25              33:17, 22 34:3, 16, 17
 mean 20:2, 3 22:25             narcotic 56:25                  55:5                             36:22, 25 37:4, 8, 11,
  24:9 35:8 38:19               narcotics 44:11                observing 27:20                  13, 16, 23 38:3, 16, 19
  46:25 53:13, 14               56:24 57:20, 22                 31:4 54:11                       39:10, 17, 20 40:7, 9
  54:20                         nature 5:8                     obviously 51:6                    41:11, 15, 21 42:6, 13,
 measure 26:10                  Navarro 9:18, 20               occupant 21:13, 20               19, 22 43:9, 13, 16, 21,
 meat 39:12                     near 53:21                      22:12, 21 23:20                 25 44:13, 25 45:8, 24
 medic 39:22 40:11              nearby 41:23 53:14              24:13 25:5                       46:5, 7, 11, 14, 17, 21
 medications 6:6                neat 5:13                      occur 16:13, 23                   47:4, 7, 22, 25 48:11,
                                                                                                18 49:14, 17, 18 50:9,

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 66
                                                                                                                       APPX 00072
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 81 of v.141   PageID
                                                                                              City of         257
                                                                                                      Lancaster, Texas, et. al.

 12 51:25 52:21 53:3,           percent 47:3                   policies 13:11                   pursue 28:19
 8, 11, 20, 23, 24              perfectly 5:19, 25             policy 8:21, 22                  put 27:24
 old 7:4                        perpendicular 22:5             posed 5:20
 once 60:17                     person 11:18 56:10             positioning 26:24                <Q>
 ones 52:13                     personally 54:12               possible 4:17 42:19              question 5:9, 11, 21
 open 30:3 58:10                phase 15:9, 21                 possibly 24:19                    49:3 51:13
 opens 25:5 58:4                phone 22:22 55:13,             practice 57:10                   questioning 51:14
 operate 27:12                  14 56:6, 10                    prepare 6:14                     questions 6:10 29:7,
 operation 18:5 52:24           physical 6:6                   preparing 48:24                  16 36:11, 19 50:14,
 opportunity 49:22              pick 56:6                       49:9, 12                        15 51:5, 7 53:25
 option 35:11 61:7              picking 56:10                  presence 57:21                    54:4, 9 61:16
 options 61:9                   picture 33:13                  press 41:19 42:3, 11             quick 35:17 36:19
 order 13:17 44:7               place 56:17 58:24, 25          pressing 41:16 42:7               50:18 52:22
 orders 13:10, 11               plain 44:12 53:20              Pretty 24:9                      quickly 4:17
 ordinary 58:14                  57:20, 22                     Prior 7:16 8:7 9:7,
 outside 14:13                  Plaintiff 2:18                 14 11:16 12:14                   <R>
 overseas 12:6                  Plaintiffs 2:5                  14:20 17:14 39:24               radio 34:21 40:20
 overview 10:21                 planned 18:5, 8                 40:4                             41:4, 12, 17, 20 42:4,
                                 52:23 53:2                    prison 10:8                      8, 20 46:2 54:21
 <P>                            plate 25:10 27:6               Probably 5:16 12:16              radioing 27:16
 p.m 2:20 3:3, 7                 42:16, 20 54:23                20:14 41:3                      ranger 48:21
  16:10, 11 36:2, 3, 5          plates 27:17                   Procedure 2:24                   Rangers 47:12, 23
  48:12 51:20, 21, 23           play 29:15 33:18               PROCEEDING 1:1,                  Rapidly 59:17
  61:19, 20                      34:21 35:18 36:10             22                               rash 46:23
 PAGE 1:12                       38:6, 22 43:6                 PROCEEDINGS 1:6                  reach 25:16 43:16
 parked 19:10 23:19             playback 29:22                  3:2                             reaching 57:18
  24:20 25:4 30:18               30:10 32:5 33:20              process 37:24                    react 58:13
  32:25 34:4                     36:16 38:7 39:3, 18           PRODUCED 1:2                     read 5:12 42:16, 21
 parking 19:4 24:6, 7,           43:7, 19 44:14 45:12,          2:17 14:8 29:4                   47:25 48:7 54:5
 18 25:3 32:14, 17              22 46:12                       prolong 57:23                    real 50:18
  34:9 59:19, 22                played 29:24 30:7              pronounce 47:16                  really 33:12 52:3
 part 33:11                     playing 36:15 37:9,            pronouncing 12:23                REALTIME 1:2, 8
 pass 51:14 61:14               12 43:23                       PROOFREAD 1:9, 14                rear 33:15
 passed 21:12 53:6              Pleasant 15:3 18:21            protect 59:2, 4                  reason 6:5, 7 7:25
 passenger 15:20, 22             53:19                         protection 59:3                   8:4, 6 21:2, 6 24:14
 passenger's 25:4, 8,           please 3:21                    provisions 2:24                  reasonable 57:11, 22
 11 44:21, 23                   pocket 25:16 57:19             public 15:10, 12                 Rebecca 2:21
 passing 50:19                  point 5:17 20:12               Pugh 17:6, 11, 24                REBUT 1:5
 Pate 19:14 21:12                25:21, 23 26:6 27:19           18:6 20:19, 20 21:3,            recall 5:25 16:12
  52:12, 17 54:17                30:2, 17 32:10 44:5           15 31:19 37:6 52:7,              Recess 36:3 51:21
 path 28:2                       45:25 46:7 50:6               22 53:9                          recognize 17:16
 patrol 58:19 59:8              pointing 33:10                 Pugh's 27:15 55:18               record 2:25 3:3, 5,
 pause 38:9                     police 6:23, 25 7:14,          pull 13:8 23:12                  20 4:23 5:4, 8 6:17
 pay 8:4                        17 8:8 9:8, 11, 15, 17          24:24 25:2, 18 34:17             29:20 34:20, 23
 PD 34:20                        10:2, 19 12:2 13:10,           41:5                             35:20 36:2, 5, 14
 Pegged 60:19                   12 17:21 22:17 23:6,           pulled 24:6, 11 37:25             38:4, 25 51:20, 23
 people 55:10 56:7,             10, 11 41:11 50:5              pulling 59:22                     54:4 61:19, 20
 11, 12                          55:7 56:11                    pulls 24:8 25:3                  recorded 3:8 41:17
 pepper 8:23                    policed 18:12                  pursuant 2:23


                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 67
                                                                                                                       APPX 00073
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 82 of v.141   PageID
                                                                                              City of         258
                                                                                                      Lancaster, Texas, et. al.

 recording 38:5                 road 11:2 18:19                see 13:8 14:7 23:5,              24 7:4, 18 8:10 9:3,
  40:18 41:11, 14                25:10 26:9 27:5               20 24:15 25:12                   6, 9, 16 10:3, 10, 13,
  42:14, 23                      31:14, 15 46:23                29:13 32:24 33:14,              20 11:6, 15, 19, 21, 25
 Recruit 13:25                  roadway 20:8                   22 40:15 44:16                    12:4, 11, 24 13:6, 16,
 Red 8:12, 16, 18 9:7,          robberies 56:24                 45:21 48:10, 16                 20, 23 14:5, 23 15:6
 10, 14                         robbery 17:13                   50:13 51:17 54:22                16:21 17:8, 9, 15, 17
 reference 8:13 30:7            RODNEY 2:4                      55:7 58:4                        18:4, 7, 11, 13, 18
  37:10                         roll 58:15                     seen 28:23                        19:7, 17, 20 20:17, 22,
 referring 38:16 55:3           rolling 20:15 61:11            segment 36:10                    25 21:5, 9, 23 22:7,
  61:11                         rotator 47:4                   separate 27:7, 11                16, 19 23:14 24:2, 4,
 reflecting 49:19               ROUGH 1:1, 4, 13,               55:21                           19 26:8, 16, 19, 22
 relation 47:12 55:17           16, 21 2:12, 16                Sergeant 52:12, 19                27:18, 23 28:3, 24
 relays 48:15                   Roughly 7:3, 24                 53:15                            29:10, 14, 18 30:5, 13,
 remember 5:24 7:13              9:23 10:15 20:7               series 4:15                      20 31:2, 6 32:3, 11,
  16:9 18:2 24:22               route 15:18                    serious 60:8                     18, 21 33:6, 23 34:2,
  26:14, 25 42:24 45:5          RPR 2:21                       served 10:16                     7, 10 35:3 36:13, 21,
  47:19 52:9, 14 57:8           Rules 2:23                     serving 11:7 12:13               24 37:7, 15, 18, 22
  60:20                         Run 15:3 18:21                 set 18:20 26:11                   38:2, 15, 18, 21 39:23
 remotely 2:21                   25:22 30:21 53:19             setting 35:12                     40:3, 6, 8, 13, 24 41:9,
 report 47:24                   running 28:12 40:5             share 29:11 35:9, 10,            25 42:5, 9, 12, 18, 24
 reported 2:22                   44:20 58:18 59:7              13                                43:12, 18 44:6, 9
 reporter 3:17, 21              runs 18:24                     sharing 45:9                      45:15 46:4, 9, 16
  4:22 16:6                                                    shift 14:22 16:8, 15,             47:6, 13 48:10, 17, 22
 Reporting 3:16, 19             <S>                            16, 20 25:13 52:25                50:2, 11, 17 52:8
 represent 4:6                  sake 55:2                       53:4                             53:2, 10 54:17 55:4,
 request 14:11                  Santos 3:15                    shooting 4:8 15:23               8, 25 56:21 57:24
 requesting 54:5                saw 17:5 19:10                  16:13, 23 17:19, 22              58:12 59:12, 24 60:7,
 reservist 12:9                  23:2 25:9, 11, 16, 19          58:25                           16, 24 61:3, 13
 response 51:7                   37:19                         shootings 56:24                  sits 18:25
 restroom 5:18                  saying 5:2 38:12               shorthand 2:23                   situations 56:3
 result 9:2, 4 46:22             39:21                         shot 27:3                        six 7:3 13:5 38:13,
 reverse 25:20, 21              says 46:3                      shots 39:25 40:21                19
  27:24 59:11                   scenario 58:25                  46:3                            slow 20:18 60:13
 review 50:20 51:11             school 7:8, 9, 10              shoulder 46:24, 25               slowing 27:2
  54:5                           9:23, 25                       47:3                            small 19:4, 5
 reviewing 13:7, 9              screen 29:11 35:11             shoulders 5:2                    smoothly 4:17
  57:5                           40:15                         show 28:21 29:6                  soft 42:14
 revved 60:20                   scroll 48:18                    40:14 47:14, 24                 solid 59:3
 revving 60:22                  se 46:19                       shrugs 5:2                       somebody 58:9, 13
 right 5:7, 13 6:3, 5,          search 10:24                   side 18:21, 25 25:4,             soon 23:2
 16 9:22 12:6 14:12             seat 25:6                      8, 11 39:6, 7 44:21,             sorry 4:9 9:13, 19
  20:2 29:11, 15, 17            Second 4:22 5:7                23                                27:10 33:9 38:24
  31:16, 19, 25 32:9, 15         13:8 32:23 37:14              sight 44:17                       43:4 47:16, 20
  33:8, 15, 23 34:2              38:10                         sign 33:14, 24                   sort 13:11 17:4
  36:12 37:8 38:22              Seconds 26:5 29:16,            signed 48:12                      18:16, 20 19:5 20:15
  39:12 42:25 43:2, 5           21, 25 30:9 32:8, 19           significance 55:9, 15             26:23 34:5 37:4, 23
  44:11 45:20 47:9               39:16 43:6, 9                 signs 34:15 58:7                  52:2 56:3, 9, 17, 19
  48:10 50:12, 16               section 34:21                  simply 17:10 18:9                sound 36:8 39:9
  51:15, 18 59:23               secured 48:12                  sir 4:12, 14, 21 5:6,             45:10
                                security 10:7                  14, 23 6:4, 9, 12, 15,

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 68
                                                                                                                       APPX 00074
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 83 of v.141   PageID
                                                                                              City of         259
                                                                                                      Lancaster, Texas, et. al.

 sounded 36:22 39:24            street 26:12 30:12             11                               TRANSCRIPT 1:19
  41:21                          34:6                          tear 46:24, 25 47:3               5:12 54:6
 sounds 35:19 38:11             street's 30:14                 tell 4:19 12:8 22:22             TRANSCRIPTION
  45:25 51:15 52:5              stretch 5:18                    45:17 46:19                      1:4, 6, 8, 16, 21
 south 8:15 18:21, 24           strictly 35:13                 telling 55:19                    translate 5:4
  53:19                         strike 50:3                    terminated 8:19, 20              travel 23:22
 speak 6:13 14:13               struck 25:25 26:20             testified 3:25 59:13             truth 4:20
  20:24 21:19                    59:14, 15 61:12               testify 6:7                      truthfully 6:8
 speaking 17:24                 stuff 50:24 53:6               TEXAS 2:2, 7, 22                 try 5:5, 10 18:5
 specialist 3:17                subject 55:18                   3:11, 13 47:12, 23               35:21, 23
 specific 49:4, 7               suck 60:4                       48:21                           trying 44:20, 23
 specifically 55:22             suffer 46:21                   Thanks 61:16                     turn 23:4 30:23, 24
 spoke 54:11                    Sure 14:14 15:17               things 4:24 5:5                   31:10 45:20
 spot 20:24 23:25                16:3 34:13, 24 50:23           33:12 58:19                     turned 22:23 30:25
  24:6, 7 25:3 32:15,            51:9 52:11                    think 5:15 7:15                   59:19 60:11, 18
 17 34:9                        surrounding 17:21               15:16 25:9, 11 36:7             turning 59:23
 sprayed 8:23                    37:5                           43:5 49:20 53:8                 turns 20:6 25:23, 24
 squad 25:23 28:5, 13,          surveillance 17:5              third 15:9, 21                   two 4:24 5:16 8:17
 16 44:17, 22, 24 45:6           43:3 52:23                    thoroughfare 18:22                27:7, 11 49:16 52:15,
 squared 35:21                  suspicion 57:11, 23            thought 32:25 45:5               18 53:13 61:9
 stand 15:11                    SUV 20:13 37:10, 16,            52:22                           type 8:22
 start 34:25 37:12              20 40:10, 21 41:5              thoughts 45:4 55:20              typed 47:22
  39:14 51:14                    54:12, 16, 25 55:2, 3,        three 52:15
 started 6:11 7:14              5 56:15                        ticket 24:18                     <U>
  9:10 37:24                    SWAT 10:23 11:3, 7,            TIME 1:5 3:6 5:17                uh-huh 5:3
 starting 9:14 29:20            11                              6:13 12:19 16:8, 12,            UNCERTIFIED 2:1
  34:23 36:15                   swear 3:22                     14 20:12 26:6 27:19              3:1 4:1 5:1 6:1 7:1
 State 2:22                     swing 38:13, 20                 30:17 31:5 34:8                 8:1 9:1 10:1 11:1
 stated 2:24                    switch 7:25 43:10               35:25 36:5 37:19, 21            12:1 13:1 14:1 15:1
 statement 38:17                sworn 2:18 3:23, 25             40:9 41:4 42:6 45:4,            16:1 17:1 18:1 19:1
  39:2 47:11, 23                 4:19 48:12                    25 46:8 47:18 48:14              20:1 21:1 22:1 23:1
 STATES 2:2 3:12                                                50:6 51:12, 19, 23              24:1 25:1 26:1 27:1
 stayed 52:17                   <T>                             53:16 55:18 59:7, 22            28:1 29:1 30:1 31:1
 STENO 1:17                     tacked 12:17                    61:16, 18                       32:1 33:1 34:1 35:1
 stenographic 3:20              take 5:17, 21 18:6             times 26:14 56:22                36:1 37:1 38:1 39:1
 step 57:16                      34:11, 13 35:17, 22           timing 29:8 40:16                40:1 41:1 42:1 43:1
 stick 17:11                     44:20 47:9 48:19              today 3:17, 19 5:16              44:1 45:1 46:1 47:1
 stood 23:7                      49:18 50:13 51:2, 10,          6:8 61:16                       48:1 49:1 50:1 51:1
 stop 21:7 24:16                16 58:24                       Today's 3:5                      52:1 53:1 54:1 55:1
  28:2 32:22 34:15              taken 2:19 4:10                told 15:16 53:9                  56:1 57:1 58:1 59:1
  37:13 41:6 43:21              takes 58:25                    top 25:25 26:3                   60:1 61:1
  52:22 57:4, 11, 14, 23        talk 5:18 14:15 57:3           tops 17:2                        underneath 61:8
  58:14 60:13                   talked 16:19 56:14             town 50:10                       understand 4:20
 stopped 32:7 38:25             talking 17:23 27:14            traffic 24:16 41:6               15:25
  39:20 40:17 46:14              36:23 41:16 42:2, 7            57:11 58:14                     understanding 11:22
 stopping 23:17 45:24            58:5                          train 12:20 28:6                 12:5 17:3 50:4, 7
 straight 59:18                 tape 26:10                     trained 28:15, 16                Understood 12:12
 strain 23:4                    task 11:10                     training 11:23 12:14,            42:25 52:4
 strange 22:20 55:10            team 10:23 11:3, 7,            18, 19 15:9, 21                  UNEDITED 1:1, 13
                                                               transactions 56:24, 25

                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 69
                                                                                                                       APPX 00075
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 84 of v.141   PageID
                                                                                              City of         260
                                                                                                      Lancaster, Texas, et. al.

 unholstered 27:3               Walk 24:23                     witness 2:17 3:22,
 unit 52:6                      walked 25:8, 12                23 28:9 35:3 39:6
 UNITED 2:2 3:12                wand 17:12                      40:24 41:9 61:14
 units 52:9                     want 4:23 5:9 9:23             WORD 1:18
 UNTRANSLATED                    17:5 27:4 28:21               worked 10:5, 6
  1:17                           29:7, 17 30:6 34:21,          working 10:18 14:2
 use 5:17 28:17, 18,            25 35:22 36:10, 18              15:15 50:5 55:23
 19                              37:13 38:9 47:14              works 41:18
 usually 5:3 33:13               48:18 49:8, 9 50:22,          worst 33:11 58:25
  56:9                          25 51:12 52:2 56:21            write 24:17
                                wanted 21:6 42:10              written 4:23 5:4, 8
 <V>                            warn 13:19                     wrong 10:24
 vehicle 21:4, 7, 13, 21        warrant 10:24 11:8
  22:4, 9, 21 23:6, 13,         watch 22:14, 23                <Y>
 18, 20, 25 24:3 25:4,           23:21 37:16 55:11             yards 17:20 26:13
 5, 7, 10, 19, 25 26:3, 7,      watched 21:21 22:12            Yeah 27:10 38:12
 17, 21 27:20, 21, 25           watching 21:13 23:5,            49:7 50:8 55:10, 16
  28:22 30:2, 4, 22             9, 11 38:12 55:7, 13           year 7:13 12:16
  32:2, 9 44:16, 18             WAY 1:5 5:3, 11                years 7:3 8:17 58:7
  46:18 53:12 57:16              15:11 22:23 28:9
  58:11 59:5, 14, 15, 21,        40:15 54:15                   <Z>
 25 60:12 61:2, 6               weapon 46:8 60:3               Zach 49:2
 vehicles 18:3, 9               weapons 27:21                  ZACHARY 2:12, 17
  21:21, 24 22:17, 23           wearing 13:22 14:4,             3:9, 24 6:18 48:13
  23:3 28:7, 20 55:14           10                             Z-a-c-h-a-r-y 6:18
 vehicle's 44:25                well 5:4 20:12                 Zach's 45:18
 verbatim 48:14                  21:20 23:11 25:20             Zane 17:6 20:19
 version 47:22                   28:12 31:12 36:9              zoom 33:2, 9, 11
 versus 3:11                     40:2, 16 50:7, 22
 vicinity 53:13, 14              51:4
 video 3:8, 16 15:12            went 9:11 14:6
  28:21, 23 29:22, 25            16:20, 22 21:19 23:5,
  30:10 31:18 32:5, 7           6, 10, 12 25:20, 21
  33:18, 20 36:11 43:3,          37:24
 4, 7, 19 44:14 45:12,          We're 28:16 29:20
 22 46:12 47:10                  31:18 33:9 35:16
 VIDEOGRAPHER                    38:12, 19 48:2
  3:4 35:8, 25 36:4             West 15:3
  51:19, 22 61:18               we've 29:25 36:7
 view 31:21 44:12                56:23
  57:20, 22                     white 20:13 21:3, 7,
 violation 19:11 24:15          21 22:4, 8, 21 23:25
 violations 8:21, 22             24:3 30:2 31:25
 voice 36:23 38:11               32:2, 8 37:10, 16
  39:21 42:6                     40:10, 21 41:5 54:12,
                                16, 22, 25 55:2, 3, 5
 <W>                             56:15
 wait 5:10                      window 58:15
 Walgreens 10:5                 windshield 22:14


                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                             Page: 70
                                                                                                                       APPX 00076
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 85 of v.141   PageID
                                                                                              City of         261
                                                                                                      Lancaster, Texas, et. al.

       WORD LIST                36 (1)                         AND/OR (1)                       block (6)
                                37 (1)                         angle (3)                        blocking (1)
 <0>                                                           announce (1)                     bodily (1)
 0 (2)                          <4>                            answer (8)                       body (9)
 00 (2)                         4:14 (2)                       anticipate (1)                   body-worn (3)
 00011 (2)                      4:51 (1)                       apartment (10)                   box (1)
 0009 (1)                       45 (1)                         apartments (1)                   break (8)
 0009.mp4 (1)                                                  APPEARING (2)                    Brian (3)
                                <5>                            appears (1)                      brief (1)
 <1>                            5:23 (3)                       appreciate (1)                   briefing (1)
 1 (2)                          50 (3)                         approached (1)                   briefly (1)
 1:04 (2)                                                      approximately (1)                bring (1)
 1:21 (1)                       <6>                            area (11)                        BRISCO (27)
 10 (2)                         6:00 (2)                       areas (1)                        Brisco's (8)
 100 (1)                        600 (1)                        arising (1)                      broke (1)
 11 (1)                                                        arms (1)                         brothers (1)
 132 (1)                        <7>                            arrests (1)                      buildings (1)
 15 (1)                         7-Eleven (1)                   arrive (1)                       bumper (1)
 18th (4)                                                      aside (1)                        button (5)
                                <8>                            asked (3)
 <2>                            80 (1)                         asking (2)                       <C>
 2:02 (3)                                                      assault (1)                      call (7)
 2:24 (1)                       <A>                            assistance (1)                   called (2)
 2:44 (3)                       able (8)                       assume (1)                       calling (3)
 2:49 (2)                       abnormal (1)                   attempt (1)                      camera (15)
 2:51 (1)                       above-styled (1)               attention (1)                    cameras (1)
 20 (4)                         academy (4)                    audio (13)                       car (39)
 2007 (1)                       accelerate (2)                 automatically (1)                cars (8)
 2009 (1)                       accelerating (2)               aware (4)                        Case (3)
 2010 (2)                       accept (1)                                                      cause (1)
 2013 (1)                       acceptable (1)                 <B>                              cautiously (1)
 2018 (5)                       accurate (2)                   back (19)                        cell (3)
 2021 (3)                       accurately (1)                 backed (2)                       center (4)
 23rd (1)                       acknowledged (2)               backtrack (2)                    central (1)
 24 (4)                         acting (2)                     bands (3)                        certain (1)
 24th (1)                       active (1)                     bar (1)                          CERTIFIED (5)
 25 (1)                         activity (3)                   based (1)                        channel (2)
 28 (1)                         actual (2)                     basis (3)                        channels (4)
                                addiction (1)                  BEAUCHAMP (13)                   charges (1)
 <3>                            additional (1)                 B-e-a-u-c-h-a-m-p (1)            checked (1)
 3/23/2018 (1)                  Administrator (1)              Becky (2)                        checking (2)
 3:09 (1)                       advanced (1)                   began (14)                       Chris (4)
 3:10 (1)                       affidavit (4)                  beginning (4)                    CITE (1)
 3:13 (2)                       afraid (1)                     behavior (2)                     CITED (1)
 3:20-cv-00643-E (2)            afternoon (1)                  belief (1)                       CITY (9)
 3:25 (3)                       aggravate (1)                  believe (7)                      city's (2)
 32 (2)                         ago (1)                        best (1)                         Civil (4)
 342 (1)                        al (2)                         better (3)                       clarify (1)
 35 (1)                         alcohol (1)                    bit (7)                          clarity (1)


                                         215-341-3616 transcripts@everestdepo.com
                                                Everest Court Reporting LLC                                             Page: 1
                                                                                                                       APPX 00077
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 86 of v.141   PageID
                                                                                              City of         262
                                                                                                      Lancaster, Texas, et. al.

 click (1)                      cover (9)                      discussing (2)                   explain (1)
 close (1)                      COYLE (50)                     dispatch (9)                     extent (1)
 closed (1)                     create (1)                     distribution (1)
 Closer (1)                     crime (1)                      DISTRICT (4)                     <F>
 closest (1)                    criminal (8)                   document (1)                     faces (1)
 clothes (1)                    CRR (1)                        door (7)                         facility (1)
 Cockrell (1)                   CSR (1)                        DRAFT (67)                       facing (3)
 college (2)                    cuff (1)                       draw (1)                         fact (1)
 COMBINATIONS                   curb (1)                       driveway (1)                     fair (10)
  (1)                           curious (1)                    driveways (1)                    fall (1)
 come (5)                       current (1)                    driving (14)                     far (9)
 comes (2)                      currently (1)                  drug (6)                         Farming (1)
 coming (3)                     custody (1)                    duly (3)                         fast (3)
 common (4)                                                    duty (1)                         fear (2)
 commonly (1)                   <D>                                                             February (3)
 communicate (4)                dash (2)                       <E>                              Federal (1)
 communicating (1)              dashcam (2)                    Earlier (4)                      Feet (7)
 communication (3)              date (3)                       easiest (1)                      fell (2)
 communications (1)             day (4)                        east (1)                         fellow (1)
 complaint (4)                  days (1)                       echoey (1)                       Ferris (1)
 completed (1)                  deal (2)                       edge (2)                         figure (1)
 complex (9)                    dealing (1)                    edit (1)                         figured (1)
 concern (1)                    decelerate (1)                 EDITED (2)                       file (1)
 conclude (1)                   decide (1)                     education (1)                    files (1)
 condition (1)                  decision (4)                   effect (1)                       FINAL (3)
 connects (1)                   defendant (2)                  email (1)                        FINALIZED (1)
 consider (1)                   Defendants (1)                 employer (1)                     fine (5)
 console (3)                    Defense (4)                    en (1)                           fingers (1)
 constant (1)                   Department (7)                 ends (1)                         finish (1)
 constantly (3)                 depends (1)                    enforcement (1)                  fire (23)
 consulted (2)                  DEPOSITION (7)                 engaged (1)                      firearm (3)
 contact (2)                    describe (5)                   engine (1)                       fired (3)
 CONTAIN (1)                    described (2)                  enroll (1)                       first (18)
 continue (1)                   describing (3)                 entirety (1)                     five (2)
 continued (1)                  details (1)                    ENTRIES (1)                      five-minute (2)
 CONTRADICT (1)                 Dewberry (26)                  equipment's (1)                  fleeing (1)
 conversation (4)               die (2)                        equipped (1)                     follow (2)
 cook (1)                       different (5)                  ESTATE (3)                       following (1)
 coordinator (1)                differently (1)                et (2)                           follows (1)
 cop (1)                        difficult (1)                  evade (1)                        follow-up (3)
 copper (1)                     direction (2)                  Everest (2)                      Food (6)
 cops (1)                       directly (4)                   exact (4)                        footage (2)
 copy (1)                       discharge (4)                  exactly (2)                      force (2)
 correct (4)                    discharged (4)                 EXAMINATION (2)                  FORM (8)
 CORRECTED (3)                  discharging (1)                executing (1)                    forms (1)
 correctly (2)                  DISCREPANCIES                  exhibit (2)                      forth (1)
 counsel (8)                    (1)                            exit (1)                         forward (4)
 couple (5)                     DISCREPANCY (1)                expect (1)                       frequent (1)
 COURT (9)                      discussed (3)                  experience (3)                   front (7)


                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 2
                                                                                                                       APPX 00078
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 87 of v.141   PageID
                                                                                              City of         263
                                                                                                      Lancaster, Texas, et. al.

 full (1)                       hot (1)                        KLEMENT (21)                     main (2)
 further (2)                    hour (4)                       kneeling (1)                     making (2)
                                hours (1)                      knees (1)                        manner (1)
 <G>                            house (2)                      knew (2)                         manually (2)
 gear (1)                       huh-uh (1)                     know (50)                        March (4)
 general (3)                    human (1)                      knowledge (2)                    marijuana (2)
 generally (2)                                                 known (2)                        Mark (4)
 give (5)                       <I>                                                             marked (6)
 given (3)                      idea (1)                       <L>                              market (1)
 go (31)                        immediately (2)                LANCASTER (16)                   Mart (6)
 goes (3)                       incident (14)                  lane (23)                        matter (1)
 going (32)                     included (2)                   law (2)                          mean (10)
 Good (3)                       independent (1)                lawsuit (3)                      measure (1)
 gotten (1)                     INDEXED (1)                    lawsuits (1)                     meat (1)
 governing (2)                  indicate (1)                   learned (1)                      medic (2)
 graduate (1)                   indicating (5)                 leave (2)                        medications (1)
 granted (1)                    individual (1)                 left (4)                         mentioned (3)
 grass (1)                      initial (2)                    legs (1)                         metal (1)
 Graziano (2)                   initiate (1)                   Lemoine (15)                     mic (1)
 Great (2)                      injuries (1)                   Lemoine's (1)                    MICHAEL (3)
 guard (1)                      injury (1)                     level (1)                        miles (2)
 guess (6)                      instance (1)                   license (4)                      military (1)
 guessing (1)                   instruct (3)                   Lieutenant (3)                   mind (5)
 guy (1)                        instructed (2)                 life (2)                         mine (1)
                                instructions (1)               lights (1)                       minute (4)
 <H>                            intelligence (1)               limine (1)                       minutes (6)
 half (3)                       intending (1)                  line (1)                         mischief (5)
 handcuffs (1)                  intention (3)                  lines (2)                        MISSPELLINGS (1)
 happen (3)                     interacted (1)                 listened (2)                     moment (2)
 happened (2)                   interaction (1)                literally (1)                    money (2)
 happens (1)                    interactions (1)               litigation (2)                   month (1)
 hard (8)                       interacts (1)                  little (11)                      months (2)
 head (2)                       interference (1)               lived (1)                        motion (1)
 heading (2)                    interrupt (1)                  locate (1)                       motivated (1)
 hear (25)                      investigating (1)              located (1)                      motivation (1)
 heard (4)                      involved (2)                   location (4)                     motor (2)
 hearing (2)                    involves (1)                   Logan (2)                        mouse (1)
 heavily (1)                    issues (1)                     long (17)                        move (5)
 helps (1)                      its (2)                        look (4)                         moved (1)
 Hey (2)                                                       looked (1)                       Moving (5)
 High (5)                       <J>                            Looking (6)                      multi-agency (1)
 highest (1)                    job (1)                        lookout (3)                      multiple (2)
 Hill (2)                       jobs (2)                       lookouts (1)
 hit (3)                        John (6)                       looks (2)                        <N>
 hold (3)                       jump (1)                       lot (4)                          name (5)
 holding (1)                                                   LPD (1)                          names (1)
 honest (1)                     <K>                                                             narcotic (1)
 hood (9)                       keep (3)                       <M>                              narcotics (4)
 hopefully (1)                  kind (1)                       machine (1)                      nature (1)


                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 3
                                                                                                                       APPX 00079
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 88 of v.141   PageID
                                                                                              City of         264
                                                                                                      Lancaster, Texas, et. al.

 Navarro (2)                    once (1)                       Plaintiff (1)                    pulling (1)
 near (1)                       ones (1)                       Plaintiffs (1)                   pulls (2)
 nearby (2)                     open (2)                       planned (5)                      pursuant (1)
 neat (1)                       opens (2)                      plate (5)                        pursue (1)
 necessary (1)                  operate (1)                    plates (1)                       put (1)
 neck (1)                       operation (2)                  play (8)
 need (3)                       opportunity (1)                playback (14)                    <Q>
 nervous (2)                    option (2)                     played (2)                       question (5)
 nervousness (1)                options (1)                    playing (4)                      questioning (1)
 never (2)                      order (2)                      Pleasant (3)                     questions (13)
 new (1)                        orders (2)                     please (1)                       quick (4)
 nice (1)                       ordinary (1)                   pocket (2)                       quickly (1)
 nods (1)                       outside (1)                    point (13)
 NONSENSICAL (1)                overseas (1)                   pointing (1)                     <R>
 normal (1)                     overview (1)                   police (25)                      radio (12)
 normally (1)                                                  policed (1)                      radioing (1)
 north (1)                      <P>                            policies (1)                     ranger (1)
 northbound (3)                 p.m (17)                       policy (2)                       Rangers (2)
 NORTHERN (2)                   PAGE (1)                       posed (1)                        Rapidly (1)
 nose-in (1)                    parked (7)                     positioning (1)                  rash (1)
 noted (1)                      parking (10)                   possible (2)                     reach (2)
 notes (3)                      part (1)                       possibly (1)                     reaching (2)
 notice (1)                     pass (2)                       practice (1)                     react (1)
 noticed (1)                    passed (2)                     prepare (1)                      read (6)
 Number (3)                     passenger (2)                  preparing (3)                    real (1)
 numbered (1)                   passenger's (5)                presence (1)                     really (2)
 NUMBERS (1)                    passing (1)                    press (3)                        REALTIME (2)
                                Pate (5)                       pressing (2)                     rear (1)
 <O>                            path (1)                       Pretty (1)                       reason (8)
 Oak (6)                        patrol (2)                     Prior (10)                       reasonable (2)
 object (1)                     pause (1)                      prison (1)                       Rebecca (1)
 Objection (6)                  pay (1)                        Probably (4)                     REBUT (1)
 obligated (1)                  PD (1)                         Procedure (1)                    recall (2)
 observe (4)                    Pegged (1)                     PROCEEDING (2)                   Recess (2)
 observed (11)                  people (4)                     PROCEEDINGS (2)                  recognize (1)
 observing (3)                  pepper (1)                     process (1)                      record (22)
 obviously (1)                  percent (1)                    PRODUCED (4)                     recorded (2)
 occupant (7)                   perfectly (2)                  prolong (1)                      recording (6)
 occur (2)                      perpendicular (1)              pronounce (1)                    Recruit (1)
 occurred (1)                   person (2)                     pronouncing (1)                  Red (6)
 occurs (2)                     personally (1)                 PROOFREAD (2)                    reference (3)
 odd (1)                        phase (2)                      protect (2)                      referring (3)
 offering (1)                   phone (5)                      protection (1)                   reflecting (1)
 OFFICER (57)                   physical (1)                   provisions (1)                   relation (2)
 officers (9)                   pick (1)                       public (2)                       relays (1)
 officer's (1)                  picking (1)                    Pugh (13)                        remember (14)
 Oh (3)                         picture (1)                    Pugh's (2)                       remotely (1)
 Okay (143)                     place (3)                      pull (8)                         report (1)
 old (1)                        plain (4)                      pulled (3)                       reported (1)


                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                              Page: 4
                                                                                                                       APPX 00080
DepositionCase   3:20-cv-00643-E
          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
                                                                   Estate of Michael 89 of v.141   PageID
                                                                                              City of         265
                                                                                                      Lancaster, Texas, et. al.

 reporter (4)                   security (1)                   speak (4)                        sworn (5)
 Reporting (2)                  see (20)                       speaking (1)
 represent (1)                  seen (1)                       specialist (1)                   <T>
 request (1)                    segment (1)                    specific (2)                     tacked (1)
 requesting (1)                 separate (3)                   specifically (1)                 take (16)
 reservist (1)                  Sergeant (3)                   spoke (1)                        taken (2)
 response (1)                   series (1)                     spot (8)                         takes (1)
 restroom (1)                   serious (1)                    sprayed (1)                      talk (3)
 result (3)                     served (1)                     squad (8)                        talked (2)
 reverse (4)                    serving (2)                    squared (1)                      talking (7)
 review (3)                     set (2)                        stand (1)                        tape (1)
 reviewing (3)                  setting (1)                    start (4)                        task (1)
 revved (1)                     share (4)                      started (4)                      team (4)
 revving (1)                    sharing (1)                    starting (4)                     tear (3)
 right (39)                     shift (8)                      State (1)                        tell (5)
 road (8)                       shooting (7)                   stated (1)                       telling (1)
 roadway (1)                    shootings (1)                  statement (4)                    terminated (2)
 robberies (1)                  shorthand (1)                  STATES (2)                       testified (2)
 robbery (1)                    shot (1)                       stayed (1)                       testify (1)
 RODNEY (1)                     shots (3)                      STENO (1)                        TEXAS (8)
 roll (1)                       shoulder (3)                   stenographic (1)                 Thanks (1)
 rolling (2)                    shoulders (1)                  step (1)                         things (4)
 rotator (1)                    show (6)                       stick (1)                        think (9)
 ROUGH (7)                      shrugs (1)                     stood (1)                        third (2)
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 route (1)                      sight (1)                      stopped (5)                      thought (3)
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          of Officer Zachary Beauchamp Document
                                       - Rough Draft 31   Filed 03/04/21      Page Brisco
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                                                                                                      Lancaster, Texas, et. al.

 truthfully (1)                 wand (1)
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 <V>                            wrong (1)
 vehicle (46)
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 violation (2)                  Zach's (1)
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Case 3:20-cv-00643-E Document 31 Filed 03/04/21   Page 91 of 141 PageID 267




                             Exhibit 5
                             Lancaster PD
                             Investigative
                               Findings
      Case 3:20-cv-00643-E Document 31 Filed 03/04/21            Page 92 of 141 PageID 268




                                   INVESTIGATIVE FINDINGS

TO:           S. URBANSKI, CHIEF OF POLICE

 FROM:        J. BEESLEY, INTERNAL AFFAIRS f<l3~e -il'2.1 f

DATE:         NOVEMBER 11, 2019

SUBJECT: OIS INQUIRY 18-002 MARCH 18, 2018


On March 18, 2019, Officer Beauchamp was working as a training unit with Recruit Officer
Lemoine. They were working as unit 313 and marked out on a suspicious vehicle in the parking
lot of the Dewberry apartments at approximately 18:55 hours. When the stop was made, the
white Ford Escape with TX JZH1357 turned left from the driveway into a parking space, and
Lemoine made contact at the driver's window while Beauchamp went to the passenger side.

Driver Brisco, Michael E. B/M -           TX I~

After officers made contact, Brisco suddenly reversed out of the parking space, backing to the
left, at a high rate of speed. This caused the front of the vehicle to swing past Beauchamp where
he was standing at the right front. Beauchamp had to jump back and scramble to his rear to get
away from the swinging vehicle. After backing out, Brisco accelerated at Beauchamp in the
driveway where he had retreated in his attempt to get away from the moving vehicle.

Brisco struck Beauchamp with his vehicle causing Beauchamp to be on the hood. Brisco then
fled the parking lot at a high rate of speed, turning north onto Dewberry Blvd with Beaucha mp
on the hood.

As a result of Brisco's actions, Officer Beauchamp, in fear for his life on the hood of the vehicle,
fired his handgun at Brisco. Brisco sustained a gunshot wound to his right arm and torso. Officer
Beauchamp was thrown from the hood of the vehicle as it traveled northbound on Dewberr
                                                                                                   y
Blvd. The vehicle drove through a power pole, rolled side over side and came to rest in a private
driveway on its roof.

Briscoe was transported to Methodist Charlton by LFD Med 352 where he was tater pronoun ced
deceased. Beauchamp was transported to Baylor Hospital in Waxahachie where he was treated
for his injuries and subsequently released.

The scene was processed by Texas Ranger David Armstrong at the request of Lancast er PD
with the assistance of CID Sergeant Alexander and his unit.

Video evidence from patrol unit 1481 (Beauchamp/Lemoine) and body camera 19 (Lemoine),
and evidence located collected at the scene by investigators, supported statements given by
Beauchamp and Lemoine.

                                                                                    DEF 00001
                                                                                                 APPX 00083
        Case 3:20-cv-00643-E Document 31 Filed 03/04/21                        Page 93 of 141 PageID 269
Upon the presentation of all of the evidence to the Dallas County Grand Jury, Officer Beauchamp
was No Billed.


Policy 6.01 .1 states:

Objectively Reasonable: the reasonableness of an officer's use of force is based upon the totality of the
circumstances known by the officer at the moment the force is used, and the officer's recovery time based on the
suspect's action(s). Officers will consider the severity of the crime an issue, whether the suspect poses an
immediate threat to the safety of the officer or others, and whether the suspect is actively resisting arrest or
attempting to flee. This standard is based on what a reasonable officer would do under similar circumstances.

Reasonable Force: the amount of force deemed necessary by the officer to overcome resistance, effect a lawful
arrest or any other lawful objective.

Deadly Force

   1.    Use of Deadly Force
Police officers are authorized to use deadly force to protect the public, other officers, and themselves in situations
where the officer has an objectively reasonable belief that there exists an immediate threat of death or serious
bodily injury

B. DEADLY FORCE RESTRICTIONS

    3. Firing at or from a moving vehicle, except:


         a.   when an occupant of the vehicle is using or attempting to use deadly force on an officer or other
              persons; or

         b.   as a last resort to prevent death or substantial harm to the officer or other person and/or at the direction
              of an on-duty supervisor who has been made aware of the situation


Upon review of the videos and reports, I found that Officer Beauchamp made every effort to get
out of the way when Brisco began trying to flee the scene. Beauchamp only used force after he
found himself on the hood and in fear for his life when Brisco hit him with the vehicle and began
carrying him out of the parking lot at a high rate of speed.

No indication of policy violations by either Officer Beauchamp or Officer Lemoine were found.




                                                                                                                        2
                                                                                                       DEF 00002
                                                                                                                       APPX 00084
Case 3:20-cv-00643-E Document 31 Filed 03/04/21   Page 94 of 141 PageID 270




                             Exhibit 6
                         Grand Jury No-Bill
Case 3:20-cv-00643-E Document 31 Filed 03/04/21                        Page 95 of 141 PageID 271




             JOHN CREUZOT
             DISTRICT ATTORNEY
             DALLASCOUNTY,TEXAS
             PUBLIC INTEGRITY DIVISION




                                             June 10, 2019


Ranger David Armstrong
Texas Ranger - TX DPS
350 W. IH-30
Garland, TX 75043
David.Atmstrong@dps.texas.gov

Re:    Officer Involved Shooting- Officer Zachary Beauchan1p, Lancaster PD

Ranger At·mstrong,

This letter is to infom1 you that the Dallas County Grand Jury returned a No-Bill in the above-
referenced case on June 10, 2019. Please let me know if you have any questions or need any further
information.


Sincerely,




G rge ewis
Chief, Civil Rights Unit
Dallas County Criminal District Attorney
133 N. Riverfront Blvd., LB 19
Dallas, TX 75207
Direct: (214) 653-3713




Frank Crowley Courts Building • 133 N. Riverfront Blvd., L.B. 19 • Da llas, Texas 75207-4399 • 214/653-3600
                                                                                              DEF 00003
                                                                                                              APPX 00085
Case 3:20-cv-00643-E Document 31 Filed 03/04/21   Page 96 of 141 PageID 272




                             Exhibit 7
                            Texas Rangers
                              Report of
                            Investigation
   Case
REPORT OF3:20-cv-00643-E
          INVESTIGATION      Document 31 Filed 03/04/21      Page 97 of 141 PageID Page
                                                                                   2731 of 44


                            TEXAS DEPARTMENT OF PUBLIC SAFETY
                                     TEXAS RANGERS


             THIS REPORT IS THE PROPERTY OF THE TEXAS RANGERS. NEITHER IT NOR ITS
             CONTENTS MAY BE DISSEMINATED OUTSIDE THE AGENCY TO WHICH LOANED.

LEAD INVESTIGATOR: DAVID ARMSTRONG                       INVEST#:       2018I-TRB-50023163
SUPERVISOR:        SCOTT STEVENSON                       OPENED:        03/26/2018
TITLE:             OFFICER INVOLVED SHOOTING, DALLAS     FILE STATUS:   OPEN
                   COUNTY, LANCASTER POLICE
                   DEPARTMENT, 03-18-2018
TYPE:              CRIMINAL                              DIVISION:    TEXAS RANGERS
SERVICE:                                                 REGION:      B
DISTRICT:                                                AREA:
SUBTYPE:           OTHER - OFFICER INVOLVED SHOOTING     SPURS URN:   CMIV50023163
CATEGORY:                                                REVIEW DATE: 09/23/2019
SPECIAL APPROVAL:                                        LEGACY REF:
PROGRAM:           CRIMES AGAINST PERSON                 SUBPROGRAM: FELONY
CASE#:


INVESTIGATION SYNOPSIS
On 03-18-2018, I, Texas Ranger David Armstrong was requested by Lancaster Police Department
(LPD) Criminal Investigation Division (CID) Sergeant Eric Alexander to assist with
investigating an officer involved shooting in their city. I was advised that Officer Zachary
Beauchamp was involved in the shooting. Texas Rangers J Odom, Adam Sweaney, and Laura Simmons
were requested to assist Ranger Armstrong.

SUPPLEMENTAL SYNOPSES
      S1 03/26/2018 Report Writer: David Armstrong
         03/29/2018 Approved by: Scott Stevenson
          On 03-18-2018, I, Texas Ranger David Armstrong was requested by Lancaster Police
          Department (LPD) Criminal Investigation Division (CID) Sergeant Eric Alexander to
          assist with investigating an officer-involved shooting in their city. I was
          advised that LPD Officer Zachary Beauchamp was involved in the shooting. Texas
          Rangers J Odom, Adam Sweaney, and Laura Simmons were requested to assist Ranger
          Armstrong.
      S4 01/07/2019 Report Writer: David Armstrong
         02/06/2019 Approved by: J Rodney Odom
          This report will detail the continued investigation of the crime scene and the
          seizure of evidence.
      S5 01/07/2019 Report Writer: David Armstrong
         02/06/2019 Approved by: J Rodney Odom
          This report will detail the documentation and seizure of evidence at the crime
          scene.
      S6 01/14/2019 Report Writer: David Armstrong
         02/06/2019 Approved by: J Rodney Odom
          This report will detail the autopsy and seziure of evidence from it.
      S7 02/04/2019 Report Writer: David Armstrong
         02/13/2019 Approved by: Jason Bobo
          This supplement will detail the processing of the suspect vehicle pursuant to a
          search warrant.
      S8 02/18/2019 Report Writer: David Armstrong
         02/28/2019 Approved by: Jason Bobo
          This report will document the submission of evidence to the Garland lab.
      S9 02/18/2019 Report Writer: David Armstrong
                                   DPS SENSITIVE                                     11/18/2019 10:27




                        FD          TIAL ATTORNEY EY                    Y    DEF 00091
                   FORM TI           UBJECT TO PRO E                    RDER           APPX 00086
   Case
REPORT OF3:20-cv-00643-E
          INVESTIGATION     Document 31 Filed 03/04/21    Page 98 of 141 PageID Page
                                                                                2742 of 44


         03/01/2019 Approved by: Jason Bobo
         This report will document the interview with a witness and her mother and
         photographs taken to corroborate that statement.
    S10 03/18/2019 Report Writer: David Armstrong
        03/21/2019 Approved by: J Rodney Odom
         This report will detail the review of evidence received from Texas Ranger Adam
         Sweaney.
    S11 03/26/2019 Report Writer: David Armstrong
        03/27/2019 Approved by: J Rodney Odom
         This report will detail the receipt and review of all Lancaster Police Department
         in-car and body worn camera footage.
    S12 03/26/2019 Report Writer: David Armstrong
        03/27/2019 Approved by: J Rodney Odom
         This report will detail the sworn affidavits submitted by Lancaster Police
         Department Officers Lemoine and Beauchamp.
    S13 03/27/2019 Report Writer: David Armstrong
        03/27/2019 Approved by: J Rodney Odom
         This supplement will detail the autopsy report for Brisco.
    S14 03/27/2019 Report Writer: David Armstrong
        03/27/2019 Approved by: J Rodney Odom
         This report will detail the review of a Firearms and Toolmarks Laboratory Report
         submitted by the Texas Department of Public Safety Crime Lab.
     S2 04/20/2018 Report Writer: J Rodney Odom
        04/23/2018 Approved by: Scott Stevenson
         On 03-18-2018, I, Texas Ranger J. Rodney Odom was contacted by Texas Ranger David
         Armstrong and advised of an Officer Involved Shooting that had occurred in
         Lancaster, Dallas County, Texas that evening. At that time Ranger Armstrong
         requested I respond to Lancaster to assist him document and process the crime
         scene.
     S3 07/17/2018 Report Writer: Adam Sweaney
        08/03/2018 Approved by: J Rodney Odom
         On 03-18-2018, I, Texas Ranger Adam Sweaney was contacted by Texas Ranger Company
         B Headquarters and requested to assist Ranger David Armstrong with an Officer
         Involved Shooting Investigation involving the Lancaster Police Department. Ranger
         Armstrong requested me to obtain the clothing of Lancaster Officer Zachery
         Beauchamp at the Baylor Scott & White Medical Center. I also obtained the clothing
         of Michael Brisco at the Methodist Charlton Medical Center in Dallas. Following
         the collection of the clothing, I responded to the scene and assisted Ranger
         Armstrong with the processing of the scene.


SUPPLEMENTAL DETAILS
     S1 1.1   On 03-18-2018, at approximately 7:22 PM, I, Texas Ranger David Armstrong was
         requested by Lancaster Police Department (LPD) Criminal Investigation Division
         (CID) Sergeant Eric Alexander to assist with investigating an officer-involved
         shooting in their city. Texas Rangers J Odom, Adam Sweaney, and Laura Simmons were
         requested to assist me.



         1.2 I arrived at the scene at approximately 8:38 PM, which was in the 1600 block
         of Dewberry Blvd in Lancaster.




                   -                                                  -
         1.3 I met with Detective Alexander and learned that LPD Officer Zachary Beauchamp
         (W/M DOB:      -1989) had conducted a traffic stop at approximately 6:55 PM.
         Officer Beauchamp and his partner, Shane Lemoine (W/M DOB:

                                 DPS SENSITIVE
                                                                         -1977) were
                                                                                11/18/2019 10:27




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                  FORM TI           UBJECT TO PRO E                   RDER           APPX 00087
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REPORT OF3:20-cv-00643-E
          INVESTIGATION    Document 31 Filed 03/04/21     Page 99 of 141 PageID Page
                                                                                2753 of 44


         patrolling an area plagued by violent crimes; including robbery, narcotics sales,
         aggravated assault, and homicide.




                           -
         1.4 At some point during their patrol, Officer Beauchamp conducted a traffic stop
         on a white Ford Escape bearing Texas LP# JZH-1357 (SV1) and driven by Michael
         Brisco (B/M DOB:      /1981). Brisco was the lone occupant of the vehicle.



         1.5 During the traffic stop, Brisco reversed his vehicle striking Officer
         Beauchamp who attempted to escape the vehicle’s path. Brisco then drove at Officer
         Beauchamp causing him to jump on the hood of Brisco’s vehicle.



         1.6 Brisco fled the parking lot at a high rate of speed with Officer Beauchamp on
         the hood. As a result of Brisco’s actions, Officer Beauchamp fired his handgun
         several times at Brisco. Brisco sustained a gunshot wound to his right arm and
         torso. Officer Beauchamp was thrown from the hood of the vehicle as it traveled
         northbound on Dewberry Blvd. The vehicle drove through a power pole, rolled side
         over side and came to rest in a private driveway on its roof.



         1.7 Brisco was transported from the scene by local paramedics to Charlton
         Methodist Hospital, where he was pronounced deceased by attending physicians.
         Officer Beauchamp was transported to Baylor Hospital in Waxahachie where he was
         treated for his injuries and subsequently released.



         1.8 During an initial walk-through of the scene, I observed numerous items of
         potential evidence near 1607 Dewberry Blvd including .40 S&W cartridge casings, a
         Glock handgun consistent with LPD Officer’s issued handgun, handcuffs, and
         sunglasses.



         1.9 Near the driveway of 635 Laurel Lane, I observed bullet defects to SV1, blood
         in and about SV1, an extended Glock handgun magazine loaded with 9mm cartridges
         near SV1, a plastic baggie with a white powder like substance in plain view in
         SV1, a switchblade knife in the driver side door pocket and a .40 S&W cartridge
         casing.



         1.10 It should be noted that 1607 Dewberry Blvd and 635 Laurel Lane are
         approximately 200 yards apart from north to south.



         1.11 I noted the weather on this date and near the time of the incident was
         partly cloudy, approximately 70-75 degrees Fahrenheit and sunset was at
         approximately 7:37 PM.




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   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION      Document 31 Filed 03/04/21   Page 100 of 141 PageIDPage
                                                                                  2764 of 44




     S4 4.1   On 03-18-2018 at approximately 8:58 PM, I, Texas Ranger David Armstrong
         continued processing the crime scene by taking photographs (S4.P1) of the evidence
         to document the evidence as it was observed upon my arrival.



         4.2 At approximately 11:30 PM, I received several items of evidence from Texas
         Ranger Adam Sweaney. It should be noted that the following items were Michael
         Brisco’s clothing, which was seized from the hospital Brisco was admitted to. The
         following list will detail those items:

         A.   Shoes (S4.P2)

         B.   Socks (S4.P3)

         C.   Long underwear (S4.P4)

         D.   Blue underwear (S4.P5)

         E.   White shirt (S4.P6)

         F.   White undershirt (S4.P7)

         G.   Blue pants with belt (S4.P8)



         4.3 At approximately 11:58 PM, I met with Lancaster Police Department Officer
         Shane Lemoine to document the condition of his handgun and ammunition. Officer
         Lemoine possessed a Glock Model 22 .40S&W caliber handgun bearing serial number
         BECV905. An inspection of his handgun showed to have one Speer .40 S&W caliber
         unfired cartridge in the handgun chamber. The magazine that was inserted in the
         handgun contained 15 Speer .40 S&W, unfired cartridges. The two additional
         magazines Officer Lemoine possessed were loaded identically and with the same
         ammunition to the magazine that was in the handgun. After photographs of the
         handgun, magazines and unfired cartridges were taken, I returned Officer Lemoine’s
         handgun to him. I observed no evidence indicating Officer Lemoine had fired his
         weapon during this incident.




     S5 5.1   On 03-19-2018 at approximately 2:43 AM, I, Texas Ranger David Armstrong,
         began collecting evidence at the crime scene. I used a Texas Rangers Field
         Evidence Log (S5.P1) to list the description, location, date/time, and other
         detailed information relating to each piece of evidence. The following is a list
         of the evidence seized from the scene:
                                    DPS SENSITIVE                               11/18/2019 10:27




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   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION    Document 31 Filed 03/04/21       Page 101 of 141 PageIDPage
                                                                                    2775 of 44



         A.    .380 unfired cartridge (S5.P2)

         B.    Speer .40 S&W fired cartridge case (S5.P3)

         C.    Speer .40 S&W fired cartridge case (S5.P4)

         D.    Speer .40 S&W fired cartridge case (S5.P5)

         E.    Speer .40 S&W fired cartridge case (S5.P6)

         F.    Speer .40 S&W fired cartridge case (S5.P7)

         G.    Speer .40 S&W fired cartridge case (S5.P8)

         H.    Glock model 22 .40 S&W S/N: BECV897 w/ Streamlight TLR-HL Light (S5.P9)

         I.    Speer .40 S&W fired cartridge case (S5.P10)

         J.    Speer .40 S&W fired cartridge case (S5.P11)

         K.    Large capacity Glock magazine with 26 FMJ 9mm unfired cartridges (S5.P12)

         L.    Speer .40 S&W fired cartridge case (S5.P13)

         M.    White Ford Escape SUV (S5.P14)

         N.    One unfired 9mm cartridge (S5.P15)

         O.    Cigar containing substance with odor of marijuana (S5.P16)

         5.2 At approximately 3:42 AM, I photographed Lancaster Police Department Officer
         Zachary Beauchamp’s uniform and items that were brought to the scene by Texas
         Ranger Adam Sweaney. Those items and their condition were documented and released
         to Lancaster Police Department Sergeant Michelle McAnally at approximately 4:14
         AM.

         5.3 At approximately 5:15 AM, S5.P14 was secured by 24 Hour Wrecker and towed to
         Lancaster Police Department. The transport of S5.P14 was filmed by Lancaster
         Police Department during the escort to the police department.

         5.4 After S5.P14 was towed from the scene, I performed a follow up walkthrough of
         the scene for additional evidentiary items, yielding nothing additional. At 5:44
         AM, I cleared the crime scene.



     S6 6.1   On 03-19-2018 at approximately 8:00 AM, I, Texas Ranger David Armstrong
         attended the autopsy for Michael Brisco at the Southwest Institute of Forensic
         Science (SWIFS) in Dallas, Texas.



         6.2    The pathologist assigned to the autopsy was Janis K Townsend-Parchman, M.D.



         6.3 During the autopsy, Dr. Townsend-Parchman advised Brisco suffered two gunshot
         wounds, one to his right forearm and one to his torso. During the autopsy, a
         single projectile was recovered from the L5 vertebrae of Brisco. It should be
         noted that the projectile from the gunshot wound to Brisco’s right arm exited when
         he was shot. Therefore it was not recovered during the autopsy.


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   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION    Document 31 Filed 03/04/21        Page 102 of 141 PageIDPage
                                                                                     2786 of 44




         6.4    Dr. Townsend-Parchman stated Brisco died as a result of his gunshot wounds.



         6.5 At approximately 10:40 AM, the following evidentiary items were released to
         me by Dr. Townsend-Parchman:

         A.    Gunshot residue kit stub (S6.P1)

         B.    Projectile (S6.P2)

         C.    Head hair standard (S6.P3)

         D.    Blood standard (S6.P4)

         E.    Bags from Brisco’s hands (S6.P5)




     S7 7.1    On 03-20-2018 at approximately 11:11 AM, I, Texas Ranger David Armstrong
         secured a signed search warrant (S7.P1) from 292nd Dallas District Court Judge
         Brandon Birmingham.



         7.2   The search warrant was secured for the purpose of searching the vehicle
         (SV1) Brisco was driving and seizing all relevant evidence from it.



         7.3   After securing the search warrant, I traveled to Lancaster Police Department
         where SV1 was secured in their locked vehicle evidence bay. At approximately 2:28
         PM, I took photographs (S7.P2) of the undisturbed seals on SV1.



         7.4   At approximately 2:29 PM, 24 Hour Wrecker service relocated SV1 from the
         evidence bay to the Lancaster Fire Department (LFD) garage. It should be noted
         that LFD shares a building with the Lancaster Police Department (LPD), but their
         vehicle bays are separated by a parking lot.



         7.5   At approximately 2:45 PM, I began processing SV1 for evidence. I was
         assisted by Texas Rangers J Odom and Laura Simmons. The following is a list of
         evidence seized from SV1:

         A.    Projectile from rear side door (S7.P3)

         B.    Projectile from driver seat (S7.P4)

         7.5.B.1 It should be noted that this projectile likely corresponds to the gunshot
         wound Brisco’s right forearm sustained

         C.    Cigar containing suspected marijuana (S7.P5)

         D.    Unfired 9mm cartridge (S7.P6)

         E.    Large capacity magazine with 26 unfired cartridges (S7.P7)

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REPORT     INVESTIGATION    Document 31 Filed 03/04/21      Page 103 of 141 PageIDPage
                                                                                   2797 of 44



          F.   Blood swab (S7.P8)

          G.   Projectile from driver side of rear hatch (S7.P9)

          H. Glock 19 9mm containing magazine with 12 unfired 9mm cartridges SN: KBU676
          from center armrest (S7.P10)

          7.5.H.1 It should be noted that S7.P10 had one of the twelve unfired 9mm
          cartridges loaded in its chamber at the time of seizure

          I.   LG Smartphone from cup holder (S7.P11)



          7.6   While processing SV1, I noted and photographed other items that were not
          seized. The following is a list:

          A.   Black ski mask found in front passenger floorboard

          B. Plastic flask containing yellow liquid with temperature gauge on it,
          consistent with synthetic urine used for passing drug tests found in front
          passenger floorboard

          C.   Switchblade knife found in front driver side door pocket



          7.7   During the processing of SV1, I noted and photographed black streaks. The
          streaks originated at the front of the hood above the grill and extended in a
          swipe pattern towards the windshield. I further noted that the streak was
          concentrated in the middle of the hood. I noted this due to the abrasions on
          Officer Beauchamp’s duty belt and that it was consistent with him being struck by
          the vehicle, traveling up the hood and into the windshield before being thrown
          off.



          7.8   Additionally, I observed that the bug deflector that was once attached to
          the hood had been broken in a manner consistent with Officer Beauchamp striking it
          upon being hit by SV1.



          7.9   At approximately 3:41 PM, a copy of the search warrant and inventory were
          left in the vehicle, and it was released for storage to Lancaster Police
          Department.



          7.10 At approximately 4:30 PM, I received the following items of evidence from
          Sergeant Eric Alexander:

          A.   DVD containing LPD dispatch recordings (S7.P12)

          B.   10 DVDs In-car and body worn camera footage (S7.P13)




     S8
                                    DPS SENSITIVE                                11/18/2019 10:27




                         FD          TIAL ATTORNEY EY                 Y    DEF 00097
                    FORM TI           UBJECT TO PRO E                 RDER           APPX 00092
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION     Document 31 Filed 03/04/21       Page 104 of 141 PageIDPage
                                                                                     2808 of 44


         8.1 On 03-22-2018, I, Texas Ranger David Armstrong submitted the following items
         of evidence to the Texas Department of Public Safety Crime Lab in Garland. It
         should be noted that all items listed below were assigned evidence numbers in
         previous reports; therefore this list will document the submission of those items
         only.

         A.    Unfired .380 cartridge

         B.    Speer .40 S&W fired cartridge case

         C.    Speer .40 S&W fired cartridge case

         D.    Speer .40 S&W fired cartridge case

         E.    Speer .40 S&W fired cartridge case

         F.    Speer .40 S&W fired cartridge case

         G.    Speer .40 S&W fired cartridge case

         H. Glock 22 .40 S&W pistol with magazine, tactical pistol light, and 7
         unfired .40 S&W cartridges

         I.    Speer .40 S&W fired cartridge case

         J.    Speer .40 S&W fired cartridge case

         K.    Large capacity magazine with 26 unfired cartridges

         L.    Speer .40 S&W fired cartridge case

         M.    Unfired 9mm cartridge

         N.    Cigar containing marijuana scented substance

         O.    Projectile

         P.    Projectile

         Q.    Blood swab

         R.    Glock 19 9mm pistol with empty magazine and 12 unfired 9mm cartridges

         S.    Shoes

         T.    Socks

         U.    Long underwear

         V.    Blue underwear

         W.    White shirt

         X.    White undershirt

         Y.    Blue pants

         Z.    Gunshot residue kit

         AA.    Projectile from Brisco’s body

         BB.    Head hair

                                     DPS SENSITIVE                                 11/18/2019 10:27




                            FD         TIAL ATTORNEY EY                Y    DEF 00098
                       FORM TI          UBJECT TO PRO E                RDER           APPX 00093
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21     Page 105 of 141 PageIDPage
                                                                                 2819 of 44


         CC.   Blood standard

         DD.   Bags from hands

         EE.   Projectile from suspect vehicle




         -
     S9 9.1
                          (W/F DOB:

                                    -                            -
               On 03-22-2018 at approximately 6:38 PM, I traveled to the residence of
         Bethany W                       /1992) and her daughter J    W        (B/F DOB:
              /2009) and conducted an audio-recorded interview (S9.P1). The following is a
         summary of the interview with them. The summary does not contain all comments made




                                                 -
         during the interview, nor does it necessarily reflect the chronology of the
         discussion. The audio recording of the interview contains a verbatim account of
         the interview. It should be noted that J    W        witnessed the incident and
         the interview was focused on her recollection of the events.



         9.2   J
                -   recalled the incident occurring on Monday (03/19/2018) rather than on
         Sunday (03/18/2018). She recalled that she was helping her mother and aunt move
         and load their belongings as they prepared to move to where they currently lived.



         9.3   J
                -   stated, “One of the police officers jumped on the guy’s car and started
         shooting at the window and the guy inside was like saying, “Oh, oh, oh” because he
         (police officer) was shooting and the police officer, he rolled off the car, and
         then he (police officer) started shooting.”



         9.4   She stated she was outside when she observed those events. When asked where
         she was standing, she stated she was standing by her aunt’s door. She recalled it
         had a sign that says’ “God bless America” on it, but did not recall numbers or
         letters on the door. She added that there was a screen door as well.



         9.5   J
                -   stated, “The police officer and the man driving were in the apartments
         by 7-11…the man was parked there and started driving off.” She added, “The man was
         parked and then got in the car, then was driving, trying to get away.”



         9.6   I asked her to describe the vehicle the man was driving, and she stated, “It
         was kind of like a van, but it was all white, kind of like a police car, but with
         no thingy on the headlights…it was a white car.”




                                   -
         9.7   She described the man driving the white car as, “He had the same skin tone
         as my dad (African-American), but darker and I didn’t see anything else...” After
         witnessing the shooting, J   ’s mother and aunt pulled her into the apartment and
         made her stay in the shower until it was safe and secure.



         9.8   J
                -   described the driver of the white car as wearing a white shirt and
         black pants. She further stated, “He (police officer) was trying to stop the guy
         so he could take him to jail.”



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   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21     Page 106 of 141 PageID 282
                                                                               Page 10 of 44




         9.9   I asked her to describe the police officer’s actions, and she stated, “Well,
         he was running, then he jumped on the car, then he put his gun on the window…after
         that, he rolled off and then the guy kept wanting to go and then he (police
         officer) kept on shooting.”



         9.10 I asked J
                        -   what she saw before the police officer got on the hood of the
         car and she stated, “He was trying to tell him to get in the police car, so he
         could take him and see why he was trying to go somewhere else.” She then clarified
         by saying, “Get away from him so he wouldn’t go to jail.”



         9.11 J
                -   stated she did not see the other police officer, just the one that was
         on the hood. She also did not recall seeing anyone else around the vehicle when
         this occurred.



         9.12 I asked J
                        -   to describe where the police officer rolled off the car, and
         she stated, “There was like a corner, and he almost rolled off, and then he got in
         the street…he um…he was trying to catch him so he could take him to jail…he rolled
         off on the street.”



         9.13 I asked her if she heard the police officer saying anything and she did not
         recall hearing him say anything. She did state, “I thought that he might have got
         hurt…because I don’t like seeing people get hurt.”



         9.14 She added that the police officer was standing when he shot at the vehicle
         as it drove away.



         9.15 I asked her if she recalled anything else and she added, “He was driving
         straight, and I think he was trying to like, turn into the curb so the police
         officer wouldn’t catch him…because um, there’s like to curbs to turn to either, he
         went to the right or left…he didn’t fully make it.”



         9.16 She concluded by stating that the white car “was not really loud” and she
         could not hear any music coming from it.



         9.17   End of summary.




                                                                         -
         9.18 At the conclusion of the interview, I traveled back to the crime scene and
         took digital photographs (S9.P2) depicting the crime scene from J
         view.
                                                                            ’s point of




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                   FORM TI          UBJECT TO PRO E                RDER           APPX 00095
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21        Page 107 of 141 PageID 283
                                                                                  Page 11 of 44




    S10 10.1   On 03-23-2018 at approximately 9 AM, I received photographs (S10.P1) of
         Officer Zachary Beauchamp’s injuries and a video recorded interview (S10.P2) with
         Brisco’s family from Texas Ranger Adam Sweaney.



         10.2   I reviewed S10.P1 and noted the following:



         A. Officer Beauchamp was shown seated on a hospital bed. He was dressed in a
         hospital gown but wore black and gray socks. Both of his knees showed obvious
         bloody abrasions, scrapes, and bruises that appeared to be fresh.

         B. Officer Beauchamp also showed extensive fresh, bloody abrasions, scrapes and
         bruising to his right forearm, elbow, and hand.



         10.3 I reviewed S10.P2 and observed several unidentified family members of Brisco
         in a waiting room as they attempted to learn detailed information of the
         investigation from Ranger Sweaney and Lancaster Police Department Detective Joseph
         Brickett.



         10.4 Despite numerous family members being present, no information of evidentiary
         value was learned.



         10.5 As Ranger Sweaney began to leave the waiting room, an unidentified female
         family member stated, “He (Brisco) did that to himself when he ran from the
         police, so I don’t know what he was hiding, so it’s out of our hands, but God
         don’t make no mistakes, He has to get our attention one way or the other.”




    S11 11.1   On 03-23-2018, I, Texas Ranger David Armstrong, received and later reviewed
         Lancaster Police Department (LPD) in car and body worn camera footage (S11.P1) of
         the shooting.



         11.2 It should be noted that S11.P1 contains eight DVD’s and each DVD contains
         multiple videos. I reviewed the footage of each video and prepared detailed notes
         of each video as needed. After reviewing the footage, I found it to be consistent
         with witness statements and evidence found at the scene and elsewhere. The
         following is a summary of S11.P1. The summary does not contain all comments made
         during the captured footage, nor does it necessarily reflect the chronology of the
         events. The actual footage contains a verbatim account of the events. It should be
         further noted that all times and dates reflected on the footage was reasonably
         accurate.

         A.   Disc 1 of 2: Officer Lemoine 1481

         11.2.A.1 It should be noted that this video reflects the initial interaction
         between LPD Officers Lemoine and Beauchamp with Brisco.
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                   FORM TI          UBJECT TO PRO E                   RDER           APPX 00096
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION    Document 31 Filed 03/04/21      Page 108 of 141 PageID 284
                                                                                 Page 12 of 44




         11.2.A.2    Officer Lemoine driving through the apartment parking lot.

         11.2.A.3 A conversation is overheard between Officer Lemoine and Officer
         Beauchamp, “he’s got no seatbelt on.”

         11.2.A.4 As officers got out and approached, Brisco opened his door, leaned out,
         while looking back at officers and indicated he was waiting for someone while
         pointing with his left hand. His right hand was out of view.

         11.2.A.5    Brisco showed Officer Lemoine an object, possibly a cell phone.

         11.2.A.6    Officer Lemoine stated they were checking on him.

         11.2.A.7 Officer Beauchamp moved to the passenger side of Brisco’s vehicle as
         Brisco closed his door.

         11.2.A.8 Officer Lemoine asked for Brisco’s license, Brisco said, “Where’d I put
         it at…oh, here it go, right here.” It should be noted that Brisco put his vehicle
         in reverse (reverse lights were seen coming on) while stating the above. Brisco
         also handed something to Officer Lemoine at that point.

         11.2.A.9 Officer Lemoine stated, “Go ahead and step out of the vehicle for me.”
         Brisco then opened his door while handing an ID to Officer Lemoine and saying
         again, “Here it go right here.”

         11.2.A.10 Officer Lemoine asked Brisco again to step out of the car, and Brisco
         replied, “What’d I do, sir?” He stated this while quickly backing out of the
         parking space and holding his door.

         11.2.A.11   Officer Lemoine was heard exclaiming “whoa” three times.

         11.2.A.12 Brisco’s vehicle engine is heard revving loudly as the vehicle backed
         out of the space quickly and with the driver door open.

         11.2.A.13 Officer Beauchamp was out of view of the camera, but Brisco was
         observed looking in the direction Officer Beauchamp was positioned.

         11.2.A.14 Video captured audio of Officer Beauchamp grunting or yelling as he was
         struck by Brisco’s vehicle.

         11.2.A.15 Officer Lemoine was observed returning to his patrol vehicle, and shots
         are heard being fired by Officer Beauchamp.

         11.2.A.16 As Officer Lemoine gave chase in his vehicle, dust kicked up by
         Brisco’s acceleration was observed.

         11.2.A.17 Officer Lemoine chased Brisco, and Officer Beauchamp was heard shooting
         multiple times.

         11.2.A.18 Officer Beauchamp was then observed kneeling in the street with his gun
         in his hand after being thrown from the vehicle. He radioed, “Officer down, I been
         ran over.” He is obviously dazed and radioed again, “Get EMS.” Officer Beauchamp
         fell over to his left side, pointed in the direction of Brisco’s escape and said,
         “Go get him, he ran me over, shots fired, I been ran over….I’m at Dewberry, I need
         everybody here, I been ran over.”

         11.2.A.19 A nearby female was overheard yelling, “Are you okay, are okay?!” She
         yelled at another nearby officer, “Is he (Beauchamp) okay?!”

         11.2.A.20   Additional LPD Officers began arriving at the scene.

         11.2.A.21   Officer Beauchamp attempted to get up while stumbling, nearly falling,
                                  DPS SENSITIVE                                   11/18/2019 10:27




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                     FORM TI         UBJECT TO PRO E                 RDER           APPX 00097
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION    Document 31 Filed 03/04/21      Page 109 of 141 PageID 285
                                                                                 Page 13 of 44




         but he finally stood. He gave a physical description of Brisco.

         11.2.A.22 Officer Lemoine then guarded Officer Beauchamp’s pistol, which was on
         the ground.

         11.2.A.23 Officer Lemoine was overheard describing Brisco’s suspicious behaviors
         to another officer and gave a general description of the incident. He stated, “He
         (Brisco) struck Beauchamp behind the Durango…it knocked him onto the hood.”

         B.   Disc 1 of 2: Lieutenant Fine 1482

         11.2.B.1 An officer was overheard on Lieutenant Fine’s police radio exclaiming,
         “He’s taking off!” The same officer says something unintelligible.

         11.2.B.2 Lieutenant Fine was seen turning north onto Dewberry; Officer Lemoine
         was seen turning out of the apartment complex onto Dewberry while chasing Brisco.

         11.2.B.3    Officer Beauchamp was overheard on the radio saying he’d been run over.

         11.2.B.4 Brisco was seen crashing in the distance. Lieutenant Fine arrived at
         Brisco’s vehicle, which was overturned and smoking. The right rear wheel of the
         vehicle was still spinning.

         11.2.B.5 Lieutenant Fine asked Brisco if he’s okay and received no verbal
         response.

         11.2.B.6 Lieutenant Fine tried to open the driver door and then radioed the crash
         location while requesting a helicopter.

         11.2.B.7    An unidentified LPD Officer is overheard stating, “We got a bullet right
         there.”

         11.2.B.8 An unidentified LPD Officer was overheard stating, “They’re keeping
         cover on him because there’s a live bullet outside the vehicle right there.”

         11.2.B.9    A knife was observed by an LPD Officer in the driver side door pocket.

         11.2.B.10   Brisco was patted down before being transported by ambulance to the
         hospital.

         11.2.B.11   An extended pistol magazine was observed by one of the officers.

         11.2.B.12 Lieutenant Fine was overheard on the phone stating, “He was conscious
         and breathing, but he was (responding)…he had several spots on his shirt where
         there was blood…” Officers on the scene seemed to believe Brisco had a weapon due
         to the ammunition and magazine observed outside of his vehicle. Only one occupant
         in the vehicle. End of the phone call.

         11.2.B.13 Lieutenant Fine sent other officers to walk both sides of the street
         between the two scenes to ensure a suspect weapon was not lying in the street.

         C.   Disc 1 of 2: Officer B. Pate 1484

         11.2.C.1 Officer Pate arrived at the scene, and his video captured Lieutenant
         Fine opening the driver door of Brisco’s vehicle

         11.2.C.2 Officer Pate stated, “Beauchamp shot through the fucking windshield,
         look…Hey, I think Beauchamp hit him…He’s moving; he’s moving, he’s moving…”

         11.2.C.3 Unidentified officer stated, “We got two rounds through the windshield…
         we got rounds on the ground.”

         D.   Disc 2 of 2: Sergeant McAnally 1483
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                     FORM TI         UBJECT TO PRO E                 RDER           APPX 00098
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21      Page 110 of 141 PageID 286
                                                                                Page 14 of 44




         11.2.D.1 Sergeant McAnally stated, “Beauchamp, where are you” while responding to
         the scene.

         11.2.D.2 Upon arriving at the scene, Officer Beauchamp told McAnally, “He handed
         me a DL, and then he drug me over here, you know, I didn’t have a choice, I had
         to, I shot him (while breathing heavily).”

         11.2.D.3 An officer advised Officer Beauchamp, “Don’t you say shit to anybody,
         that includes Mack (Sergeant McAnally).”

         11.2.D.4 Sergeant McAnally stated, “Don’t you say anything; we’re gonna get you a
         medic and get TMPA (Texas Municipal Police Association) and meet you at the
         hospital.”

         11.2.D.5 Officer Beauchamp complained of leg, knee, wrist, and shoulder pain.
         Sergeant McAnally rode in the ambulance with Officer Beauchamp to the hospital.

         11.2.D.6   Officer Beauchamp stated, “I’m not dying; I’m just hurting.”

         E.   Disc 2 of 2 Officer Lemoine 19 (body worn camera)

         11.2.E.1 Footage picked up where Officer Beauchamp was sitting on the ground and
         captured him state, “I just got ran over, I think my arm’s broke.” Officer
         Beauchamp is seen rolling side to side in obvious pain. He is shown trying to get
         up on camera as previously described.

         11.2.E.2 Camera became dysfunctional at that point and turned to a pink screen,
         which was a known issue with that brand of body worn camera.

         11.2.E.3 Officer Lemoine recounted to another officer, Beauchamp was pretty much
         on his back on the windshield, his feet were to the driver side…struck him with
         the front of the vehicle.”

         F.   Disc 2 of 2 Officer Lemoine 1481

         11.2.F.1   Picked up where Officer Lemoine was guarding Officer Beauchamp’s gun.

         11.2.F.2 Officer Lemoine left the scene with a companion officer and returned to
         LPD to await TMPA.

         G.   Disc 2 of 8 Officer Hightower 1412

         11.2.G.1 Upon arriving at the crash scene, an officer was heard exclaiming to
         Brisco, “Don’t reach for it.” Unknown what the officer was referring to.

         H.   Disc 2 of 8 Officer Serrano 1495

         11.2.H.1 Officer Serrano was heard asking what kind of car they were looking for,
         while he was responding to the scene.

         11.2.H.2 Upon arriving at the crash scene, Officer Serrano wanted to clear the
         car of weapons. Moaning can be heard coming from Brisco’s vehicle.

         11.2.H.3   Unknown officer stated, “He has a pulse.”

         I.   Disc 2 of 8 Sergeant McAnally

         11.2.I.1   Nothing of evidentiary value

         J.   Disc 2 of 8 Officer Lemoine 19

         11.2.J.1   Nothing of evidentiary value
                                 DPS SENSITIVE                                     11/18/2019 10:27




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   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21      Page 111 of 141 PageID 287
                                                                                Page 15 of 44




         K.   Disc 3 of 8 Officer Warren 1489

         11.2.K.1   Arrived at scene one, and Officer Beauchamp is observed standing.

         L.   Disc 3 of 8 Officer Salazar 1491

         11.2.L.1   Arrived well after the scenes were secured.

         11.2.L.2 Left the scene and returned to LPD with Officer Lemoine. He was the
         companion officer for Officer Lemoine.

         M.   Disc 3 of 8 Officer Serrano 1495

         11.2.M.1   Nothing of evidentiary value.

         N.   Disc 3 of 8 Officer Lemoine 1481

         11.2.N.1   Nothing of evidentiary value.

         O.   Disc 4 of 8 Lieutenant Fine 1482

         11.2.O.1 Lieutenant Fine was overheard stating, “I could actually see him
         (Beauchamp) on the hood of the car.”

         P.   Disc 4 of 8 Officer Warren 1489

         11.2.P.1   Nothing of evidentiary value.

         Q.   Disc 4 of 8 Officer Pate 1484

         11.2.Q.1   Nothing of evidentiary value.

         R.   Disc 4 of 8 Officer Hightower

         11.2.R.1   Nothing of evidentiary value.

         S.   Disc 5 of 8 Sergeant McAnally 1483

         11.2.S.1    Nothing of evidentiary value.

         T.   Disc 5 of 8 Officer Serrano 1495

         11.2.T.1    Nothing of evidentiary value.

         U.   Disc 5 of 8 Officer Warren 1489

         11.2.U.1   Nothing of evidentiary value.

         V.   Disc 5 of 8 Lieutenant Fine 1482

         11.2.V.1   Gave account that corroborated evidence.

         W.   Disc 5 of 8 Officer Hightower 1412

         11.2.W.1   Nothing of evidentiary value.

         X.   Disc 6 of 8 Sergeant McAnally 1483

         11.2.X.1   Nothing of evidentiary value.

         Y.   Disc 6 of 8 Sergeant McAnally 1483

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                    FORM TI         UBJECT TO PRO E                 RDER           APPX 00100
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION    Document 31 Filed 03/04/21    Page 112 of 141 PageID 288
                                                                               Page 16 of 44




         11.2.Y.1     Nothing of evidentiary value.

         Z.    Disc 6 of 8 Officer Pate 1484

         11.2.Z.1    Nothing of evidentiary value.

         AA.    Disc 7 of 8 Sergeant McAnally 1483

         11.2.AA.1    Nothing of evidentiary value.

         BB.    Disc 7 of 8 Officer Pate 1484

         11.2.BB.1    Nothing of evidentiary value.

         CC.    Disc 7 of 8 Sergeant McAnally 1483

         11.2.CC.1    Nothing of evidentiary value.

         DD.    Disc 8 of 8 Sergeant McAnally 1483

         11.2.DD.1    Nothing of evidentiary value.

         EE.    Disc 8 of 8 Lieutenant Fine 1482

         11.2.EE.1    Nothing of evidentiary value.

         FF.    Disc 8 of 8 Officer Hightower 1412

         11.2.FF.1 Video of Brisco’s vehicle being towed from scene to LPD secure storage
         and then locked and secured in the single-vehicle bay at LPD.



         11.3    End of summary.




    S12 12.1   On 03-23-2018 at approximately 2:16 PM, I, Texas Ranger David Armstrong
         secured a signed, sworn affidavit (S12.P1) from Lancaster Police Department (LPD)
         Officer Shane Lemoine. The following is a verbatim copy of S12.P1:

         A. BEFORE ME, the undersigned authority, on this day personally appeared, Shane




                            -
         Lemoine, who being duly sworn on oath states:

         B. I was born on       /1977. I currently work as a police officer for the city of
         Lancaster, Texas. I started working for the Lancaster Police Department in
         December 2017. I am currently in my third (of four) phase of training. My
         telephone number is             .

         C. I am voluntarily submitting this statement to Ranger David Armstrong. I am
         giving this statement without any threats or promises and on my own free will. He
         may use this statement for whatever purpose he or the State of Texas deem
         necessary. (INITIALS:__)

         D. On March 18, 2018, I was patrolling the City of Lancaster with my training
         officer, Officer Zac Beauchamp. I was wearing my fully issued Lancaster Police
         Department uniform that clearly identified me as a police officer. I was driving a
         fully marked Lancaster Police Department Chevrolet Tahoe (1481) while Officer
         Beauchamp rode in the passenger seat. Our vehicle was equipped with emergency

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   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21     Page 113 of 141 PageID 289
                                                                               Page 17 of 44




         lights and a dash camera.

         E. After detail my trainer and I took a marked vehicle to fleet services to be
         repaired. We then answered a criminal mischief call at Pleasant Run and Dewberry.
         Shortly after we cleared the call, my trainer observed someone he believed to have
         an arrest warrant go in the OK Food Mart on the northeast corner of Pleasant Run
         and Dewberry. We briefly parked at a nearby church behind the OK Food Mart with a
         view of the OK Food Mart’s back door. Other Lancaster officers arrived in the area
         as well. We then moved to the 7-11 so we could see the front door of the OK Food
         Mart. Shortly thereafter, I went into the store with Officer Beauchamp and
         Sergeant Logan to see if the wanted suspect was still inside or hiding. It
         appeared that the wanted suspect was no longer in the area.

         F. At approximately 7PM we began to leave the area. I was driving northbound on
         Dewberry with Officer Beauchamp. We passed the OK Food Mart. As we were passing
         the church, I observed a white SUV illegally parked in a fire lane at the
         apartments located at 1600 Dewberry. There were still police vehicles in the area.
         The driver was on the phone and appeared to be relaying our location and activity
         to someone on the other end of the phone. Officer Beauchamp instructed me to
         circle around and head back towards the apartment complex.

         G. I made right turns on Arbor, Elm, and Pleasant Run and then a right turn back
         on Dewberry. I entered the apartment complex through the south entrance and
         noticed the suspect was still parked in the fire lane at the north entrance. I
         drove around the building. As we were coming up behind the suspect vehicle, the
         suspect pulled into a parking spot.

         H. We exited the patrol vehicle and approached the suspect. I approached on the
         driver side while Officer Beauchamp approached on the passenger side. I made
         contact with the suspect and asked for his driver’s license. The suspect appeared
         very nervous and was shaking as he attempted to remove his license from his
         wallet. The suspect then handed me a Texas identification card. I heard Officer
         Beauchamp instruct me to have the suspect exit the vehicle. I ordered the suspect
         out of the vehicle. As I was opening the driver’s door, the driver quickly backed
         out of the spot. I had to move out of the way of the open door to avoid getting
         knocked over.

         I. The suspect backed up straight into a vacant spot on the other side of the
         parking lot. I ran back towards our patrol vehicle because I thought we were about
         to pursue the suspect. The suspect put his SUV in driver and drove directly at
         Officer Beauchamp. I could no longer see Officer Beauchamp. Almost immediately, I
         heard a thud which I believe was the suspect hitting Officer Beauchamp with the
         SUV. I observed Officer Beauchamp on the hood of the suspect’s SUV as the suspect
         turned right on Dewberry. The suspect appeared to be accelerating. I was afraid
         the suspect was going to continue accelerating north on Dewberry. I was terrified
         that I was about to watch Officer Beauchamp die. I heard multiple gun shots and
         wasn’t sure if the suspect was shooting at Officer Beauchamp or if Officer
         Beauchamp was shooting to try and save his own life. As I turned right on
         Dewberry, I saw Officer Beauchamp kneeling in pain on the pavement. The suspect
         continued driving north on Dewberry at a very high rate of speed. I observed the
         suspect swerve and flip over.

         J. Several Lancaster officers arrived on scene almost immediately. I stayed with
         Officer Beauchamp until he was taken away in an ambulance. I then went back to the
         police station to wait for further instructions.

         K.   END OF STATEMENT

         L. I would like to state that everything I have stated to Ranger David Armstrong
         is true and correct to the best of my knowledge. (INITIALS:__)




                                 DPS SENSITIVE                                  11/18/2019 10:27




                        FD           TIAL ATTORNEY EY              Y    DEF 00107
                   FORM TI            UBJECT TO PRO E              RDER           APPX 00102
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21     Page 114 of 141 PageID 290
                                                                               Page 18 of 44




         12.2 On 03-23-2018 at approximately 2:44 PM, I, secured a signed, sworn affidavit
         (S12.P2) from LPD Officer Zachary Beauchamp. The following is a verbatim copy of
         S12.P2:

         A. BEFORE ME, the undersigned authority, on this day personally appeared, Zachary




                           -
         Beauchamp, who being duly sworn on oath states:

         B. I was born on       /1989. I currently work as a police officer for the city of
         Lancaster, Texas. My telephone number is             .

         C. I am voluntarily submitting this statement to Ranger David Armstrong. I am
         giving this statement without any threats or promises and on my own free will. He
         may use this statement for whatever purpose he or the State of Texas deem
         necessary. (INITIALS:__)

         D. My name is Zachary Beauchamp. I am a police officer with the city of
         Lancaster, Texas. I have been with the Lancaster Police Department for
         approximately 3 years. I am currently assigned to the patrol division.

         E. On Sunday, March 18, 2018, I was assigned as a patrol officer. My duty hours
         were 6P-6A. I was wearing my full issued Lancaster Police Department uniform that
         clearly identified me as a Lancaster police officer. I was patrolling the city
         with Recruit Officer Shane Lemoine. Recruit Officer Lemoine was in his third phase
         of training. He had one more phase remaining. I was responsible for training
         Recruit Officer Lemoine during his third phase. We were driving a fully marked
         Lancaster Police Department Chevrolet Tahoe which was equipped with emergency
         lights and an in-dash camera system.

         F. I began the shift by taking our normal vehicle (1487) to our fleet maintenance
         facility for repair. Recruit Officer Lemoine followed in vehicle 1481 to pick me
         up. We got into vehicle 1481. I was planning on going back to the station to grab
         my duty bag and other equipment.

         G. As we were headed back to the station, a criminal mischief call came out in
         the 600 block of W. Pleasant Run Road. We told the dispatcher that we would go to
         the call. We were able to quickly clear the call.

         H. After we cleared the call, I observed a male who looked to be Zane Pugh, a
         suspected aggravated robbery suspect, walk into the OK Food Mart (701 W. Pleasant
         Run) across the street. I also saw Javier Martinez and the Cooks brothers in the
         parking lot. Pugh, Martinez, and the Cooks are known to associate with each other
         and are known to engage in criminal activity. I told Recruit Officer Lemoine to
         pull into a nearby church with a view of the OK Food Mart’s back door. Other
         officers quickly arrived in the area. After a few moments at the church, Recruit
         Officer Lemoine and I relocated to the 7-11 across the street so we could watch
         the front door of the OK Food Mart. When we got to the 7-11 moments later,
         Martinez and the Cooks brothers were gone. A short time later, Sergeant Logan, RO
         Lemoine, and I went into the store to see if we could locate Pugh. The suspect was
         not there and we could not locate him.

         I. We left the OK Food Mart and drove northbound on Dewberry towards the station.
         We were following Officer Pate. As we were following Officer Pate northbound on
         Dewberry, I noticed a white SUV illegally parked in a fire lane at the Dewberry
         Apartments. The Dewberry Apartments is a well known location for storing and
         selling dangerous narcotics. The driver was on the phone and appeared to be very
         concerned to see Officer Pate drive by. The suspect was fixated on Officer Pate,
         and turned his head almost all the way around to track where Officer Pate was
         headed. Officer Pate came over the radio to ask me if I observed the white SUV. I
         told him that I did and that we would circle back and make contact with the
         driver.

         J. I instructed Recruit Officer Lemoine to turn right on Arbor Lane, right on Elm
         Street, and right again on Pleasant Run Road. We pulled into a parking lot to the
                                DPS SENSITIVE                                   11/18/2019 10:27




                       FD         TIAL ATTORNEY EY                 Y    DEF 00108
                  FORM TI          UBJECT TO PRO E                 RDER           APPX 00103
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21     Page 115 of 141 PageID 291
                                                                               Page 19 of 44




         south of the suspect’s location to see if we could observe him. Our view was
         blocked by a privacy fence.

         K. Recruit Officer Lemoine continued a short distance north on Dewberry and
         pulled into the south entrance of the complex. The suspect was still parked in the
         fire lane. We circled around to pull up behind the suspect vehicle. As we were
         pulling behind him he pulled front first into a parking spot. We got out of the
         car to make contact with the suspect.

         L. Recruit Officer Lemoine approached the vehicle on the driver side and made
         contact with the suspect. I observed the suspect was fixated on RO Lemoine as he
         approached. I approached the vehicle on the passenger side and observed that the
         front passenger side window was partially rolled down. I don’t think the suspect
         knew I was there. I immediately smelled the odor of marijuana and observed what
         appeared to be a marijuana cigar right above the gear shifter.

         M. While staring at Recruit Officer Lemoine, the suspect handed him his ID with
         one hand while carefully and gradually reaching for the center console with the
         other. The suspect was able to open the center console. A moment later, the
         suspect reached into the center console. I was concerned that the suspect may be
         retrieving a pistol. I instructed Lemoine to get the suspect out of the SUV. The
         suspect looked up and stared right at me. I could tell he was surprised to see me.
         He immediately and quickly backed out of the spot.

         N. My instinct was to run back to our squad car to pursue the suspect. As I was
         running towards our squad car, I heard the suspect rev the engine of his SUV. The
         next thing I know the suspect put the car in drive and hit me with the SUV
         knocking me off of my feet. I landed on the hood. The suspect continued to drive
         while I was stuck on the hood. I looked the suspect straight in the eye. The
         suspect distinctly and intentionally gunned the engine and accelerated the
         vehicle. I was convinced if I fell off the hood the suspect was going to run me
         over and kill me.

         O. As the suspect continued to increase his speed, I thought that I was about to
         die. I thought I was never going to see my wife or two children again. I was
         somehow able to retrieve my department issued pistol and fire at the suspect to
         try and stop him from continuing to accelerate and killing me. I don’t know if he
         swerved or hit the curb, but all of a sudden my momentum shifted and I fell off
         the side of the hood. As I fell off the hood, the suspect missed running me over
         by just a few inches.

         P. I immediately experienced excruciating pain throughout my entire body. I
         experienced severe sharp shooting pains in my shoulder, ribs, elbows, and knees.
         Other officers quickly came to my aid. I was quickly transported by ambulance to
         the emergency room at Baylor Scott and White Hospital in Waxahachie.

         Q.   END OF STATEMENT

         R. I would like to state that everything I have stated to Ranger David Armstrong
         is true and correct to the best of my knowledge. (INITIALS:__)




    S13 13.1   On 06-05-2018 at approximately 1:32 PM, I Texas Ranger David Armstrong
         received and reviewed the autopsy report (S13.P1) for Brisco from Southwestern
         Institute of Forensic Sciences (SWIFS).




                                 DPS SENSITIVE                                  11/18/2019 10:27




                        FD        TIAL ATTORNEY EY                 Y    DEF 00109
                   FORM TI         UBJECT TO PRO E                 RDER           APPX 00104
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21         Page 116 of 141 PageID 292
                                                                                   Page 20 of 44




         13.2   The following are key facts from S13.P1, for detail refer to S13.P1:

         A.   Date and Time of Death: 03-18-2018 at 7:41 PM

         B.   Examination performed on 03-19-2018 at 8:00 AM

         C.   Gunshot wounds: Two, one to the abdomen and one to the right forearm

         D.   Toxicology (Blood, postmortem):

         13.2.D.1   Acid/Neutral Screen: Negative

         13.2.D.2   Alcohols/Acetone: Negative

         13.2.D.3   Carbon Monoxide: Carboxyhemoglobin: 3%

         13.2.D.4   Cocaine and Opiates:

         A.   Cocaine: 58.5 ng/mL

         B.   Ecgonine methyl ester: 236.7 ng/mL

         C.   Benzoylecgonine: 1032.5 ng/mL

         13.2.D.5   Marihuana/Cannabinoids:

         A.   Tetrahydrocannabinol: 26.0 ng/mL

         B.   Carboxytetrahydrocannibinol: 90.9 ng/mL

         E.   Findings:

         13.2.E.1   Gunshot wound of abdomen:

         A.   Entrance wound: right epigastric area

         B. Apparent range of fire: indeterminate, based on presence of interposed target
         (windshield)

         C. Injuries: perforations of omentum, small intestine, mesentery and right common
         iliac artery, with a 2,480 mL hemoperitoneum

         D.   Recovery: moderately deformed, jacketed, large caliber bullet from L5

         E.   Path: front to back, downward, and right to left

         13.2.E.2   Gunshot wound through forearm:

         A.   Entrance wound: anterior right forearm

         B. Apparent range of fire: indeterminate, based on presence of interposed target
         (windshield)

         C.   Injuries: perforations of soft tissues of right forearm

         D.   Exit wound: medial proximal right forearm

         E.   Path: upward, right to left and slightly front to back

         13.2.E.3 History that the deceased was the driver of a motor vehicle who was shot
         by a police officer whom he had run under.

         F.   Conclusions: It is our opinion that Michael Earl Brisco, a 36 year old black
                                    DPS SENSITIVE                                   11/18/2019 10:27




                    CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00110
                INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00105
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION     Document 31 Filed 03/04/21    Page 117 of 141 PageID 293
                                                                                Page 21 of 44




         male, died as a result of gunshot wounds.

         G.   Manner of death: Homicide

         H.   Medical Examiner: Janis K Townsend-Parchman, M.D.



    S14 14.1   On 12/20/2018 at approximately 2:31 PM, I Texas Ranger David Armstrong
         received a firearms and toolmarks laboratory report (S14.P1) from the Texas
         Department of Public Safety Crime Lab in Garland. It should be noted that all item
         numbers referred to below are in reference to the lab submission form that was
         used for submitting the evidence. The following is a summary of that report, for
         detail refer to S14.P1:



         14.2   6x9 yellow envelope

         A.   One unfired 380 Auto caliber cartridge (Item 1)



         14.3   6x9 yellow envelope

         A.   One fired 40 S&W caliber cartridge case (Item 12)

         B.   One fired 40 S&W caliber cartridge case (Item 2)

         C.   One fired 40 S&W caliber cartridge case (Item 3)

         D.   One fired 40 S&W caliber cartridge case (Item 4)

         E.   One fired 40 S&W caliber cartridge case (Item 5)

         F.   One fired 40 S&W caliber cartridge case (Item 6)

         G.   One fired 40 S&W caliber cartridge case (Item 7)

         H.   One fired 40 S&W caliber cartridge case (Item 9)

         I.   One fired 40 S&W caliber cartridge case (Item 10)

         J.   One fired bullet fragment (Item 15)



         14.4   Pistol box

         A. Glock Model 22 Gen 4, 40 S&W caliber pistol, S/N BECV897, submitted with an
         attached flashlight, submitted with a magazine and 7 unfired 40 S&W caliber
         cartridges (3 cartridges were used during testing) (Item 8)(Officer Beauchamp’s
         issued Pistol)



         14.5   Yellow envelope

         A.   One pistol magazine and 26 unfired 9mm Luger caliber cartridges (Item 11)



         14.6   Pistol Box

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                    CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00111
                INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00106
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION    Document 31 Filed 03/04/21      Page 118 of 141 PageID 294
                                                                                 Page 22 of 44




         A. Glock Model 19, 9mm Luger caliber pistol, S/N KBU676, submitted with a
         magazine and 12 unfired 9mm Luger caliber cartridges (Item 18)(Stolen pistol
         recovered from Brisco’s center console)



         14.7    6x9 Yellow envelope

         A.   One fire bullet (Item 16)

         B.   One fired bullet (Item 31)

         C.   One unfired 9mm Luger caliber cartridge (Item 13)

         D.   One fired bullet (Item 27)



         14.8 Both Glock pistols were each operational with no malfunctions detected
         during testing.



         14.9    No analysis was performed on Item 1, Item 11, or Item 13.



         14.10    The following items were identified as having been fired from Item 8:

         A.   Item 2

         B.   Item 3

         C.   Item 4

         D.   Item 5

         E.   Item 6

         F.   Item 7

         G.   Item 9

         H.   Item 10

         I.   Item 12



         14.11 Item 15 was unable to be identified or eliminated as having been fired from
         either Glock pistol, or the same firearm that fired Items 16, 27, and 31, due to
         damage and a lack of reproducible marks.



         14.12    Item 11 fits and functions in Item 18.



         14.13    Items 16, 27, and 31 were identified as having been fired from Item 8.



                                  DPS SENSITIVE                                   11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00112
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00107
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21     Page 119 of 141 PageID 295
                                                                               Page 23 of 44




         14.14   End of summary.




     S2 2.1 On 03-18-2018, at approximately 7:59 PM, I, Texas Ranger J. Rodney Odom was
         contacted by Texas Ranger David Armstrong and advised of an Officer Involved
         Shooting that had occurred in Lancaster, Dallas County, Texas that evening. At
         that time Ranger Armstrong requested I respond to Lancaster and assist him with
         processing the crime scene. I was contacted by my supervisor a short time later
         and was advised Texas Ranger Laura Simmons was also responding to the scene and
         would be retrieving the Texas Ranger Co. “B” Leica P20 ScanStation to forensically
         document the crime scene.



         2.2 While en-route to Lancaster I contacted Ranger Armstrong who advised the
         shooting appeared to have occurred in the area of 1607 Dewberry Blvd. in
         Lancaster, Dallas County, Texas. I arrived at that location that evening around
         9:58 PM. I observed the crime scene was cordoned off with crime scene tape. I was
         requested to provide my information to an officer holding a crime scene log as I
         entered the scene. I later learned there were two crime scene logs one at each end
         of the crime scene. As I entered the scene I observed Ranger Armstrong near an
         overturned small white Ford sport utility vehicle (SUV). We walked the crime scene
         at that time. I was told, contact was made with the driver of the overturned SUV
         at the other end of the scene.



         2.3 Information provided to Ranger Armstrong at that time indicated two officers
         in one police vehicle had made contact with the driver of the white Ford SUV in an
         apartment complex (Bel Air Place Apartments Building #1504). At some point during
         that contact the driver/suspect fled striking one of the officers. That officer
         ended up on top of the SUV’S hood. While on the hood the officer was believed to
         have fired multiple rounds through the glass of the SUV striking the suspect. The
         officer fell or was thrown off of the vehicle a short time later and was believed
         to have been injured. That same officer was believed to have fired additional
         rounds at the SUV at that time. The suspect then fled down the street, where his
         vehicle struck a telephone pole severing it into pieces and causing the vehicle to
         overturn.



         2.4 Texas Ranger Laura Simmons arrived a short time later with the Leica P20
         ScanStation. I explained to Ranger Simmons what I had been told by Ranger
         Armstrong. I then walked her through the scene. Texas Ranger Adam Sweaney arrived
         a short time later. Yellow evidence placards had been previously placed by items
         of evidential value. I then deployed and operated the Leica P20 ScanStation (3D
         Laser scanner), serial #1840329 and completed and assisted Ranger Simmons complete
         a total of eight scans of the scene. I used a National Institute of Science and
         Technology (NIST) Twin Target Pole, serial #BWDTP0007, to document the accuracy of
         the scanner.



         2.5 The Leica P20 ScanStation is a device capable of using both panoramic
         photography and three dimensional laser scanning to capture measurements. These
         measurements can be used to create a three dimensional representation of the crime
         scene. Single images, witness viewpoints, and images with measurements can be

                                   DPS SENSITIVE                                11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00113
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00108
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21     Page 120 of 141 PageID 296
                                                                               Page 24 of 44




         generated. The computerized scan data has been retained on an external hard drive
         by the Company “B” Texas Rangers (S2.P1). I did not collect or package any items
         of evidence on this date.



         2.6 On 03-20-2017, Texas Ranger Laura Simmons and I returned to Lancaster to
         assist Ranger Armstrong collect additional evidence from the suspect vehicle
         involved in this investigation. Ranger Simmons and I arrived at the Lancaster
         Police Department located at 1650 N Dallas Ave. in Lancaster, Dallas County, Texas
         at approximately 1:30 PM, that day. At approximately 2:32 PM, a wrecker unloaded
         the suspect vehicle in a bay at the Fire Department which is in the same parking
         lot as the Police Department. We began processing the suspect vehicle at
         approximately 2:40 PM.



         2.7 All of the photographs taken and the evidence collected will be documented by
         Ranger Armstrong in his investigative report.




     S3 1.1 On Thursday, 03-18-2018, at approximately 7:30 PM, I, Texas Ranger Adam
         Sweaney was contacted by Texas Ranger Company B Headquarters and requested to
         assist Texas Ranger David Armstrong with an Officer Involved Shooting
         Investigation involving the Lancaster Police Department (LPD). I contacted Ranger
         Armstrong, and he requested me to make contact with LPD Officer Zachery Beauchamp
         at the Baylor Scott & White Medical Center in Waxahachie, Texas and obtain his
         clothing.



         1.2 At 8:42 PM, I made contact with Officer Beauchamp in room T2 at the Baylor
         Scott & White Medical Center. Officer Beauchamp informed me of the following:



         A) Officer Beauchamp stated the suspect attempted to run him over.

         B) Officer Beauchamp said he ended up on the hood of the suspect car.

         C) Officer Beauchamp stated he thought the suspect was going to kill him.

         D) Officer Beauchamp said he fired some rounds from his pistol.



         1.3 I observed and photographed (S3.P1) the following injuries on Officer Zachery
         Beauchamp:

         A) Abrasions on knees

         B) Abrasions on the right shoulder

         C) Abrasions on the ribs on his right side



         1.4 I collected the following evidence from Officer Zachery Beauchamp at the

                                 DPS SENSITIVE                                   11/18/2019 10:27




                   CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00114
               INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00109
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21     Page 121 of 141 PageID 297
                                                                               Page 25 of 44




         Baylor Scott & White Medical Center in Waxahachie:

         A) Pair of black in color boots. Collected at 8:52 PM from Room T2.

         B) Black in color Bulletproof vest/earpiece. Collected at 8:58 PM from PD Room.

         C) Blue in color Lancaster Police Department uniform. Collected at 8:58 PM from PD
         Room.

         D) Gun belt - asp baton/holder, holster, magazine holder. Collected at 8:58 PM
         from PD Room.



         1.5 Let it be noted I released Officer Beauchamp’s keys back into his possession.
         Let it also be noted that I will not be assigning the evidence numbers in my
         supplement due to Ranger Armstrong being the lead investigator who will assign the
         numbers in his supplement.



         1.6 At 9:20 PM, I left the Baylor Scott & White Medical Center in Waxahachie and
         contacted Ranger Armstrong. Ranger Armstrong requested me to obtain the clothing
         of Michael Brisco at the Methodist Charlton Medical Center in Dallas, Texas.




         Rodney Odeal Brisco (B/M, DOB:

                                       -
         1.7 At 9:50 PM, I arrived at the Methodist Charlton Medical Center and learned
                                             -1972), was the brother of Michael Brisco had
         identified him as the deceased. The following is a summary of the conversation
         with Rodney. The summary does not contain all comments made during the
         conversation, nor does it necessarily reflect the chronology of the conversation.
         The video recording contains a verbatim account of the conversation with Rodney:



         A) Rodney stated he observed Michael to be fine with no problems.

         B) Rodney said Michael went to the store to get cigarettes when he was shot.

         C) Rodney stated Michael did not carry any weapons on him.

         D) Rodney said the Ford Escape vehicle belonged to Michael’s girlfriend.

         E) Rodney stated Michael’s girlfriend said he went to get cigarettes and come back
         home.



         1.8 I talked with Melvin Delane Grant (B/M, DOB:

                                                         -     /1961) at the Charlton
         Medical Center. Grant is the uncle of Michael Brisco. The following is a summary
         of the conversation with Grant. The summary does not contain all comments made
         during the conversation, nor does it necessarily reflect the chronology of the
         conversation. The video recording contains a verbatim account of the conversation
         with Grant:

         A) Grant said he observed Michael to be fine.

         B) Grant stated he was with Michael a few days ago at a garage sale.

         C) Grant said he and Michael prayed together.



                                DPS SENSITIVE                                   11/18/2019 10:27




                   CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00115
               INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00110
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION   Document 31 Filed 03/04/21       Page 122 of 141 PageID 298
                                                                                 Page 26 of 44




         1.9 I talked with Tamicka Yvonne Boutte (B/F, DOB:

                                                             -   -1979) at the Charlton
         Medical Center. Boutte is the cousin of Michael Brisco. The following is a summary
         of the conversation with Boutte. The summary does not contain all comments made
         during the conversation, nor does it necessarily reflect the chronology of the
         conversation. The video recording contains a verbatim account of the conversation
         with Boutte:

         A) Boutte said everything was good with Michael.

         B) Boutte stated Michael just started working at Hobby Lobby.

         C) Boutte said she saw him yesterday, and she usually stops by every day.



         1.10 Let it be noted the contact with the family of Michael Brisco was video
         recorded (S3.P2) using a MUVI digital camera. For further details on my
         conversations with the family members refer to (S3.P2).



         1.11 At 11:00 PM, I obtained the following items from the trunk of Lancaster
         Police Department Detective Joseph Brickett at the Methodist Charlton Medical
         Center:

         A) Pair of black in color shoes.

         B) Pair of white in color socks.

         C) Black in color long underwear.

         D) Black in color underwear.

         E) White in color t-shirt.

         F) White in color undershirt.

         G) Blue in color pants with a belt.



         1.12 I left the Methodist Charlton Medical Center at 11:02 PM, and responded to
         the scene located at 1600 Dewberry Blvd. in Lancaster, Dallas County, Texas. At
         11:15 PM, I arrived on the scene and assisted Ranger Armstrong with the processing
         of the scene, and Ranger Rodney Odom and Ranger Laura Simmons with the scan of the
         scene.



         1.13 On 03-19-2018, at approximately 5:10 AM, I transferred all evidentiary items
         collected in Details 1.4 and 1.10 to Ranger Armstrong. At 5:22 AM, I left the
         scene and traveled back to my assigned area.



         1.14 I did not collect any evidence at the scene and transferred all evidentiary
         items I collected at the Baylor Scott & White Medical Center and Charlton Medical
         Center to Ranger Armstrong. I do not maintain any evidence and expect no further
         involvement in the investigation.




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                   CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00116
               INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00111
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION         Document 31 Filed 03/04/21                   Page 123 of 141 PageID 299
                                                                                                   Page 27 of 44




INVESTIGATION REQUESTED BY
LANCASTER POLICE DEPT.
LANCASTER,
75134

SUSPECTS

           Hair: Black
           SSN:
           Home:
                                     SID:
                                     Cell:
                                          -
      S1 Brisco, Michael Earl - Black/Male -
                                     Eyes: Brown
                                                    /1981
                                                            Weight: 200 lbs
                                                            DL#:
                                                            Work:
                                                                                  Height: 5' 08"
                                                                                  DL State: TX
                                                                                  Email:



VICTIMS
      S1 Beauchamp, Zachary - White/Male -
           Hair: Brown
                                           -
                                     Eyes: Brown
                                                    /1989
                                                          Weight: 245 lbs         Height: 6' 05"




                                         -
           SSN:                      SID:                 DL#                     DL State: TX
           Home:                     Cell:                Work:                   Email:
           Lemoine, Shane - White/Male -       /1977
           Hair: Blond or Strawberry Eyes: Blue           Weight: 195 lbs         Height: 6' 02"
           SSN:                      SID:                 DL#:                    DL State: TX
           Home:                     Cell:                Work:                   Email:



WITNESSES
      S9 W
            -
           Home:
                    ,J

                                            -
                                 - Black/Female -
                                     Cell:
                                                        /2009
                                                           Work:                  Email:



           Home:                     Cell:
                                          --
      S3 Brisco, Rodney Odeal - Black/Male -       /1972
                                                         Work:                    Email:




                                             -
           Grant, Melvin Delane - Black/Male -   /1961
           Home:                     Cell:               Work:                    Email:
           Boutee, Tamicka Yvonne - Black/Female -       /1979
           Home:                     Cell:               Work:                    Email:



INVOLVED
      S9 W
            -
           SSN:
           Home:
                    ,B
           Hair: Brown
                                      SID:
                                      Cell:
                                             -
                                    - White/Female -
                                      Eyes: Hazel
                                                            /1992
                                                            Weight: 250 lbs
                                                            DL#:
                                                            Work:
                                                                                  Height: 5' 04"
                                                                                  DL State: TX
                                                                                  Email:



INVOLVED LOCATIONS
      S1 Crime Scene
           1600 Dewberry Blvd.
           Lancaster, TX 75134

      S6 Southwest Institute of Forensic Science
           2355 N. Stemmons Freeway
                                        DPS SENSITIVE                                               11/18/2019 10:27




                       CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00117
                   INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00112
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION          Document 31 Filed 03/04/21            Page 124 of 141 PageID 300
                                                                                             Page 28 of 44




           Dallas, TX 75201
           Activity Location



INVOLVED VEHICLES
     S1 White 2004 Ford Escape
           Status: Suspect               VIN: 1FMYU03154KA95236         State: TX             Plate: JZH-1357



OFFENSES
     S1 CAPITAL MURDER OF A PEACE OFFICER OR FIREMAN 19.03(a)(1) PC FX (Attempt to Commit)
           Dallas County, Lancaster, TX, US
           03/18/2018 ( Sunday )


CHARGES
     S1 CAPITAL MURDER OF A PEACE OFFICER OR FIREMAN 19.03(a)(1) PC FX (Attempt to Commit)
           Location:            Dallas County, Lancaster, TX, US
           Date of Offense:     03/18/2018

           Arrest Date:         03/18/2018                     Arrested By:         Lancaster Police Department



           Death:               Life: D
                    □
           Defendant: Brisco, Michael
           Offense: S1 - 9990020 CAPITAL MURDER OF A PEACE OFFICER OR FIREMAN 19.03(a)(1) FX (Attempt to
           Commit)

PERSONNEL
     S1 David Armstrong, Texas Rangers "B"
           Texas Dept of Public Safety
           214 861 2372____________________________________________________

           Laura Simmons, Texas Rangers "B"
           Texas Dept of Public Safety

           Adam Sweaney, Texas Rangers "B"
           Texas Dept of Public Safety

           J Rodney Odom, Texas Rangers "B"
           Texas Dept of Public Safety

     S4 David Armstrong, Texas Rangers "B"
           Texas Dept of Public Safety

           Adam Sweaney, Texas Rangers "B"
           Texas Dept of Public Safety
           (972) 923-6670

     S5 Michelle McAnally,
           Lancaster Police Department

     S6 Dr. Janis Townsen, Medical Examiner
           SWIFS


                                           DPS SENSITIVE                                             11/18/2019 10:27




                        CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00118
                    INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00113
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION          Document 31 Filed 03/04/21               Page 125 of 141 PageID 301
                                                                                                Page 29 of 44




     S7 J Rodney Odom, Texas Rangers "B"
           Texas Dept of Public Safety
           (214) 861-2366

           Laura Simmons, Texas Rangers "B"
           Texas Dept of Public Safety
           (903) 453-6882

    S10 Joseph Brickett,
           Lancaster Police Department

    S13 Janis K Townsen, Medical Examiner
           SWIFS



EVIDENCE
   S2.P1 Evidence:              Other
           Seizure Date:        03/18/2018
           Description:         Texas Ranger Co. "B"s external hard drive containing this shootings scan data.
           Address:             , TX
           By:                  J Rodney Odom

           Disposition:
           Status:                                   Requested/Authorized By:                     Date/Time:
           Retained through Appeal/Sentence Duration                                              03/18/2018


           Released To/Destroyed Location:
           Location: Texas Rangers Headquarters Office
           Released To: Ranger Armstrong
           Address: 350 W. IH 30 Garland, TX, 75043
           Telephone: (214) 861-2366


   S3.P1 Evidence:              Other
           Seizure Type:        Consent
           Seizure Date:        03/18/2018
           Description:         Black boots
           Address:             ,
           By:                  Adam Sweaney

           Chain of Custody:
           Transfered To:                                                                         Date/Time:
           David Armstrong - Crime Scene (Vehicle)                                                03/19/2018 0510


           Disposition:
           Status:                                     Requested/Authorized By:                   Date/Time:
           No Final Disposition Required                                                          07/17/2018 0000


   S3.P2 Evidence:              Other
           Seizure Type:        Consent
           Seizure Date:        07/17/2018
           Description:         Bullet proof vest with ear piece
           Address:             , TX
           By:                  Adam Sweaney

           Chain of Custody:
           Transfered To:                                                                         Date/Time:
           David Armstrong - Crime Scene (Vehicle)                                                03/19/2018 0510
                                           DPS SENSITIVE                                                 11/18/2019 10:27




                       CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00119
                   INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00114
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION       Document 31 Filed 03/04/21                Page 126 of 141 PageID 302
                                                                                              Page 30 of 44




         Disposition:
         Status:                                     Requested/Authorized By:             Date/Time:
         No Final Disposition Required                                                    07/17/2018 0000


   S3.P3 Evidence:            Other
         Seizure Type:        Consent
         Seizure Date:        07/17/2018
         Description:         Officer Beauchamp's Lancaster Police Departemnt Unifrom
         Address:             , TX
         By:                  Adam Sweaney

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         David Armstrong - Crime Scene (Vehicle)                                          03/19/2018 0510


         Disposition:
         Status:                                     Requested/Authorized By:             Date/Time:
         No Final Disposition Required                                                    07/17/2018 0000


   S3.P4 Evidence:            Other
         Seizure Type:        Consent
         Seizure Date:        07/17/2018
         Description:         Officer Beauchamp's gun belt
         Address:             , TX
         By:                  Adam Sweaney

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         David Armstrong - Crime Scene (Vehicle)                                          03/19/2018 0510


         Disposition:
         Status:                                     Requested/Authorized By:             Date/Time:
         No Final Disposition Required                                                    07/17/2018 0000


   S3.P5 Evidence:            Other
         Seizure Type:        Consent
         Seizure Date:        07/17/2018
         Description:         Pair of black in color shoes from Brisco
         Address:             , TX
         By:                  Adam Sweaney

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         David Armstrong - Crime Scene (Vehicle)                                          03/19/2018 0510


         Disposition:
         Status:                                     Requested/Authorized By:             Date/Time:
         No Final Disposition Required                                                    07/17/2018 0000


   S3.P6 Evidence:            Other
         Seizure Type:        Consent
         Seizure Date:        07/17/2018
         Description:         Pair of white in color socks from Brisco

                                         DPS SENSITIVE                                          11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00120
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00115
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION       Document 31 Filed 03/04/21               Page 127 of 141 PageID 303
                                                                                             Page 31 of 44




         Address:             , TX
         By:                  Adam Sweaney

         Chain of Custody:
         Transfered To:                                                                  Date/Time:
         David Armstrong - Crime scene (Vehicle)                                         03/19/2018 0510


         Disposition:
         Status:                                      Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                   07/17/2018 0000


   S3.P7 Evidence:            Other
         Seizure Type:        Consent
         Seizure Date:        07/17/2018
         Description:         Black in color underwear from Brisco
         Address:             , TX
         By:                  Adam Sweaney

         Chain of Custody:
         Transfered To:                                                                  Date/Time:
         David Armstrong - Crime Scene (Vehicle)                                         03/19/2019 0510


         Disposition:
         Status:                                      Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                   07/17/2018 0000


   S3.P8 Evidence:            Other
         Seizure Type:        Consent
         Seizure Date:        07/17/2018
         Description:         Black in color underwear from Brisco
         Address:             , TX
         By:                  Adam Sweaney

         Chain of Custody:
         Transfered To:                                                                  Date/Time:
         David Armstrong - Crime Scene (Vehicle)                                         03/19/2018 0510


         Disposition:
         Status:                                      Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                   07/17/2018 0000


   S3.P9 Evidence:            Other
         Seizure Type:        Consent
         Seizure Date:        07/17/2018
         Description:         White in color t-shirt from Brisco
         Address:             , TX
         By:                  Adam Sweaney

         Chain of Custody:
         Transfered To:                                                                  Date/Time:
         David Armstrong - Crime Scene (Vehicle)                                         03/19/2018 0510


         Disposition:
         Status:                                      Requested/Authorized By:           Date/Time:

                                         DPS SENSITIVE                                         11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00121
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00116
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION        Document 31 Filed 03/04/21                  Page 128 of 141 PageID 304
                                                                                                 Page 32 of 44




          No Final Disposition Required                                                      07/17/2018 0000


  S3.P10 Evidence:             Other
         Seizure Type:         Consent
         Seizure Date:         07/17/2018
         Description:          White in color undershirt
         Address:              , TX
         By:                   Adam Sweaney

         Chain of Custody:
         Transfered To:                                                                      Date/Time:
         David Armstrong - Crime Scene (Vehicle)                                             03/19/2018 0510


         Disposition:
         Status:                                      Requested/Authorized By:               Date/Time:
         No Final Disposition Required                                                       07/17/2018 0000


  S3.P11 Evidence:             Other
         Seizure Type:         Consent
         Seizure Date:         07/17/2018
         Description:          Blue in color pants from Brisco
         Address:              , TX
         By:                   Adam Sweaney

         Chain of Custody:
         Transfered To:                                                                      Date/Time:
         David Armstrong - Crime Scene (Vehicle)                                             03/19/2018 0510


         Disposition:
         Status:                                      Requested/Authorized By:               Date/Time:
         No Final Disposition Required                                                       07/17/2018 0000


  S3.P12 Evidence:             Audio and/or Video recording (other)
         Seizure Type:         Consent
         Seizure Date:         07/17/2018
         Description:          Video recording of contact with Brisco's family
         Address:              , TX
         By:                   Adam Sweaney

         Disposition:
         Status:                                      Requested/Authorized By:               Date/Time:
         No Final Disposition Required                                                       07/17/2018 0000


   S4.P1 Evidence:             Photograph
         Seizure Date:         03/18/2018 2058
         Description:          Crime Scene Photographs
         Address:              , TX
         By:                   David Armstrong

         Disposition:
         Status:                                      Requested/Authorized By:               Date/Time:
         No Final Disposition Required                                                       03/18/2018 2058


   S4.P2 Evidence:             Other
         Seizure Date:         03/18/2018 2300
                                          DPS SENSITIVE                                            11/18/2019 10:27




                      CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00122
                  INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00117
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION      Document 31 Filed 03/04/21            Page 129 of 141 PageID 305
                                                                                         Page 33 of 44




         Description:        Shoes of Brisco
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                              Date/Time:
         David Armstrong - Crime Scene (DPS )                                        03/18/2018 2330


         Disposition:
         Status:                                  Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                03/22/2018 1200


   S4.P3 Evidence:           Other
         Seizure Date:       03/18/2018 2300
         Description:        Socks from Brisco
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                              Date/Time:
         David Armstrong - Crime Scene (DPS)                                         03/18/2018 2330


         Disposition:
         Status:                                  Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                03/22/2018 1200


   S4.P4 Evidence:           Other
         Seizure Date:       03/18/2018 2300
         Description:        Long underwear from Brisco
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                              Date/Time:
         David Armstrong - Crime Scene (DPS)                                         03/18/2018 2330


         Disposition:
         Status:                                  Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                03/22/2018 1200


   S4.P5 Evidence:           Other
         Seizure Date:       03/18/2018 2300
         Description:        Blue underwear from Brisco
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                              Date/Time:
         David Armstrong - Crime Scene (DPS)                                         03/18/2018 2330


         Disposition:
         Status:                                  Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                03/22/2018 1200


                                        DPS SENSITIVE                                      11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00123
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00118
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION       Document 31 Filed 03/04/21             Page 130 of 141 PageID 306
                                                                                           Page 34 of 44




   S4.P6 Evidence:            Other
         Seizure Date:        03/18/2018 2300
         Description:         White shirt from Brisco
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                Date/Time:
         David Armstrong - Crime Scene (DPS)                                           03/18/2018 2330


         Disposition:
         Status:                                    Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                  03/22/2018 1200


   S4.P7 Evidence:            Other
         Seizure Date:        03/18/2018 2300
         Description:         White undershirt from Brisco
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                Date/Time:
         David Armstrong - Crime Scene (DPS)                                           03/18/2018 2330


         Disposition:
         Status:                                    Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                  03/22/2018 1200


   S4.P8 Evidence:            Other
         Seizure Date:        03/18/2018 2300
         Description:         Blue pants with belt from Brisco
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                Date/Time:
         David Armstrong - Crime Scene (DPS)                                           03/18/2018 2330


         Disposition:
         Status:                                    Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                  03/22/2018 1200


   S5.P1 Evidence:            Written document (other)
         Seizure Date:        03/19/2018 0243
         Description:         Field Evidence Log
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                    Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                 03/19/2018 0243


   S5.P2 Evidence:            Ammunition
                                         DPS SENSITIVE                                       11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00124
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00119
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION      Document 31 Filed 03/04/21                Page 131 of 141 PageID 307
                                                                                             Page 35 of 44




         Seizure Date:       01/07/2019
         Description:        .380 unfired cartridge
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                  Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                               03/22/2018 1200


         Disposition:
         Status:                                      Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                    03/22/2018 1200


   S5.P3 Evidence:           Ammunition
         Seizure Date:       01/07/2019
         Description:        Speer .40 S&W fired cartridge case
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                  Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                               03/22/2018 1200


         Disposition:
         Status:                                      Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                    03/22/2018 1200


   S5.P4 Evidence:           Ammunition
         Seizure Date:       01/07/2019
         Description:        Speer .40 S&W fired cartridge case
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                  Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                               03/22/2018 1200


         Disposition:
         Status:                                      Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                    03/22/2018 1200


   S5.P5 Evidence:           Ammunition
         Seizure Date:       01/07/2019
         Description:        Speer .40 S&W fired cartridge case
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                  Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                               03/22/2018 1200


         Disposition:
         Status:                                      Requested/Authorized By:           Date/Time:
         Transferred to DPS Crime Lab                                                    03/22/2018 1200
                                        DPS SENSITIVE                                          11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00125
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00120
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION      Document 31 Filed 03/04/21              Page 132 of 141 PageID 308
                                                                                           Page 36 of 44




   S5.P6 Evidence:           Ammunition
         Seizure Date:       01/07/2019
         Description:        Speer .40 S&W fired cartridge case
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                             03/22/2018 1200


         Disposition:
         Status:                                  Requested/Authorized By:             Date/Time:
         Transferred to DPS Crime Lab                                                  03/22/2018 1200


   S5.P7 Evidence:           Ammunition
         Seizure Date:       01/07/2019
         Description:        Speer .40 S&W fired cartridge case
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                             03/22/2018 1200


         Disposition:
         Status:                                  Requested/Authorized By:             Date/Time:
         Transferred to DPS Crime Lab                                                  03/22/2018 1200


   S5.P8 Evidence:           Ammunition
         Seizure Date:       01/07/2019
         Description:        Speer .40 S&W fired cartridge case
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                             03/22/2018 1200


         Disposition:
         Status:                                  Requested/Authorized By:             Date/Time:
         Transferred to DPS Crime Lab                                                  03/22/2018 1200


   S5.P9 Evidence:           Firearm
         Seizure Date:       01/07/2019
         Description:        Glock Model 22 .40 S&W with Streamlight TLR-HL Light
                             S/N: BECV897
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                             03/22/2018 1200


                                        DPS SENSITIVE                                        11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00126
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00121
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION      Document 31 Filed 03/04/21               Page 133 of 141 PageID 309
                                                                                            Page 37 of 44




         Disposition:
         Status:                                  Requested/Authorized By:                  Date/Time:
         Transferred to DPS Crime Lab                                                       03/22/2018 1200


  S5.P10 Evidence:           Ammunition
         Seizure Date:       01/07/2019
         Description:        Speer .40 S&W fired cartridge case
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                     Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                                  03/22/2018 1200


         Disposition:
         Status:                                  Requested/Authorized By:                  Date/Time:
         Transferred to DPS Crime Lab                                                       03/22/2018 1200


  S5.P11 Evidence:           Ammunition
         Seizure Date:       01/07/2019
         Description:        Speer .40 S&W fired cartridge case
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                     Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                                  03/22/2018 1200


         Disposition:
         Status:                                  Requested/Authorized By:                  Date/Time:
         Transferred to DPS Crime Lab                                                       03/22/2018 1200


  S5.P12 Evidence:           Ammunition
         Seizure Date:       01/07/2019
         Description:        Large capacity magazine containing 26 9mm unfired cartridges
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                     Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                                  03/22/2018 1200


         Disposition:
         Status:                                  Requested/Authorized By:                  Date/Time:
         Transferred to DPS Crime Lab                                                       03/22/2018 1200


  S5.P13 Evidence:           Ammunition
         Seizure Date:       01/07/2019
         Description:        Speer .40 S&W fired cartridge case
         Address:            , TX
         By:                 David Armstrong

         Chain of Custody:
         Transfered To:                                                                     Date/Time:

                                        DPS SENSITIVE                                             11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00127
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00122
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION       Document 31 Filed 03/04/21                Page 134 of 141 PageID 310
                                                                                              Page 38 of 44




          Lynda Posey - DPS Crime Lab (Lab)                                               03/22/2018 1200


         Disposition:
         Status:                                      Requested/Authorized By:            Date/Time:
         Transferred to DPS Crime Lab                                                     03/22/2018 1200


  S5.P14 Evidence:            Motor Vehicle
         Seizure Date:        01/07/2019
         Description:         Ford Escap SUV
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                      Requested/Authorized By:            Date/Time:
         Released to other Gov Entity                                                     03/19/2018 0515


  S5.P15 Evidence:            Ammunition
         Seizure Date:        01/07/2019
         Description:         Unfired 9mm cartridge
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                                03/22/2018 1200


         Disposition:
         Status:                                      Requested/Authorized By:            Date/Time:
         Transferred to DPS Crime Lab                                                     03/22/2018 1200


  S5.P16 Evidence:            Marijuana
         Seizure Date:        01/07/2019
         Description:         Cigar containing substance with odor of marijuana
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                                03/22/2018 1200


         Disposition:
         Status:                                      Requested/Authorized By:            Date/Time:
         Destroyed                                                                        03/22/2018 1200


   S6.P1 Evidence:            Other
         Seizure Date:        03/19/2018
         Description:         Gunshot Residue Kit
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                                03/22/2018 1200


                                        DPS SENSITIVE                                           11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00128
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00123
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION       Document 31 Filed 03/04/21                Page 135 of 141 PageID 311
                                                                                              Page 39 of 44




         Disposition:
         Status:                                       Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                    03/22/2018 1200


   S6.P2 Evidence:            Other
         Seizure Date:        03/19/2018
         Description:         Projectile from Brisco
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                                03/22/2018 1200


         Disposition:
         Status:                                       Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                    03/22/2018 1200


   S6.P3 Evidence:            Biological
         Seizure Date:        03/18/2018
         Description:         Head Hair Standard
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                                03/22/2018 1200


         Disposition:
         Status:                                       Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                    03/22/2018 1200


   S6.P4 Evidence:            Biological
         Seizure Date:        03/19/2018
         Description:         Blood Standard
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         Lynda Posey - DPS Crime Lab (Lab)                                                03/22/2018 1200


         Disposition:
         Status:                                       Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                    03/22/2018 1200


   S6.P5 Evidence:            Biological
         Seizure Date:        03/19/2018
         Description:         Bags from Brisco's Hands
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                   Date/Time:

                                         DPS SENSITIVE                                          11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00129
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00124
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION       Document 31 Filed 03/04/21              Page 136 of 141 PageID 312
                                                                                            Page 40 of 44




          Lynda Posey - DPS Crime Lab (Lab)                                             03/22/2018 1200


         Disposition:
         Status:                                     Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                  03/19/2018 1200


   S7.P1 Evidence:            Search Warrants
         Seizure Date:
         Description:         Search Warrant
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                     Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                  03/20/2018 1111


   S7.P2 Evidence:            Photograph
         Seizure Date:        02/04/2019
         Description:         Digital Photographs
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                     Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                  03/20/2018 1428


   S7.P3 Evidence:            Ammunition
         Seizure Date:        02/04/2019
         Description:         Projectile from rear side door
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                 Date/Time:
         Lynda Posey - DPS Garland (Crime Lab)                                          03/22/2018 1200


         Disposition:
         Status:                                     Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                  03/22/2018 1200


   S7.P4 Evidence:            Ammunition
         Seizure Date:        02/04/2019
         Description:         Projectile from driver seat
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                 Date/Time:
         Lynda Posey - DPS Garland (Crime Lab)                                          03/22/2018 1200


         Disposition:
         Status:                                     Requested/Authorized By:           Date/Time:
         No Final Disposition Required                                                  03/22/2018 1200


                                         DPS SENSITIVE                                        11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00130
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00125
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION       Document 31 Filed 03/04/21              Page 137 of 141 PageID 313
                                                                                            Page 41 of 44




   S7.P5 Evidence:            Marijuana
         Seizure Date:        02/04/2019
         Description:         Cigar containing marijuana
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                 Date/Time:
         Lynda Posey - DPS Garland (Crime Lab)                                          03/22/2018 1200


         Disposition:
         Status:                                   Requested/Authorized By:             Date/Time:
         Transferred to DPS Crime Lab              Ranger Armstrong                     03/22/2018 1200


   S7.P6 Evidence:            Ammunition
         Seizure Date:        02/04/2019
         Description:         Unfired 9mm Cartridge
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                 Date/Time:
         Lynda Posey - DPS Garland (Crime Lab)                                          03/22/2018 1200


         Disposition:
         Status:                                   Requested/Authorized By:             Date/Time:
         No Final Disposition Required                                                  03/22/2018 1200


   S7.P7 Evidence:            Ammunition
         Seizure Date:        02/04/2019
         Description:         Extended magazine with 26 unfired 9mm cartridges
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                 Date/Time:
         Lynda Posey - DPS Garland (Crime Lab)                                          03/22/2018 1200


         Disposition:
         Status:                                   Requested/Authorized By:             Date/Time:
         Retained through Appeal/Sentence Duration                                      03/22/2018 1200


   S7.P8 Evidence:            Biological
         Seizure Date:        02/04/2019
         Description:         Swab for Blood
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                 Date/Time:
         Lynda Posey - DPS Garland (Crime Lab)                                          03/22/2018 1200


         Disposition:
         Status:                                   Requested/Authorized By:             Date/Time:

                                         DPS SENSITIVE                                        11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00131
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00126
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION       Document 31 Filed 03/04/21               Page 138 of 141 PageID 314
                                                                                             Page 42 of 44




          Transferred to DPS Crime Lab                                                        03/22/2018 1200


   S7.P9 Evidence:            Ammunition
         Seizure Date:        02/04/2019
         Description:         Porjectile from Rear Hatch
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                       Date/Time:
         Lynda Posey - DPS Garland (Crime Lab)                                                03/22/2018 1200


         Disposition:
         Status:                                    Requested/Authorized By:                  Date/Time:
         Transferred to DPS Crime Lab                                                         03/22/2018 1200


  S7.P10 Evidence:            Firearm
         Seizure Type:        Search Warrant
         Seizure Date:        02/04/2019
         Description:         Glock 19 9mm pistol contianing magazine with 12 unfired 9mm cartridges
                              Serial Number: KBU676
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                       Date/Time:
         Lynda Posey - DPS Garland (Crime Lab)                                                03/20/2018 1200


         Disposition:
         Status:                                    Requested/Authorized By:                  Date/Time:
         Transferred to DPS Crime Lab                                                         03/22/2018 1200


  S7.P11 Evidence:            Cell phone
         Seizure Date:        02/04/2019
         Description:         LG Smartphone
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                   Requested/Authorized By:                   Date/Time:
         Retained through Appeal/Sentence Duration                                            03/20/2018 1600


  S7.P12 Evidence:            Audio and/or Video recording (other)
         Seizure Date:        02/04/2019
         Description:         DVD containing LPD Dispatch Recordings
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                    Requested/Authorized By:                  Date/Time:
         No Final Disposition Required                                                        03/20/2018 1600


  S7.P13 Evidence:            Audio and/or Video recording (other)
         Seizure Date:        02/04/2019
         Description:         10 DVD's containing LPD In-car and body worn camera footage
                                         DPS SENSITIVE                                                 11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00132
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00127
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION       Document 31 Filed 03/04/21                Page 139 of 141 PageID 315
                                                                                              Page 43 of 44




         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                    Requested/Authorized By:              Date/Time:
         No Final Disposition Required                                                    03/20/2018 1600


   S9.P1 Evidence:            Audio and/or Video recording (other)
         Seizure Date:        03/22/2018 1838
         Description:         Audio Recorded Interview
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                    Requested/Authorized By:              Date/Time:
         No Final Disposition Required                                                    03/22/2018 1838


   S9.P2 Evidence:            Photograph
         Seizure Date:        02/18/2019
         Description:         Digital Photographs (Witness POV)
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                    Requested/Authorized By:              Date/Time:
         No Final Disposition Required                                                    03/22/2018 1838


  S10.P1 Evidence:            Photograph
         Seizure Date:        03/18/2018
         Description:         Digital Photographs of Officer Beauchamp's Injuries
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         David Armstrong - DPS Garland (Office)                                           03/18/2018 1200


         Disposition:
         Status:                                    Requested/Authorized By:              Date/Time:
         No Final Disposition Required                                                    03/23/2018 1200


  S10.P2 Evidence:            Audio and/or Video recording (other)
         Seizure Date:        03/18/2018
         Description:         Video Recorded Interview with Brisco's Family
         Address:             , TX
         By:                  David Armstrong

         Chain of Custody:
         Transfered To:                                                                   Date/Time:
         David Armstrong - DPS Garland (Office)                                           03/23/2018 1200


         Disposition:
         Status:                                    Requested/Authorized By:              Date/Time:
         No Final Disposition Required                                                    03/23/2018 1200


                                         DPS SENSITIVE                                          11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00133
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00128
   CaseOF3:20-cv-00643-E
REPORT     INVESTIGATION       Document 31 Filed 03/04/21               Page 140 of 141 PageID 316
                                                                                             Page 44 of 44




  S11.P1 Evidence:            Audio and/or Video recording (other)
         Seizure Date:        03/23/2018
         Description:         In-car and body worn camera footage
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                    Requested/Authorized By:               Date/Time:
         No Final Disposition Required                                                     03/23/2018 1200


  S12.P1 Evidence:            Witness Statement (written)
         Seizure Date:        03/23/2018
         Description:         Officer Lemoine Sworn Affidavit
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                    Requested/Authorized By:               Date/Time:
         No Final Disposition Required                                                     03/23/2018 1416


  S12.P2 Evidence:            Witness Statement (written)
         Seizure Date:        03/23/2018
         Description:         Officer Beauchamp Sworn Affidavit
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                    Requested/Authorized By:               Date/Time:
         No Final Disposition Required                                                     03/23/2018 1444


  S13.P1 Evidence:            Written document (other)
         Seizure Date:        06/05/2018
         Description:         AUtopsy Report for Brisco
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                    Requested/Authorized By:               Date/Time:
         No Final Disposition Required                                                     06/05/2018 0800


  S14.P1 Evidence:            Witness Statement Audio and/or Video recording (statement)
         Seizure Date:        12/20/2018
         Description:         DPS Crime Lab Firearms and Toolmarks Exam Report
         Address:             , TX
         By:                  David Armstrong

         Disposition:
         Status:                                    Requested/Authorized By:               Date/Time:
         No Final Disposition Required                                                     12/20/2018 0800



ATTACHMENT NAME(S)
                                             END OF REPORT


                                         DPS SENSITIVE                                           11/18/2019 10:27




                     CONFIDENTIAL ATTORNEY EYES ONLY     DEF 00134
                 INFORMATION SUBJECT TO PROTECTIVE ORDER           APPX 00129
Case 3:20-cv-00643-E Document 31 Filed 03/04/21   Page 141 of 141 PageID 317




                             Exhibit 8
                 Lancaster Police Department radio
                       from March 18, 2018




                                                                               APPX 00130
